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                      EXHIBIT 2
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                           In the Matter of:

                          DENISE PAYNE

                                    v

                    CORNELL UNIVERSITY



                          DENISE PAYNE

                         September 04, 2019
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·1

·2·   ·   · · · · · · ·UNITED STATES DISTRICT COURT
· ·   ·   · · · · · · ·NORTHERN DISTRICT OF NEW YORK
·3·   ·   - - - - - - - - - - - - - - - - - - - - - - - - -
· ·   ·   DENISE PAYNE,
·4
· ·   · · · · · · Plaintiff,
·5
· ·   · · · · · · · · · · · · ·Case No. 3:18-cv-01442
·6·   · v.

·7· · CORNELL UNIVERSITY,

·8· · · · · · · Defendant.
· · · - - - - - - - - - - - - - - - - - - - - - - - - -
·9

10· · Video-recorded Deposition Upon Oral Examination of:

11· · · · · · · · · ·Denise Payne

12

13·   ·   Location:· · · Cornell University
· ·   ·   · · · · · · · ·The Office of University Counsel
14·   ·   · · · · · · · ·300 CCC Building, Garden Avenue
· ·   ·   · · · · · · · ·Ithaca, New York 14853
15

16
· · · Date:· · · · · September 4, 2019
17

18
· · · Time:· · · · · 10:00 a.m.
19

20

21

22· · Reported By:· ·MICHELLE MUNDT ROCHA

23· · · · · · · · · ·Alliance Court Reporting, Inc.

24· · · · · · · · · ·120 East Avenue, Suite 200

25· · · · · · · · · ·Rochester, New York 14604




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·1· · · · · · · · · · ·A P P E A R A N C E S

·2· · Appearing on Behalf of Plaintiff:

·3·   ·   Gabrielle M. Vinci, Esq.
· ·   ·   · ·Nesenoff & Miltenberg LLP
·4·   ·   · ·363 Seventh Avenue, 5th Floor
· ·   ·   · ·New York, New York 10001-3904
·5·   ·   · ·gvinci@nmllplaw.com

·6

·7
· ·   · Appearing on Behalf of Defendant:
·8
· ·   ·   Conrad Wolan, Esq.
·9·   ·   · ·Cornell University
· ·   ·   · ·The Office of University Counsel
10·   ·   · ·300 CCC Building, Garden Avenue
· ·   ·   · ·Ithaca, New York 14853
11·   ·   · ·crw6@cornell.edu

12
· · · Also Present:
13
· · · Kathy Doxey
14· · Kristin Davis

15

16
· ·   · Appearing as the Videographer:
17
· ·   ·   Peter Colucci
18·   ·   · ·Alliance Court Reporting, Inc.
· ·   ·   · ·120 East Avenue, Suite 200
19·   ·   · ·Rochester, New York 14604

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· · · · · · · · · · · · · ·*· · ·*· · ·*
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·1· · · · · · · · · · S T I P U L A T I O N S
·2· · WEDNESDAY, SEPTEMBER 4, 2019;
·3· · · · · · (Proceedings in the above-titled matter
·4· · · · · · commencing at 10:12 a.m.)
·5· · · · · · · · · · · · *· · ·*· · ·*
·6· · · · · · · · IT IS HEREBY STIPULATED by and between the
·7· · attorneys for the respective parties that this
·8· · deposition may be taken by the Defendant at this time
·9· · pursuant to subpoena;
10· · · · · · · · IT IS FURTHER STIPULATED, that all
11· · objections except as to the form of the questions and
12· · responsiveness of the answers, be reserved until the
13· · time of the trial;
14· · · · · · · · IT IS FURTHER STIPULATED, that pursuant to
15· · Federal Rules of Civil Procedure 30(e)(1) the witness
16· · requests to review the transcript and make any
17· · corrections to same before any Notary Public;
18· · · · · · · · IT IS FURTHER STIPULATED, that if the
19· · original deposition has not been duly signed by the
20· · witness and returned to the attorney taking the
21· · deposition by the time of trial or any hearing in this
22· · cause, a certified transcript of the deposition may be
23· · used as though it were the original;
24· · · · · · · · IT IS FURTHER STIPULATED, that the
25· · noticing party bears the recording costs in accordance




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    ·1· · · · · · · · · · ·P R O C E E D I N G S
    ·2· · to Federal Rule 30(b)(3)(A);
    ·3· · · · · · · · AND IT IS FURTHER STIPULATED, that the
    ·4· · Notary Public, MICHELLE MUNDT ROCHA, may administer
    ·5· · the oath to the witness.
10:12 ·6· · · · · · · · · · · · *· · ·*· · ·*
10:12 ·7· · · · · · · · THE VIDEOGRAPHER:· Good morning.· We are
10:12 ·8· · on the record at 10:12 a.m.· Today is Wednesday,
10:12 ·9· · September 4, 2019.· My name is Peter Colucci of
10:12 10· · Alliance Court Reporting, located at 120 East Avenue,
10:12 11· · Suite 200, in Rochester, New York.
10:12 12· · · · · · · · We are at Cornell University in Ithaca,
10:13 13· · New York.· We are about to begin the video-recorded
10:13 14· · deposition of Denise Payne in the matter of Denise
10:13 15· · Payne versus Cornell University.
10:13 16· · · · · · · · Would the attorneys please announce their
10:13 17· · appearances for the record.
10:13 18· · · · · · · · MR. WOLAN:· Conrad Wolan, University
10:13 19· · Counsel's office.
10:13 20· · · · · · · · MS. VINCI:· And Gabrielle Vinci,
10:13 21· · Nesenoff & Miltenberg LLP, for Ms. Payne.
10:13 22· · · · · · · · THE VIDEOGRAPHER:· The court reporter
10:13 23· · today is Michelle Rocha of Alliance Court Reporting.
10:13 24· · The witness may be sworn in.
10:13 25· · DENISE PAYNE,




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:13 ·2· · · · · · called herein as a witness, first being sworn,
10:13 ·3· · · · · · testified as follows:
10:13 ·4· · · · · · EXAMINATION BY MR. WOLAN:
10:13 ·5· · · · · · Q.· Good morning, Ms. Payne.
10:13 ·6· · · · · · A.· Good morning.
10:13 ·7· · · · · · Q.· My name is Conrad Wolan.· I'm an attorney
10:13 ·8· · for the University, and I'll be asking you questions
10:13 ·9· · today.· First some ground rules.
10:13 10· · · · · · · · Just to let me know, we will need you to
10:13 11· · give verbal answers to questions.· Head nods, grunts,
10:13 12· · gestures will not be good for the written transcript.
10:14 13· · So I will need you to say "yes" or "no" or make some
10:14 14· · other verbalization while you're answering questions.
10:14 15· · · · · · · · While we're proceeding today, we will take
10:14 16· · some breaks as appropriate.· However, if you feel at
10:14 17· · any given time that you need to take a break, you can
10:14 18· · certainly ask.· However, if a question is on the
10:14 19· · table, I will need you to finish answering it before
10:14 20· · we take a break.
10:14 21· · · · · · · · But otherwise we'll be able to do that at
10:14 22· · any reasonable time during the day for you.
10:14 23· · · · · · · · Understand so far?
10:14 24· · · · · · A.· Yes, I understand.
10:14 25· · · · · · Q.· Thank you.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:14 ·2· · · · · · · · I will be asking you a series of questions
10:14 ·3· · during the day about the claims in your suit.
10:14 ·4· · · · · · · · I will be presenting you with some
10:14 ·5· · documents as the day goes on.· We will explain as
10:14 ·6· · we're going how to deal with each of those.· But I
10:14 ·7· · will get in with first some easy questions for you.
10:14 ·8· · · · · · · · First, for the official record, please
10:14 ·9· · state and spell your name.
10:14 10· · · · · · A.· Denise Payne.· D-E-N-I-S-E, P-A-Y-N-E.
10:15 11· · · · · · Q.· What's your current home address?
10:15 12· · · · · · A.· 4367 Sweeney Road, Cortland, New York
10:15 13· · 13045.
10:15 14· · · · · · Q.· And what's your date of birth?
10:15 15· · · · · · A.·          /71.
10:15 16· · · · · · Q.· Please tell me about your educational
10:15 17· · history post high school.
10:15 18· · · · · · A.· Post high school I attended SUNY Cortland,
10:15 19· · and I got a Bachelor's degree in biology in the year
10:15 20· · 1994.
10:15 21· · · · · · Q.· Any other certificates or trainings?
10:15 22· · · · · · A.· I am currently halfway through an MBA.
10:15 23· · · · · · Q.· At what institution?
10:15 24· · · · · · A.· Ball State University online.
10:15 25· · · · · · Q.· Have you ever served in the Armed Forces?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:15 ·2· · · · · · A.· No.
10:15 ·3· · · · · · Q.· Are you currently employed?
10:15 ·4· · · · · · A.· Yes.
10:15 ·5· · · · · · Q.· Where?
10:15 ·6· · · · · · A.· Cortland Biomedical.
10:15 ·7· · · · · · Q.· Where is that located?
10:15 ·8· · · · · · A.· Cortland, New York.
10:15 ·9· · · · · · Q.· And what's your position there?
10:15 10· · · · · · A.· I am a validation engineer.
10:16 11· · · · · · Q.· What does that job entail?
10:16 12· · · · · · A.· Essentially it's a quality assurance
10:16 13· · engineer assuring that the facility's equipment
10:16 14· · processes are appropriate for manufacturing medical
10:16 15· · devices.
10:16 16· · · · · · Q.· When were you hired there?
10:16 17· · · · · · A.· July 25, 2018.
10:16 18· · · · · · Q.· Have you worked there continuously since
10:16 19· · July 25, 2018?
10:16 20· · · · · · A.· Yes.
10:16 21· · · · · · Q.· What was your starting pay there?
10:16 22· · · · · · A.· 75,000.
10:16 23· · · · · · Q.· Have you had any raises since then?
10:16 24· · · · · · A.· I'm at 79,000 now.
10:16 25· · · · · · Q.· Was that in one raise?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:16 ·2· · · · · · A.· I don't recall.
10:16 ·3· · · · · · Q.· What other benefits are provided at that
10:16 ·4· · job?
10:17 ·5· · · · · · A.· They provide a retirement plan, health
10:17 ·6· · insurance plan -- which I did not use -- and I believe
10:17 ·7· · long-term care insurance and life insurance.
10:17 ·8· · · · · · Q.· Are you covered by health insurance in
10:17 ·9· · some other fashion?
10:17 10· · · · · · A.· Yes.
10:17 11· · · · · · Q.· Where?
10:17 12· · · · · · A.· Cornell.· My husband is an employee at
10:17 13· · Cornell University.
10:17 14· · · · · · Q.· When was the last date that you worked for
10:17 15· · Cornell?
10:17 16· · · · · · A.· The end of December 2018 -- or, excuse me,
10:17 17· · 2017.· I don't remember the exact date.
10:17 18· · · · · · Q.· Did you have any other employment between
10:18 19· · leaving Cornell and your current job?
10:18 20· · · · · · A.· No.
10:18 21· · · · · · Q.· And do you have any employment other than
10:18 22· · the job you've already described for me today?
10:18 23· · · · · · A.· No.
10:18 24· · · · · · Q.· Do you recall when it was that you first
10:18 25· · disclosed your cancer diagnosis to Cornell University?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:18 ·2· · · · · · A.· Yes.· I recall telling my manager,
10:18 ·3· · Margaret Shackell, either the day I was diagnosed or a
10:18 ·4· · few days later.
10:18 ·5· · · · · · Q.· And what position were you in at that
10:18 ·6· · time?
10:18 ·7· · · · · · A.· BSL administrator.
10:18 ·8· · · · · · Q.· What's a BSL administrator?
10:18 ·9· · · · · · A.· Essentially I would run social science
10:18 10· · surveys, studies at the lab, the business school, as
10:18 11· · well as online studies.
10:18 12· · · · · · Q.· What does the abbreviation "BSL" stand
10:19 13· · for?
10:19 14· · · · · · A.· Business Simulation Laboratory.
10:19 15· · · · · · Q.· And what college is that in?
10:19 16· · · · · · A.· It was the Johnson College of Business.
10:19 17· · At the time it had not merged.
10:19 18· · · · · · Q.· Can you describe more for me the duties
10:19 19· · you performed as a BSL administrator?
10:19 20· · · · · · A.· Yes.· I would take faculty and student
10:19 21· · protocols and run the studies for them, report the
10:19 22· · data back to them.· Either in-person studies or online
10:19 23· · studies.
10:19 24· · · · · · · · In addition, I was developing new
10:19 25· · platforms for studies.· For example, Amazon Mechanical




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:19 ·2· · Turk was a good source for subjects that we were
10:19 ·3· · using.· So I was getting up to speed with that.
10:19 ·4· · · · · · Q.· And what hours were you working at that
10:19 ·5· · time?
10:19 ·6· · · · · · A.· It varied.· It was a part-time role for
10:19 ·7· · one year.· It was intended to be a part-time role.
10:20 ·8· · · · · · · · My hours would vary depending on when the
10:20 ·9· · faculty or students would want me to launch studies.
10:20 10· · They would have certain time requirements.
10:20 11· · · · · · · · So I might launch them from home early in
10:20 12· · the morning, or I might come in and work a few hours
10:20 13· · on-site.
10:20 14· · · · · · Q.· Do you recall when you started the job as
10:20 15· · a BSL administrator, what the date was?
10:20 16· · · · · · A.· I don't recall the exact date.· It was in
10:20 17· · August of 2015.
10:20 18· · · · · · Q.· Was Margaret Shackell always your
10:20 19· · supervisor in that job?
10:20 20· · · · · · A.· Yes.
10:20 21· · · · · · Q.· In referencing your Complaint in this
10:20 22· · case -- I'm looking at paragraph 32 -- it states that
10:20 23· · on or about June 13, 2016 you notified Katherine Doxey
10:21 24· · that you had been diagnosed with cancer and would need
10:21 25· · to use some health and personal time to deal with that




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:21 ·2· · situation.
10:21 ·3· · · · · · · · You said right now you told Margaret
10:21 ·4· · Shackell.· Did you tell Kathy Doxey about your
10:21 ·5· · diagnosis early on?
10:21 ·6· · · · · · A.· I did.
10:21 ·7· · · · · · Q.· In relation to your conversation with
10:21 ·8· · Margaret, when did you talk to Kathy?
10:21 ·9· · · · · · A.· After.· After I discussed with Margaret.
10:21 10· · · · · · Q.· How quickly after?
10:21 11· · · · · · A.· I don't recall if it was the same day or a
10:21 12· · few days later.
10:21 13· · · · · · Q.· So would you still agree, then, that June
10:21 14· · 13, 2016 is on or about the date that you first
10:21 15· · disclosed to Cornell your diagnose?
10:21 16· · · · · · A.· It could have been June 10th, the actual
10:21 17· · day of the diagnosis.
10:21 18· · · · · · Q.· In paragraph 33 of your Complaint you
10:22 19· · stated at the time of your notification of your
10:22 20· · diagnosis to Ms. Doxey that you would not be able to
10:22 21· · work on-site for a short time, but you were able and
10:22 22· · willing to work from home.
10:22 23· · · · · · · · First of all, is that still a true
10:22 24· · statement?
10:22 25· · · · · · A.· Yes.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:22 ·2· · · · · · Q.· At that time, in terms of your approach to
10:22 ·3· · combining work with dealing with your personal needs,
10:22 ·4· · what were you envisioning you needed to do in the near
10:22 ·5· · future after the diagnosis?
10:22 ·6· · · · · · A.· Related to work?
10:22 ·7· · · · · · Q.· Combining work while addressing your
10:22 ·8· · personal needs?
10:22 ·9· · · · · · A.· I was launching studies online using
10:22 10· · Amazon Mechanical Turk, which was the primary method
10:22 11· · during that time period.
10:22 12· · · · · · · · Also, there were no students on campus, so
10:22 13· · we were not launching in-person studies.
10:22 14· · · · · · · · So I was launching the studies, responding
10:23 15· · to emails, while I was also dealing with the emotional
10:23 16· · impact of a cancer diagnosis and calling physicians,
10:23 17· · people that had had the disease that I knew and
10:23 18· · getting information.
10:23 19· · · · · · Q.· In paragraph 34 of the Complaint you
10:23 20· · mentioned also in connection with your disclosure to
10:23 21· · Ms. Doxey that you shared your full 15-month treatment
10:23 22· · plan.
10:23 23· · · · · · · · To your recollection right now, what were
10:23 24· · the larger components of your 15-month treatment plan?
10:23 25· · · · · · · · MS. VINCI:· Object to form.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:23 ·2· · · · · · · · You can answer.
10:23 ·3· · · · · · A.· The initial plan was surgery to remove the
10:23 ·4· · cancer and lymph nodes near the cancer followed by
10:23 ·5· · chemotherapy, radiation and targeted therapy.
10:24 ·6· · · · · · Q.· And that was to proceed across an entire
10:24 ·7· · 15-month time frame?
10:24 ·8· · · · · · A.· Based on the pathology of my cancer, yes.
10:24 ·9· · · · · · Q.· To your recollection, how did you first
10:24 10· · reach out to Kathy Doxey about your diagnosis and
10:24 11· · treatment plans?
10:24 12· · · · · · A.· I believe initially it was an email
10:24 13· · disclosing the diagnosis.· We then had an in-person
10:24 14· · discussion.
10:24 15· · · · · · Q.· What did you discuss at that in-person
10:24 16· · meeting?
10:24 17· · · · · · A.· We discussed my diagnosis, how to proceed
10:24 18· · with the disability paperwork, medical leaves.
10:24 19· · · · · · Q.· Do you remember what Ms. Doxey told you
10:24 20· · specifically about accessing benefits and leaves?
10:24 21· · · · · · A.· I believe Julie Weaver was present, and we
10:25 22· · discussed that Julie would be my contact, and she
10:25 23· · would reach out to me and let me know what she needed
10:25 24· · for that.
10:25 25· · · · · · Q.· And after the meeting we've been




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:25 ·2· · discussing, did Julie Weaver reach out to you to
10:25 ·3· · discuss all of those topics?
10:25 ·4· · · · · · A.· She did.
10:25 ·5· · · · · · Q.· Do you recall when?
10:25 ·6· · · · · · A.· I do not recall.
10:25 ·7· · · · · · Q.· Do you recall roughly how long it was
10:25 ·8· · after that initial conversation that you were talking
10:25 ·9· · to Julie about those topics?
10:25 10· · · · · · A.· I do not recall.
10:25 11· · · · · · Q.· Did you have conversations with Julie
10:25 12· · Weaver about those topics after the initial
10:25 13· · conversation with Kathy Doxey?
10:25 14· · · · · · · · MS. VINCI:· Objection.
10:25 15· · · · · · · · You can answer.
10:25 16· · · · · · A.· As I was approaching my surgery, we would
10:25 17· · discuss how that would be handled, and I would submit
10:25 18· · the documentation as needed, likely via email.
10:25 19· · · · · · Q.· Okay.· So at that same time, in reading
10:26 20· · your Complaint -- I'm reading paragraph 36 -- you also
10:26 21· · in summer of 2016 were applying for a new job at
10:26 22· · Cornell?
10:26 23· · · · · · A.· The summer of 2016?· One week after my
10:26 24· · diagnosis when I returned, I was notified that I was
10:26 25· · being removed from the BSL administrator position, and




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:26 ·2· · I was offered one of two other open positions.
10:26 ·3· · · · · · Q.· What were those two positions?
10:26 ·4· · · · · · A.· One was in faculty support working as an
10:26 ·5· · administrator in faculty support.· The other was as a
10:26 ·6· · data analyst for a newly forming department of
10:26 ·7· · business analytics.
10:26 ·8· · · · · · Q.· Do you remember what the faculty support
10:26 ·9· · position entailed by way of job duties?
10:26 10· · · · · · A.· I do not recall.
10:27 11· · · · · · Q.· Did you ever take that job?
10:27 12· · · · · · A.· No.
10:27 13· · · · · · Q.· Did you investigate the analyst job in the
10:27 14· · business analytics unit?
10:27 15· · · · · · A.· I did.
10:27 16· · · · · · Q.· And what was -- in July and August of
10:27 17· · 2016, what was your understanding about the scope of
10:27 18· · work in that job?
10:27 19· · · · · · A.· The scope of work would be analyzing data,
10:27 20· · creating dashboards and utilizing metrics to help
10:27 21· · management make decisions.
10:27 22· · · · · · Q.· Which management?
10:27 23· · · · · · A.· Executive management in the combined
10:27 24· · school management.
10:27 25· · · · · · Q.· And the combined school, could you




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:27 ·2· · describe what you mean by that?
10:27 ·3· · · · · · A.· The Johnson School of Business when they
10:28 ·4· · merged with the hotel school and Dyson.
10:28 ·5· · · · · · Q.· In paragraph 36 of your Complaint it says
10:28 ·6· · that you interviewed with a Lucinda Allen --
10:28 ·7· · · · · · A.· I did.
10:28 ·8· · · · · · Q.· -- for the position as a Data Analyst II.
10:28 ·9· · Is the Data Analyst II the business analytics position
10:28 10· · you've just been talking about?
10:28 11· · · · · · A.· It is.
10:28 12· · · · · · Q.· And do you remember interviewing with
10:28 13· · Lucinda Allen?
10:28 14· · · · · · A.· Yes.
10:28 15· · · · · · Q.· You don't recall, though, right now
10:28 16· · exactly when you did that?
10:28 17· · · · · · A.· It was in July 2016.
10:28 18· · · · · · Q.· At that time what were you told about when
10:28 19· · that position would be available?
10:28 20· · · · · · A.· It would be available very shortly in the
10:28 21· · upcoming months, within a month or two.
10:29 22· · · · · · Q.· Okay.· And at the time you were discussing
10:29 23· · the Data Analyst II position, what was your
10:29 24· · understanding about compensation?
10:29 25· · · · · · A.· Cindy said that it would be a likely




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:29 ·2· · exempt position in an E or F band, but that it would
10:29 ·3· · take about six months for that job description to be
10:29 ·4· · formed and written.
10:29 ·5· · · · · · Q.· So was it the case that even though it was
10:29 ·6· · going to be six months before the job was fully
10:29 ·7· · formed, you were going to be able to occupy that
10:29 ·8· · position earlier?
10:29 ·9· · · · · · A.· Yes.
10:29 10· · · · · · Q.· What compensation were you told you'd be
10:29 11· · receiving before the -- or up until the time the job
10:29 12· · was fully formed?
10:29 13· · · · · · A.· I received a notification letter in
10:30 14· · September after I had assumed the position and started
10:30 15· · training with a compensation amount of, I believe, $25
10:30 16· · an hour.
10:30 17· · · · · · Q.· Do you recall at the outset of that job
10:30 18· · how many hours you were scheduled to work?
10:30 19· · · · · · A.· Somewhere in the range of 10 to 20 hours a
10:30 20· · week.
10:30 21· · · · · · Q.· When did you end your work as the BSL
10:30 22· · administrator?
10:30 23· · · · · · A.· I was asked to stay in that role through
10:30 24· · December 2016.
10:30 25· · · · · · Q.· So did you do both the BSL administrator




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:30 ·2· · and the Data Analyst II position at the same time?
10:30 ·3· · · · · · A.· Yes.· I had two time cards.
10:30 ·4· · · · · · Q.· Did you report to different supervisors?
10:31 ·5· · · · · · A.· For the time being I recall they had me
10:31 ·6· · report to Margaret; but I was also receiving
10:31 ·7· · direction, functional supervision, from Sarah Miller.
10:31 ·8· · · · · · Q.· What was Sarah Miller's title?
10:31 ·9· · · · · · A.· I do not recall.
10:31 10· · · · · · Q.· Do you recall generally what her role was?
10:31 11· · · · · · A.· I know she was in research
10:31 12· · administration -- not research.· Excuse me.· I do not
10:31 13· · recall.
10:31 14· · · · · · Q.· With respect to the two roles, were you
10:31 15· · able to do them in the same physical location, or did
10:31 16· · you have to switch offices or something like that?
10:31 17· · · · · · A.· I was able to do them in the same physical
10:32 18· · location.
10:32 19· · · · · · Q.· Did you have in both roles -- could you
10:32 20· · describe for me on a daily basis what kinds of tasks
10:32 21· · you would be performing in those two roles and how you
10:32 22· · would combine your day?
10:32 23· · · · · · A.· As a BSL administrator, I may be launching
10:32 24· · studies remotely, from home or whatever office setup I
10:32 25· · had at the time.· I don't recall.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:32 ·2· · · · · · · · In the newly formed data analyst role, I
10:32 ·3· · was in the building downtown training with Sarah.
10:32 ·4· · · · · · · · Initially I was training on the databases
10:32 ·5· · that we used for data analysis, repositories of data
10:32 ·6· · and getting up to speed with respect to the software.
10:33 ·7· · · · · · Q.· And when you say "getting up to speed,"
10:33 ·8· · what do you mean?
10:33 ·9· · · · · · A.· Sarah would assign me projects within
10:33 10· · those databases, pulling reports, understanding
10:33 11· · reports.
10:33 12· · · · · · · · She assigned me a project to come up with
10:33 13· · a method to combine reports, because we had too many
10:33 14· · reports within the system.
10:33 15· · · · · · Q.· What data sets were you working from?
10:33 16· · · · · · A.· I don't recall the name of the software.
10:33 17· · It was likely faculty data sets.
10:33 18· · · · · · Q.· Were these data sets that you were
10:33 19· · required to produce?
10:33 20· · · · · · A.· No.
10:33 21· · · · · · Q.· These were data sets taken from
10:33 22· · researchers in the university?
10:33 23· · · · · · A.· Correct.· Data sets that contained data on
10:33 24· · faculty that we were analyzing and collating and
10:33 25· · etcetera.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:34 ·2· · · · · · Q.· How long was your training period for the
10:34 ·3· · Data Analyst II role?
10:34 ·4· · · · · · A.· I trained from September through October,
10:34 ·5· · I believe.· Until I left on disability, I was
10:34 ·6· · training.
10:34 ·7· · · · · · Q.· Do you remember when your disability leave
10:34 ·8· · started?
10:34 ·9· · · · · · A.· Either the first or second week of October
10:34 10· · 2016.
10:34 11· · · · · · Q.· And how long did your disability leave
10:34 12· · last in 2016?
10:35 13· · · · · · A.· 12 weeks, perhaps 13.
10:35 14· · · · · · Q.· Was it continuous leave?
10:35 15· · · · · · A.· Yes.
10:35 16· · · · · · Q.· So once you were out, you didn't do any
10:35 17· · work until you were done with your leave period?
10:35 18· · · · · · A.· Correct.
10:35 19· · · · · · Q.· In reading your Complaint, I'm looking at
10:35 20· · paragraph 43 -- well, let me back up.
10:35 21· · · · · · · · Paragraph 42 you mention that on September
10:35 22· · 26, 2016 you received a formal offer letter with
10:35 23· · respect to the Data Analyst II position.
10:35 24· · · · · · · · To your knowledge today, that's still a
10:35 25· · true statement?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:35 ·2· · · · · · A.· Yes.
10:35 ·3· · · · · · Q.· In the next paragraph, paragraph 43, you
10:35 ·4· · state that the formal letter -- formal offer letter,
10:35 ·5· · excuse me, set the position at the lowest possible pay
10:35 ·6· · level.
10:36 ·7· · · · · · · · First, let me ask you this question:· How
10:36 ·8· · did you know that it was set at the lowest possible
10:36 ·9· · pay level?
10:36 10· · · · · · A.· I had access to that information on
10:36 11· · Cornell websites, and I knew what the pay band levels
10:36 12· · were.
10:36 13· · · · · · Q.· And when you say "lowest possible pay
10:36 14· · level," do you mean to say at the lowest possible
10:36 15· · band?
10:36 16· · · · · · A.· I mean to say the lowest possible pay
10:36 17· · level within the band.
10:36 18· · · · · · Q.· Okay.· You then go on to say in paragraph
10:36 19· · 43 that you were confused and disappointed that there
10:36 20· · had not been prior substantive discussion regarding
10:36 21· · salary in the Data Analyst II position.
10:36 22· · · · · · · · To your recollection, what discussion did
10:36 23· · you have with anybody, whether that was Lucinda Allen
10:36 24· · or someone else, about the compensation for the Data
10:36 25· · Analyst II position?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:36 ·2· · · · · · · · MS. VINCI:· Objection.
10:36 ·3· · · · · · · · You can answer.
10:36 ·4· · · · · · A.· I discussed with Lucinda that it would be
10:36 ·5· · an exempt position either in an E or F band.· And
10:37 ·6· · based on that, the pay would have been substantially
10:37 ·7· · higher than they were offering me.
10:37 ·8· · · · · · Q.· What band were you offered?
10:37 ·9· · · · · · A.· E nonexempt.· The lowest pay grade.
10:37 10· · · · · · Q.· But had Lucinda Allen made any promise
10:37 11· · that it would be anything other than an E level or E
10:37 12· · band?
10:37 13· · · · · · A.· Potentially an F band.
10:37 14· · · · · · Q.· But did she explain to you what the
10:37 15· · criteria would be to reach the F band?
10:37 16· · · · · · A.· She did not.
10:37 17· · · · · · Q.· Now, in paragraph 44 of your Complaint --
10:37 18· · I'll quote -- "Upon information and belief, Defendant
10:37 19· · intentionally set Plaintiff's pay at the lowest
10:38 20· · possible level, because it did not want to pay
10:38 21· · Plaintiff a higher salary, knowing that she would need
10:38 22· · time away from work for her cancer treatments and
10:38 23· · medical health."
10:38 24· · · · · · · · Why did you believe that?
10:38 25· · · · · · A.· It was not based on my skills, experience,




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:38 ·2· · abilities.· I had no other reference point for what it
10:38 ·3· · would be based on.
10:38 ·4· · · · · · Q.· What about -- what is it about your skills
10:38 ·5· · that made you believe at that time you should be
10:38 ·6· · compensated at a higher level?
10:38 ·7· · · · · · A.· I had roughly 15 to 18 years of
10:38 ·8· · experience, did a lot of data analysis, a lot of
10:38 ·9· · preparation of data for management review at Welch
10:38 10· · Allyn.
10:38 11· · · · · · · · I had significant experience that I could
10:39 12· · apply to this position.· I was a manager for nine
10:39 13· · years at Cornell.
10:39 14· · · · · · Q.· Are you aware of the criteria that would
10:39 15· · allow an employee to be paid in the F band?
10:39 16· · · · · · A.· I have reviewed that criteria before.                I
10:39 17· · do not recall specifics.
10:39 18· · · · · · Q.· Do you believe that your skills and
10:39 19· · experience met the criteria for F band?
10:39 20· · · · · · A.· Yes.
10:39 21· · · · · · Q.· But sitting here today, you couldn't tell
10:39 22· · me specifically why?· You couldn't correlate for me F
10:39 23· · band with your skills, because you don't remember --
10:39 24· · · · · · A.· I don't remember the specific attributes
10:39 25· · of F band at this time.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:39 ·2· · · · · · Q.· What is it that led you to believe that
10:39 ·3· · the reason you were put in the E band was because
10:40 ·4· · Defendant Cornell University did not want to pay a
10:40 ·5· · higher salary at the time of your cancer treatments?
10:40 ·6· · · · · · A.· In all my other jobs at Cornell where I
10:40 ·7· · had been hired, I was given an opportunity to
10:40 ·8· · negotiate for my salary.· And I had never been paid at
10:40 ·9· · the minimum in any band.
10:40 10· · · · · · · · And I had been employed in an F band and
10:40 11· · an E band prior to this.
10:40 12· · · · · · Q.· And when you talked to Lucinda Allen about
10:40 13· · the Data Analyst II position, you did not do any
10:40 14· · negotiating regarding your salary?
10:40 15· · · · · · A.· Not at that time.
10:40 16· · · · · · Q.· If not at that time, when did you?
10:40 17· · · · · · A.· I did not have an opportunity to
10:40 18· · negotiate.· I received the letter when I was on
10:40 19· · disability from chemo.
10:40 20· · · · · · · · I remember distinctly the day I got the
10:41 21· · letter.· I had not eaten for days, I was lying in bed,
10:41 22· · and I did not have the strength to essentially fight
10:41 23· · for myself.
10:41 24· · · · · · Q.· When you returned from your disability
10:41 25· · leave, did you have any discussions with anybody at




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:41 ·2· · Cornell then about the salary being paid for the Data
10:41 ·3· · Analyst II position?
10:41 ·4· · · · · · A.· Yes.
10:41 ·5· · · · · · Q.· With whom?
10:41 ·6· · · · · · A.· With my new manager, Tammy Lindsay.
10:41 ·7· · · · · · Q.· And do you recall when that conversation
10:41 ·8· · happened?
10:41 ·9· · · · · · A.· I do not recall.
10:41 10· · · · · · Q.· Do you recall when that conversation
10:41 11· · happened relative to your return?
10:41 12· · · · · · A.· It was early upon my return in one of our
10:41 13· · one-on-one meetings when I asked about progress on my
10:41 14· · job description and when I would essentially be
10:41 15· · reclassified.
10:41 16· · · · · · Q.· And what was Tammy Lindsay's response at
10:41 17· · that time?
10:41 18· · · · · · A.· "We are still working on your job
10:41 19· · description."
10:41 20· · · · · · Q.· Did she share with you any drafts at that
10:41 21· · point in time?
10:42 22· · · · · · A.· No.
10:42 23· · · · · · Q.· Up until that conversation with Tammy
10:42 24· · Lindsay, had you seen any drafts of the position
10:42 25· · description?




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     ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:42 ·2· · · · · · A.· No.
10:42 ·3· · · · · · Q.· After the meeting with Tammy Lindsay, did
10:42 ·4· · you see any drafts of the position description?
10:42 ·5· · · · · · A.· Yes.
10:42 ·6· · · · · · Q.· When?
10:42 ·7· · · · · · A.· I brought the matter to Julie Weaver at
10:42 ·8· · some point later.· She supplied me with a draft job
10:42 ·9· · description, and she asked me to rewrite it, to edit
10:42 10· · it.
10:42 11· · · · · · Q.· When you say sometime later, when is that
10:42 12· · relative to your Tammy Lindsay meeting that you were
10:42 13· · just describing?
10:42 14· · · · · · A.· Months later.
10:43 15· · · · · · Q.· Taking you back to paragraph 44 of your
10:43 16· · Complaint and your allegation that your pay level was
10:43 17· · intentionally set at the lowest possible level, was
10:43 18· · there anything specific that Lucinda Allen ever said
10:43 19· · to you that led you to believe that the salary level
10:43 20· · being set for Data Analyst II was related to your
10:43 21· · condition or leave?
10:43 22· · · · · · A.· I do not recall.
10:43 23· · · · · · Q.· Is there anyone other than Lucinda Allen
10:43 24· · in 2016 with whom you discussed the compensation level
10:44 25· · of the Data Analyst II position?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:44 ·2· · · · · · A.· I may have discussed with Julie Weaver.              I
10:44 ·3· · do not recall.
10:44 ·4· · · · · · Q.· Do you recall Julie Weaver ever saying
10:44 ·5· · anything to you to lead you to believe that your pay
10:44 ·6· · level was intentionally being set at the lowest point
10:44 ·7· · due to your diagnosis or treatment or leave?
10:44 ·8· · · · · · A.· No.
10:44 ·9· · · · · · Q.· So you were able to return to work after
10:44 10· · your leave in January of 2017; correct?
10:44 11· · · · · · A.· Yes.
10:44 12· · · · · · Q.· And I will come back to the details, but
10:44 13· · you had a flexible work arrangement put into place
10:45 14· · probably in February of 2017; is that correct?
10:45 15· · · · · · A.· Either January or February.
10:45 16· · · · · · Q.· Do you recall what precipitated creating
10:45 17· · the flexible work arrangement?
10:45 18· · · · · · A.· Yes.
10:45 19· · · · · · Q.· What was that?
10:45 20· · · · · · A.· I would be entering into radiation
10:45 21· · treatment.· Once I was healed from chemotherapy and my
10:45 22· · body was strong enough, I would start radiation daily
10:45 23· · for 35 treatments in Syracuse; and I would not be able
10:45 24· · to drive to Syracuse and Ithaca the same day.
10:45 25· · · · · · · · So I was allowed to work from home for




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:45 ·2· · that period of time.
10:45 ·3· · · · · · Q.· And you were able to work from home on the
10:45 ·4· · Data Analyst II position, because you could access the
10:45 ·5· · data you needed from home remotely?
10:45 ·6· · · · · · A.· Correct.
10:45 ·7· · · · · · Q.· And you had all the tools that you needed
10:45 ·8· · to do that job available to you at home?
10:46 ·9· · · · · · A.· Yes.
10:46 10· · · · · · Q.· How was that set up?
10:46 11· · · · · · A.· I was given a monitor, keyboard, computer.
10:46 12· · And I had internet access at home, so I could remotely
10:46 13· · log into the Cornell systems.
10:46 14· · · · · · (The following exhibit was marked for
10:46 15· · · · · · identification:· EXH Number 1.)
10:46 16· · · · · · Q.· All right.· I am showing you what's been
10:46 17· · marked for identification as Exhibit 1.· Please take a
10:46 18· · look at that, every page, and let me know when you're
10:46 19· · done looking at it.
10:46 20· · · · · · · · MS. VINCI:· I'd just advise the witness to
10:46 21· · review the document in full before she proceeds with
10:46 22· · any questioning.
10:47 23· · · · · · A.· I can't read the last page.
10:47 24· · · · · · Q.· I'll take that into account when I ask you
10:47 25· · questions.· I will concede that this is not the best




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:47 ·2· · possible copy, but I think we'll be able to get around
10:47 ·3· · that.
10:47 ·4· · · · · · · · First of all, do you recognize the
10:47 ·5· · document as a whole?
10:47 ·6· · · · · · A.· Yes.
10:47 ·7· · · · · · Q.· What is it?
10:47 ·8· · · · · · A.· It's a Flexible Work Arrangement --
10:47 ·9· · Agreement Form.
10:47 10· · · · · · Q.· Is that your signature on the first page
10:47 11· · at the bottom?
10:47 12· · · · · · A.· Yes.
10:47 13· · · · · · Q.· Is your signature also on the third page
10:47 14· · at the bottom?
10:48 15· · · · · · A.· Yes.
10:48 16· · · · · · Q.· And I see that it's got an effective date
10:48 17· · of February 6, 2017, with a signature date of February
10:48 18· · 2, 2017 for you.
10:48 19· · · · · · · · So do you recall executing this document
10:48 20· · in February of 2017?
10:48 21· · · · · · A.· Yes.
10:48 22· · · · · · Q.· And when you -- did you have any role in
10:48 23· · creating the content of the document?
10:48 24· · · · · · A.· I wrote the entire thing.
10:48 25· · · · · · Q.· And in writing it, who did you have




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:48 ·2· · discussions with?
10:48 ·3· · · · · · A.· Tammy Lindsay.
10:48 ·4· · · · · · · · MS. VINCI:· Objection.
10:48 ·5· · · · · · Q.· And I see, I believe, Tammy Lindsay's
10:48 ·6· · signature also on the first and third page.
10:48 ·7· · · · · · · · Does that look familiar to you?
10:48 ·8· · · · · · A.· Yes.
10:48 ·9· · · · · · Q.· In discussing it -- in discussing your
10:48 10· · flexible work arrangement, how did you come to the
10:48 11· · particular schedule that we see represented on the
10:48 12· · first page?
10:49 13· · · · · · A.· There may have been a discussion with
10:49 14· · Tammy, but in general those were my hours.
10:49 15· · · · · · Q.· 8 a.m. to 2:30 p.m. would have been your
10:49 16· · workday coming to campus?
10:49 17· · · · · · A.· Prior to this arrangement, yes.
10:49 18· · · · · · Q.· And I see in the column marked new hours,
10:49 19· · can you read that for me?
10:49 20· · · · · · A.· (As read):· Six hours a day between 7 a.m.
10:49 21· · to 6 p.m.
10:49 22· · · · · · Q.· Okay.· So what was your intention with
10:49 23· · setting that up that way?
10:49 24· · · · · · A.· The flexibility to work whatever hours I
10:49 25· · was available.· My radiation schedule changed every




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:49 ·2· · day.
10:49 ·3· · · · · · · · In addition, I was having sleep issues, so
10:49 ·4· · I might get up early or later.
10:49 ·5· · · · · · Q.· And how long was it that you had to work
10:49 ·6· · remotely in order to get your treatments in terms of,
10:50 ·7· · you know, calendar weeks?
10:50 ·8· · · · · · A.· I believe it was seven.
10:50 ·9· · · · · · Q.· And do you recall now which months those
10:50 10· · seven weeks fell in in 2017?
10:50 11· · · · · · A.· Between February and April.
10:50 12· · · · · · Q.· Was it seven continuous weeks, or were
10:50 13· · they broken up?
10:50 14· · · · · · A.· Continuous.
10:50 15· · · · · · Q.· In terms of the functionality of working
10:50 16· · from home, did everything work for you by way of the
10:50 17· · technology and such?
10:50 18· · · · · · A.· Yes.
10:50 19· · · · · · Q.· Now, I do see something here.· If you look
10:51 20· · at the third page with me, I'm looking at the third
10:51 21· · box from the top that has handwriting in it.
10:51 22· · · · · · A.· Yes.
10:51 23· · · · · · Q.· Can you make any of that out right now
10:51 24· · while you're sitting there?
10:51 25· · · · · · A.· I cannot.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:51 ·2· · · · · · Q.· I see something about checking messages
10:51 ·3· · two times a day when off-site.· Do you have a
10:51 ·4· · recollection of that being a term of your flexible
10:51 ·5· · work arrangement?
10:51 ·6· · · · · · A.· Yes.
10:51 ·7· · · · · · Q.· And about two more boxes down what I see
10:51 ·8· · suggests remote work two to five days per week
10:51 ·9· · February through mid-April.
10:51 10· · · · · · · · First of all, do you see that same writing
10:51 11· · in that box that I do?
10:51 12· · · · · · A.· Yes.
10:51 13· · · · · · Q.· And to your recollection right now, was
10:52 14· · that the time period that you were engaged in remote
10:52 15· · work?
10:52 16· · · · · · A.· Yes.
10:52 17· · · · · · Q.· I'll take that back from you.
10:52 18· · · · · · · · Now, you state in your Complaint -- I'm
10:52 19· · looking at paragraph 52 -- that you had continued to
10:52 20· · work under the agreement -- and I'll just state for
10:52 21· · purposes of this question that previously in the
10:52 22· · Complaint you had cited January of '17.· So it's the
10:53 23· · agreement we talked about.
10:53 24· · · · · · · · You state in the Complaint paragraph 52
10:53 25· · that you continued to work under the agreement with




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:53 ·2· · little to no issues; however, this would soon change.
10:53 ·3· · · · · · · · What changed?
10:53 ·4· · · · · · A.· When I returned in April and May, I was
10:53 ·5· · still healing, still requiring remote work
10:53 ·6· · occasionally.
10:53 ·7· · · · · · Q.· So you were able to come to campus on some
10:53 ·8· · days?
10:53 ·9· · · · · · A.· Correct.
10:53 10· · · · · · Q.· Did you have the ability to predict those
10:53 11· · days ahead of time?
10:53 12· · · · · · A.· In some cases, yes, but not always.
10:53 13· · · · · · Q.· Can you characterize for me the proportion
10:53 14· · of days that were predictable versus not predictable?
10:53 15· · · · · · A.· I always knew that I would feel ill one to
10:54 16· · four days after a treatment, but in between there it
10:54 17· · was hit or miss.· The side effects just kept coming
10:54 18· · whenever they wanted to.
10:54 19· · · · · · Q.· You've continued to state in paragraph 52
10:54 20· · that upon information and belief, things changed
10:54 21· · because Defendant -- that would be Cornell
10:54 22· · University -- lost patience with having to accommodate
10:54 23· · your ongoing disability.
10:54 24· · · · · · · · What led you to believe that?
10:54 25· · · · · · A.· The behavior of my manager, Tammy Lindsay.




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     ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:54 ·2· · · · · · Q.· What were her behaviors?
10:54 ·3· · · · · · A.· She was frequently annoyed with my
10:54 ·4· · requests, acted hostilely, repeatedly told me I had to
10:54 ·5· · get my time card under control, stop using so much
10:54 ·6· · time off, do not use my HAP time as soon as I accrue
10:54 ·7· · it.
10:54 ·8· · · · · · Q.· Would these be face-to-face conversations?
10:55 ·9· · · · · · A.· In general, they would be emails.
10:55 10· · Occasionally face to face.
10:55 11· · · · · · Q.· On a day when you could come to campus,
10:55 12· · would you necessarily see Tammy Lindsay?
10:55 13· · · · · · A.· Not necessarily.
10:55 14· · · · · · Q.· So when you did come to campus, how often
10:55 15· · would you see her?· Just as an incidental matter of
10:55 16· · doing your work.
10:55 17· · · · · · A.· Perhaps one to two days a week.
10:55 18· · · · · · Q.· Was she not working in the same space you
10:55 19· · were?
10:55 20· · · · · · A.· She was working remotely three to four
10:55 21· · days a week.
10:55 22· · · · · · Q.· And her remote work didn't always match
10:55 23· · with your remote work?
10:55 24· · · · · · A.· Correct.
10:55 25· · · · · · Q.· You state in paragraph 54 that Lindsay




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:56 ·2· · admonished you for not keeping her updated regarding
10:56 ·3· · your treatment schedule.
10:56 ·4· · · · · · A.· Correct.
10:56 ·5· · · · · · Q.· What do you mean by "admonished"?
10:56 ·6· · · · · · A.· I sent an email requesting some time off
10:56 ·7· · and the ability to work from home on a specific day
10:56 ·8· · when I was ill.
10:56 ·9· · · · · · · · And her response was, by email, that I was
10:56 10· · not keeping her up to date; she was my manager; I
10:56 11· · needed to tell her when I was not going to be in.· To
10:56 12· · which I replied that I had.
10:56 13· · · · · · Q.· You had?
10:56 14· · · · · · A.· I had kept her up to date.· All of my
10:56 15· · schedule was on my calendar, which I shared with her.
10:56 16· · The very emails I would send her were an update to my
10:56 17· · condition.
10:56 18· · · · · · Q.· Well, I'll note that in paragraph 55 of
10:56 19· · your Complaint you say that you corrected Lindsay and
10:56 20· · advised her that you had, in fact, alerted her of your
10:56 21· · treatment schedule and that the same was noted on the
10:57 22· · office calendar.· So tell me about this office
10:57 23· · calendar.· How did that work?
10:57 24· · · · · · A.· I believe the office calendar was my
10:57 25· · calendar, which was shared with Lindsay.· You have the




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:57 ·2· · ability in Outlook to share a calendar, where they can
10:57 ·3· · see all your details.
10:57 ·4· · · · · · Q.· So you had your treatment schedule in your
10:57 ·5· · calendar; correct?
10:57 ·6· · · · · · A.· Correct.
10:57 ·7· · · · · · Q.· And it was your understanding that Lindsay
10:57 ·8· · had access to your calendar?
10:57 ·9· · · · · · A.· She did.
10:57 10· · · · · · Q.· According to your allegation in paragraph
10:57 11· · 55 where you pointed out the fact that the treatment
10:57 12· · schedule was there, how did Ms. Lindsay respond?
10:57 13· · · · · · A.· She continued to admonish me by email.
10:57 14· · And refused to acknowledge what I was saying.
10:57 15· · · · · · Q.· So she did not acknowledge that your
10:57 16· · calendar showed your treatment schedule?
10:57 17· · · · · · A.· Correct.
10:58 18· · · · · · Q.· In paragraph 56 you mention that Lindsay
10:58 19· · further -- sorry.· Lindsay continued to berate you
10:58 20· · about your need for flexible hours.
10:58 21· · · · · · · · Can you describe her berating behavior?
10:58 22· · · · · · A.· Specific to that date -- specific to a
10:58 23· · date or in general?
10:58 24· · · · · · Q.· Well, in your paragraph 56 you're speaking
10:58 25· · at that point about the conversation about the




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:58 ·2· · calendar.· So I'm asking about that point in time
10:58 ·3· · right now.
10:58 ·4· · · · · · A.· In that email I told her that I was
10:58 ·5· · seriously ill and I would not be able to work that
10:58 ·6· · morning.· I was waiting for a call from my
10:58 ·7· · cardiologist.
10:58 ·8· · · · · · · · She continued to reach out to me that
10:58 ·9· · morning, essentially directing me to continue working
10:58 10· · when I was asking for time off.
10:58 11· · · · · · · · So in effect, I kept working, I kept
10:58 12· · responding to her emails.
10:59 13· · · · · · · · And the tone of those emails was I was
10:59 14· · doing something wrong.· I wasn't doing it to her
10:59 15· · liking.· She refused to acknowledge my responses.
10:59 16· · · · · · Q.· Do you recall specifics about what she
10:59 17· · didn't like?
10:59 18· · · · · · A.· Apparently she wanted my time off to be
10:59 19· · put on her calendar.· She didn't want to look at my
10:59 20· · calendar.
10:59 21· · · · · · Q.· Would that have been possible?
10:59 22· · · · · · A.· Possible, yes.
10:59 23· · · · · · Q.· Did the two of you discuss actually
10:59 24· · changing to doing that, having you put the time
10:59 25· · entries on her calendar?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
10:59 ·2· · · · · · A.· I was told to.· I was directed to do that.
10:59 ·3· · · · · · Q.· By whom?
10:59 ·4· · · · · · A.· By Tammy.
10:59 ·5· · · · · · Q.· And did you start doing that?
10:59 ·6· · · · · · A.· I did.
10:59 ·7· · · · · · Q.· After you started putting your schedule on
10:59 ·8· · her calendar, did you have any more discussions about
10:59 ·9· · calendaring your treatment schedule?
10:59 10· · · · · · A.· I recall a time when she did not accept a
10:59 11· · calendar invitation, and then it wouldn't show up on
10:59 12· · her calendar.· And if she didn't do that, she wouldn't
11:00 13· · have access to know my schedule.
11:00 14· · · · · · · · So I believe there was a time or two where
11:00 15· · she admonished me for not telling her when I had sent
11:00 16· · her the schedule and she did not accept the schedule.
11:00 17· · · · · · Q.· In response to a question I asked you just
11:00 18· · a little bit ago, you suggested that Ms. Lindsay's
11:00 19· · berating of you continued in time longer than the
11:00 20· · initial calendar discussion.
11:00 21· · · · · · · · Can you tell me about more instances of
11:00 22· · her behavior that you call berating?
11:00 23· · · · · · A.· If I requested accommodation for the
11:00 24· · ability to work remotely when I was not feeling well,
11:00 25· · she would respond with "You cannot do that.· You did




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:00 ·2· · not get pre-approval for that.· You need to seek
11:00 ·3· · pre-approval in order to work from home."
11:01 ·4· · · · · · · · In general, the tone of those emails were
11:01 ·5· · that I, again, was doing something wrong.
11:01 ·6· · · · · · Q.· Well, let me ask you about that, because
11:01 ·7· · you said "the tone" a couple of times.· What you're
11:01 ·8· · describing to me sounds like Lindsay correcting you on
11:01 ·9· · how to go about asking for time off.
11:01 10· · · · · · · · So what is it about the tone that made you
11:01 11· · think she was berating you?
11:01 12· · · · · · · · MS. VINCI:· Object to the characterization
11:01 13· · of her testimony.· But she can answer if she's able.
11:01 14· · · · · · A.· For that particular instance in February
11:01 15· · that I asked for some time off to heal, she followed
11:01 16· · it up with a one-on-one meeting and told me that I was
11:01 17· · never to include my co-workers on those exchanges; I
11:02 18· · was only to discuss my time off with her; I had
11:02 19· · improperly requested it.· She followed it up with a
11:02 20· · one-on-one.
11:02 21· · · · · · · · So my goal that morning, when I was
11:02 22· · feeling extremely ill, was to get a message out to my
11:02 23· · entire team regarding a project we were working on and
11:02 24· · to notify them that I would not be in that day; I was
11:02 25· · not feeling well.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:02 ·2· · · · · · · · So in return for that, I was admonished by
11:02 ·3· · Tammy Lindsay for communicating that way.
11:02 ·4· · · · · · Q.· In your Data Analyst II position, how much
11:02 ·5· · interaction did you have with co-workers?
11:02 ·6· · · · · · A.· It depended on the projects.· However, the
11:02 ·7· · January to May time frame we were --
11:02 ·8· · · · · · Q.· Of 2017?
11:02 ·9· · · · · · A.· Of 2017.· We were working on projects
11:02 10· · together.· So I had frequent interactions with them.
11:02 11· · · · · · Q.· Would it be standard operating procedure
11:03 12· · for you to communicate with your entire team by email?
11:03 13· · · · · · A.· If we had a meeting scheduled that I was
11:03 14· · not able to attend or if we had a project submission
11:03 15· · due that particular day, I always tended to include
11:03 16· · the people who needed to know when I was going to be
11:03 17· · out.
11:03 18· · · · · · · · However, once Tammy asked me to stop doing
11:03 19· · that, I stopped doing that.
11:03 20· · · · · · Q.· When you were working remotely on a
11:03 21· · project, how would you report your progress on that
11:03 22· · project?
11:03 23· · · · · · A.· I would have frequent phone calls with
11:03 24· · Tammy or emails.
11:03 25· · · · · · Q.· So as a general matter, you were always




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:03 ·2· · reporting your work progress to Tammy?
11:03 ·3· · · · · · A.· Correct.
11:03 ·4· · · · · · · · MS. VINCI:· Counsel, can we just take a
11:04 ·5· · bathroom break.
11:04 ·6· · · · · · · · MR. WOLAN:· Yes, let's take a break.
11:04 ·7· · · · · · · · THE VIDEOGRAPHER:· The time is 11:04.
11:04 ·8· · We're off the record.
11:04 ·9· · · · · · (The proceeding recessed at 11:04 a.m.)
11:08 10· · · · · · (The proceeding reconvened at 11:08 a.m.;
11:08 11· · · · · · appearances as before noted.)
11:08 12· · · · · · · · THE VIDEOGRAPHER:· The time is 11:08.
11:08 13· · We're back on the record.
11:08 14· · DENISE PAYNE, resumes;
11:08 15· · · · · · CONTINUING EXAMINATION BY MR. WOLAN:
11:08 16· · · · · · Q.· Ms. Payne, in paragraph 57 of your
11:08 17· · Complaint you write following this altercation -- and
11:08 18· · the altercation regarding the calendar situation we've
11:09 19· · been talking about -- you reached out to medical leave
11:09 20· · representative Jillian Tubbs to ask for advice.
11:09 21· · · · · · · · Do you recall doing that?
11:09 22· · · · · · A.· Yes.
11:09 23· · · · · · Q.· Tell me about that.
11:09 24· · · · · · A.· So I reached out to Jill.· I think I asked
11:09 25· · if I could call her, and I had a phone call with her.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:09 ·2· · And I explained the situation.
11:09 ·3· · · · · · · · I felt like I was being denied some
11:09 ·4· · accommodation and asked if I should file a formal
11:09 ·5· · request.
11:09 ·6· · · · · · Q.· And what was her response to you?
11:09 ·7· · · · · · A.· Her response was that it's likely a
11:09 ·8· · misunderstanding.· I should reach back out to my
11:09 ·9· · management and HR and try to work it out.
11:09 10· · · · · · Q.· During that conversation, did Ms. Tubbs
11:09 11· · otherwise explain to you how you could formally
11:09 12· · request an accommodation?
11:09 13· · · · · · A.· She did.· She said if I needed to, I could
11:09 14· · reach back out and she would submit the forms to me.
11:10 15· · · · · · Q.· Prior to this date, had you ever requested
11:10 16· · any accommodations at Cornell before?
11:10 17· · · · · · A.· No.
11:10 18· · · · · · Q.· At the point in time that you're having
11:10 19· · the conversation you just described with Ms. Tubbs,
11:10 20· · were you aware of Cornell's policy regarding
11:10 21· · accommodations?
11:10 22· · · · · · A.· Yes.
11:10 23· · · · · · Q.· Had you read it?
11:10 24· · · · · · A.· Yes.
11:10 25· · · · · · Q.· In response to Ms. Tubbs' advice to you,




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     ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:10 ·2· · what did you do?
11:10 ·3· · · · · · A.· I tried to work it out with management and
11:10 ·4· · HR.
11:10 ·5· · · · · · Q.· And how did you go about doing that?
11:10 ·6· · · · · · A.· I asked for more flexibility.· I had a
11:10 ·7· · discussion with Tammy's manager, Cindy Allen,
11:10 ·8· · explained how I felt about the lack of accommodation
11:10 ·9· · and asked for help.
11:10 10· · · · · · Q.· And how did she respond to you?
11:10 11· · · · · · A.· Cindy didn't acknowledge it.
11:11 12· · · · · · Q.· Didn't acknowledge what?
11:11 13· · · · · · A.· My statements regarding what I was
11:11 14· · experiencing.· She didn't acknowledge them.
11:11 15· · · · · · Q.· Did you have an in-person meeting with
11:11 16· · her?
11:11 17· · · · · · A.· I did.
11:11 18· · · · · · Q.· Do you remember where?
11:11 19· · · · · · A.· In her office.
11:11 20· · · · · · Q.· And where was her office?
11:11 21· · · · · · A.· On the first floor of Statler.· Or second
11:11 22· · floor.· I can't recall.
11:11 23· · · · · · Q.· If she didn't acknowledge your statements,
11:11 24· · how did your conversation continue?
11:11 25· · · · · · A.· I mentioned that Tammy seemed to be more




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:11 ·2· · interested in controlling my time card than mentoring
11:11 ·3· · or providing me leadership.
11:11 ·4· · · · · · · · And Cindy said, "I'm sorry to hear that
11:11 ·5· · she's not mentoring you.· I will discuss that with
11:12 ·6· · her."
11:12 ·7· · · · · · · · However, she didn't even acknowledge the
11:12 ·8· · other aspect of our conversation regarding my time
11:12 ·9· · card and my request for time off.
11:12 10· · · · · · Q.· Do you recall how long that conversation
11:12 11· · with Ms. Allen was?
11:12 12· · · · · · A.· Perhaps 15 minutes.
11:12 13· · · · · · Q.· Were you ever aware of Ms. Allen following
11:12 14· · up with Ms. Lindsay?
11:12 15· · · · · · A.· Yes.
11:12 16· · · · · · Q.· What do you know about it?
11:12 17· · · · · · A.· Shortly after, Tammy Lindsay scheduled a
11:12 18· · one-on-one meeting with me and specifically discussed
11:12 19· · it with me.
11:12 20· · · · · · Q.· Did she -- did Ms. Lindsay show any signs
11:12 21· · of improving her mentorship of you?
11:12 22· · · · · · A.· Not that I recall.
11:12 23· · · · · · Q.· In paragraph 60 of your Complaint you
11:13 24· · mention that in or around May of 2017 you realized
11:13 25· · that since you returned to work earlier in 2017, you




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:13 ·2· · had not accrued any additional health and person, or
11:13 ·3· · HAP, time and that you were using vacation time to
11:13 ·4· · cover appointments.
11:13 ·5· · · · · · · · First of all, do you recall that?
11:13 ·6· · · · · · A.· I recall that.· However, I realized long
11:13 ·7· · before that that I wasn't accruing HAP time.
11:13 ·8· · · · · · Q.· When did you first realize it?
11:13 ·9· · · · · · A.· When I started back in January.
11:13 10· · · · · · Q.· How -- at that point in time how was HAP
11:13 11· · time accrued?
11:13 12· · · · · · A.· Every paycheck I would get a certain
11:13 13· · percentage of my time as HAP time.
11:13 14· · · · · · Q.· What do you mean certain percentage of
11:14 15· · your time?
11:14 16· · · · · · A.· There's a formula that's used to calculate
11:14 17· · your HAP time.
11:14 18· · · · · · Q.· Do you know how much health and personal
11:14 19· · time your position entitled you to?
11:14 20· · · · · · A.· I do not recall.
11:14 21· · · · · · Q.· So when you first realized you weren't
11:14 22· · accruing HAP time, you mean to say zero hours of HAP
11:14 23· · time showed up?· There was nothing there?
11:14 24· · · · · · A.· I was actually in the negative.
11:14 25· · · · · · Q.· In paragraph 62 you mention you reached




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:14 ·2· · out to HR and payroll to understand why you weren't
11:14 ·3· · accruing HAP.· Tell me about that.
11:14 ·4· · · · · · A.· So prior to that I had asked Tammy in
11:14 ·5· · person to look into the matter.· By May I had noticed
11:14 ·6· · that I still wasn't accruing, so I contacted the
11:14 ·7· · payroll representative and --
11:15 ·8· · · · · · Q.· Do you recall that person?
11:15 ·9· · · · · · A.· Judy.· I do not remember her last name.
11:15 10· · · · · · Q.· Okay.
11:15 11· · · · · · A.· And she, I believe, set up a meeting where
11:15 12· · we could discuss it in person.
11:15 13· · · · · · Q.· Did you attend that meeting?
11:15 14· · · · · · A.· Yes.
11:15 15· · · · · · Q.· What did you discuss at that meeting?
11:15 16· · · · · · A.· She mentioned that there seemed to be some
11:15 17· · sort of glitch with my payroll and asked me how I was
11:15 18· · using time for my medical time off.
11:15 19· · · · · · · · She asked me to send her a list of every
11:15 20· · time I had used vacation for medical purposes and said
11:15 21· · she would be working on the issue.
11:16 22· · · · · · Q.· After your conversation with payroll, were
11:16 23· · you satisfied that everything was resolved?
11:16 24· · · · · · A.· Yes.· She shortly resolved everything.
11:16 25· · · · · · Q.· And did you get HAP time retroactive to




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:16 ·2· · the start of your job in 2017?
11:16 ·3· · · · · · A.· I can't recall how she fixed it.· However,
11:16 ·4· · it's likely that she gave me the HAP time and then
11:16 ·5· · reversed and gave me back some vacation time that I
11:16 ·6· · had used for my medical.
11:16 ·7· · · · · · · · In addition, she alerted me that there was
11:16 ·8· · additional catastrophic leave donations that had been
11:16 ·9· · donated to me and withheld and was now going to be
11:16 10· · applied.
11:16 11· · · · · · Q.· Tell me about the donation process at
11:17 12· · Cornell, to your understanding.
11:17 13· · · · · · A.· To my understanding is if you meet the
11:17 14· · qualifications, they can reach out to within your
11:17 15· · department and ask for catastrophic leave donations.
11:17 16· · · · · · · · Employees have to meet certain criteria in
11:17 17· · order to be able to donate, and then donations are
11:17 18· · collected and administered.
11:17 19· · · · · · Q.· So to your knowledge, such a request for
11:17 20· · donations was made on your behalf?
11:17 21· · · · · · A.· Yes.· I saw the email.
11:17 22· · · · · · Q.· And were you told how many donations were
11:17 23· · made to you?
11:17 24· · · · · · A.· I was not.
11:17 25· · · · · · Q.· Do you have a recollection while you're




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:17 ·2· · sitting here how much donation time you ultimately
11:17 ·3· · received?
11:17 ·4· · · · · · A.· No.
11:17 ·5· · · · · · Q.· In paragraph 61 of your Complaint you
11:17 ·6· · stated that you had accrued donated catastrophic
11:17 ·7· · leave, which Defendant had failed to properly
11:18 ·8· · administer.
11:18 ·9· · · · · · · · So if you didn't know how much had been
11:18 10· · donated for your use, how were you aware of it not
11:18 11· · being properly administered?
11:18 12· · · · · · A.· I became aware in Cornell's response to
11:18 13· · the EEOC where they identified how much time I had
11:18 14· · been given.
11:18 15· · · · · · Q.· When was your EEOC complaint?
11:18 16· · · · · · A.· I don't recall when --
11:18 17· · · · · · Q.· Was it in the first six months of 2017?
11:18 18· · · · · · A.· I don't remember.
11:18 19· · · · · · Q.· Do you remember your EEOC complaint being
11:18 20· · filed contemporaneously with your conversations with
11:18 21· · payroll?
11:18 22· · · · · · A.· Initially I filed an inquiry in August of
11:18 23· · 2017 with the EEOC.· That was the first filing.
11:19 24· · · · · · Q.· Do you believe that the glitch, as you
11:19 25· · described it, was intentional?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:19 ·2· · · · · · A.· I do not know.
11:19 ·3· · · · · · Q.· Do you have any opinion of that as you sit
11:19 ·4· · here today?
11:19 ·5· · · · · · A.· I did repeatedly ask for help from my
11:19 ·6· · manager to resolve the issue.· I went five months
11:19 ·7· · without HAP time, and during that time they withheld
11:19 ·8· · catastrophic leave donation from me when I needed it.
11:19 ·9· · · · · · Q.· Did anybody say to you whether that's
11:20 10· · Lindsay or HR or anybody -- say to you that the
11:20 11· · University was deliberately not giving you access to
11:20 12· · either HAP time or the donated catastrophic leave
11:20 13· · time?
11:20 14· · · · · · A.· Nobody directly said that to me.
11:20 15· · · · · · Q.· Did anybody imply it to you?
11:20 16· · · · · · A.· It was implied in the EEOC response from
11:20 17· · Cornell.
11:20 18· · · · · · Q.· You made a specific allegation in
11:20 19· · paragraph 65 about an incident on or about May 9,
11:20 20· · 2017, where you contacted Lindsay and asked if you
11:20 21· · could be allowed to take a one-hour as opposed to a
11:20 22· · half-an-hour lunch break to meet with a former
11:20 23· · colleague.
11:20 24· · · · · · · · Do you remember that incident?
11:20 25· · · · · · A.· Yes.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:20 ·2· · · · · · Q.· Tell me about it.
11:20 ·3· · · · · · A.· I asked for additional time to meet with a
11:21 ·4· · former colleague.
11:21 ·5· · · · · · · · Tammy's response was, "You're requesting
11:21 ·6· · too much time off.· Are you going to make it up?"
11:21 ·7· · · · · · · · And out of frustration I just canceled the
11:21 ·8· · lunch and didn't go.
11:21 ·9· · · · · · Q.· Did you ever respond to Lindsay
11:21 10· · specifically about her complaints to you about taking
11:21 11· · so much leave time?
11:21 12· · · · · · A.· No.· But I escalated to her manager, and I
11:21 13· · had a meeting with Cindy Allen about it.
11:21 14· · · · · · Q.· Was Cindy Allen Tammy Lindsay's direct
11:21 15· · supervisor?
11:21 16· · · · · · A.· Yes.
11:21 17· · · · · · Q.· You state in your Complaint that Tammy
11:21 18· · Lindsay had accused you of taking too much time off
11:21 19· · for not medically related reasons.
11:21 20· · · · · · · · So in your conversation with Tammy Lindsay
11:22 21· · did she distinguish between different kinds of time
11:22 22· · off, medical and nonmedical?
11:22 23· · · · · · A.· She attempted to.
11:22 24· · · · · · Q.· Describe for me how she relayed her
11:22 25· · concerns to you.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:22 ·2· · · · · · A.· She would say, "You're taking too much
11:22 ·3· · time off."· "We need to get your time card under
11:22 ·4· · control."· And I can't recall how she worded it, but
11:22 ·5· · she may have followed up with, "And I'm not talking
11:22 ·6· · about your medical time off."
11:22 ·7· · · · · · · · To which I asked for specific examples,
11:22 ·8· · but I was never given those.
11:22 ·9· · · · · · Q.· In addition to your medical time off, were
11:22 10· · you taking other time off for any reasons?
11:22 11· · · · · · A.· Yes.
11:22 12· · · · · · Q.· What for?· And I should focus you.· From
11:22 13· · January to May of 2017.
11:22 14· · · · · · A.· I recall requesting a few hours to go to
11:22 15· · the bank to sign paperwork to purchase a home.· I did
11:22 16· · that during my lunch hour.· It may have taken me a
11:23 17· · little bit of extra time to do that.
11:23 18· · · · · · · · I have children.· I may have taken some
11:23 19· · time off to take them to a doctor appointment.· But in
11:23 20· · general, nothing excessive.
11:23 21· · · · · · Q.· Do you have a recollection of how many
11:23 22· · times you might have taken nonmedical time off in the
11:23 23· · first five months of 2017?
11:23 24· · · · · · A.· Perhaps three to five times I requested a
11:23 25· · few hours here and there.




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     ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:23 ·2· · · · · · Q.· And were you permitted to use those hours?
11:23 ·3· · · · · · A.· Yes.
11:23 ·4· · · · · · Q.· In your conversation with Lucinda Allen --
11:23 ·5· · as you said, you escalated over Ms. Lindsay's head --
11:24 ·6· · how did that conversation go in terms of Ms. Allen's
11:24 ·7· · response to your concerns?
11:24 ·8· · · · · · A.· I believe it's the same discussion that we
11:24 ·9· · talked about earlier where I discussed my issues and
11:24 10· · concerns with her being more concerned with
11:24 11· · controlling my time card than mentoring and developing
11:24 12· · me.
11:24 13· · · · · · Q.· When you were taking your time off in
11:24 14· · those first five months of 2017 for nonmedical
11:24 15· · reasons, were you using any kind of accrued paid time
11:24 16· · off?
11:24 17· · · · · · A.· Yes, I believe I would have to.
11:24 18· · · · · · Q.· Well, I was wondering whether you were
11:24 19· · also simultaneously flexing your schedule for any of
11:25 20· · those events, since you had a flex agreement in place?
11:25 21· · · · · · A.· I don't recall.
11:25 22· · · · · · Q.· You were -- strike that.
11:25 23· · · · · · · · You said in paragraph 73 of your Complaint
11:25 24· · that after your Allen discussion, which you just
11:25 25· · mentioned, you met with Tammy Lindsay in person; and




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:25 ·2· · during that meeting, she attempted to pressure you to
11:25 ·3· · work a full-time schedule.
11:25 ·4· · · · · · · · Do you remember that meeting?
11:25 ·5· · · · · · A.· I do.
11:25 ·6· · · · · · Q.· And tell me about it.
11:25 ·7· · · · · · A.· It took place in a conference room at
11:25 ·8· · Statler.· She wanted to discuss my concerns with her
11:25 ·9· · not mentoring me.
11:26 10· · · · · · · · She claimed that she was always interested
11:26 11· · in mentoring and developing people, and many people
11:26 12· · had gotten promotions because of her.
11:26 13· · · · · · · · She then pressured me to work full-time,
11:26 14· · asked me if I had ever needed this much time off in a
11:26 15· · previous job.
11:26 16· · · · · · · · In other words, she asked me if this was
11:26 17· · normal for me to constantly need time off in a
11:26 18· · position; to which I responded, "No.· I clearly have
11:26 19· · health issues that I'm going through right now."
11:26 20· · · · · · · · That's all I recall about that
11:26 21· · conversation.
11:26 22· · · · · · Q.· Well, you also say in paragraph 73 that
11:26 23· · Lindsay accused you of using your accrued time for
11:26 24· · improper reasons unrelated to health.
11:26 25· · · · · · · · Do you remember her talking about improper




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:26 ·2· · reasons for using your time?
11:26 ·3· · · · · · A.· She claimed I was using my time too much
11:26 ·4· · for nonmedical reasons, and I asked for examples.
11:27 ·5· · · · · · Q.· And did she give you any?
11:27 ·6· · · · · · A.· She did not.
11:27 ·7· · · · · · Q.· At that point in time was it your
11:27 ·8· · understanding that Ms. Lindsay was, as your
11:27 ·9· · supervisor, supposed to be monitoring your time?
11:27 10· · · · · · A.· Yes.
11:27 11· · · · · · Q.· In previous jobs with Cornell had you been
11:27 12· · an hourly employee?
11:27 13· · · · · · A.· Yes.
11:27 14· · · · · · Q.· And how long total had you been with
11:27 15· · Cornell?
11:27 16· · · · · · A.· 13 years.
11:27 17· · · · · · Q.· So in that time how did you keep time
11:27 18· · records as an hourly employee?
11:27 19· · · · · · A.· Using the same system that Cornell --
11:27 20· · yeah.
11:27 21· · · · · · Q.· Describe that for me, though.
11:27 22· · · · · · A.· So I believe my IRB position was
11:28 23· · nonexempt, and I would log in in the morning and log
11:28 24· · in and out.
11:28 25· · · · · · · · As long as I had 39 hours in per week, I




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:28 ·2· · had absolutely zero issues with my -- I never had a
11:28 ·3· · manager change or tell me that I was incorrectly
11:28 ·4· · entering my time.
11:28 ·5· · · · · · · · In addition, I was allowed certain amounts
11:28 ·6· · of overtime as needed.
11:28 ·7· · · · · · Q.· Had you ever been in a position in an
11:28 ·8· · hourly role where you had to assign categories to your
11:28 ·9· · time off, such as whether, you know, you're using
11:28 10· · vacation or something?
11:28 11· · · · · · A.· Yes.
11:28 12· · · · · · Q.· And how did you do that prior to your Data
11:28 13· · Analyst II position?· How did you go about designating
11:28 14· · something as vacation, for example?
11:28 15· · · · · · A.· If I was taking time off to travel or just
11:29 16· · time off, I would classify that as vacation.· I know I
11:29 17· · was entitled to, I believe, three personal days per
11:29 18· · year.
11:29 19· · · · · · · · And then if I had medical appointments or
11:29 20· · I was ill, I would use my HAP time.
11:29 21· · · · · · Q.· I'm asking you, though, on a more
11:29 22· · mechanical level.· How would you go about designating
11:29 23· · the time?
11:29 24· · · · · · A.· I don't understand the question.
11:29 25· · · · · · Q.· Well, for example, you already said you, I




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:29 ·2· · believe, entered it into a computer as opposed to
11:29 ·3· · filled it out on a piece of paper.
11:29 ·4· · · · · · A.· Correct.
11:29 ·5· · · · · · Q.· But in the process of entering that in the
11:29 ·6· · computer, was your designation the final word on
11:29 ·7· · whether you were using a vacation day on a particular
11:29 ·8· · day?
11:29 ·9· · · · · · A.· Yes.
11:29 10· · · · · · Q.· You never had a supervisor who needed to
11:29 11· · sign off on such things?
11:29 12· · · · · · A.· Oh, I think the system requires sign off.
11:29 13· · But I didn't need to seek approval prior to entering
11:29 14· · it into the system.
11:29 15· · · · · · Q.· And you don't recall as you're sitting
11:29 16· · here whether there was or wasn't specific supervisor
11:30 17· · approval in each usage of paid time off?
11:30 18· · · · · · A.· There was supervisor approval, yes.
11:30 19· · · · · · Q.· Did Tammy Lindsay have that role for you,
11:30 20· · supervisor approval of paid time off, in your Data
11:30 21· · Analyst II position?
11:30 22· · · · · · A.· Yes.
11:30 23· · · · · · (The following exhibit was marked for
11:30 24· · · · · · identification:· EXH Number 2.)
11:30 25· · · · · · Q.· I'm showing you what's been marked as




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:30 ·2· · Exhibit 2 for identification.· Go ahead and take a
11:30 ·3· · look at the entire document all the way through, and
11:30 ·4· · tell me when you're done looking at it.
11:33 ·5· · · · · · A.· Okay.
11:33 ·6· · · · · · Q.· Do you recognize that document?
11:33 ·7· · · · · · A.· Yes.
11:33 ·8· · · · · · Q.· What is it?
11:33 ·9· · · · · · A.· It is a policy on flexibility in the
11:33 10· · workplace at Cornell.
11:33 11· · · · · · Q.· When you first entered into your flex
11:33 12· · agreement that we discussed earlier, were you aware of
11:33 13· · this policy?
11:33 14· · · · · · A.· Yes.
11:33 15· · · · · · Q.· Had you read it by that time?
11:34 16· · · · · · A.· Yes.
11:34 17· · · · · · Q.· Let me draw your attention, then, over to
11:34 18· · page 7.· And I'm going to start you at the bottom of
11:34 19· · page 7, that last bolded heading to the left,
11:34 20· · "Time-Keeping During Flexible Arrangements."
11:34 21· · · · · · · · I will now flip the page with you, as I'm
11:34 22· · actually looking at the second paragraph of that
11:34 23· · section.· Go ahead and read that paragraph at the top
11:34 24· · of page 8.
11:34 25· · · · · · · · MS. VINCI:· Do you want her to read it




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:34 ·2· · into the record or just to herself?
11:34 ·3· · · · · · · · MR. WOLAN:· I want her to read it to
11:34 ·4· · herself.
11:34 ·5· · · · · · A.· Okay.
11:34 ·6· · · · · · Q.· Now, let me ask you, as a general matter,
11:34 ·7· · what's your understanding of being an exempt and a
11:35 ·8· · nonexempt employee?
11:35 ·9· · · · · · · · MS. VINCI:· Object to the extent that it
11:35 10· · calls for a legal analysis or conclusion.· But she can
11:35 11· · answer if she's able.
11:35 12· · · · · · A.· In general, an exempt employee would be
11:35 13· · salaried and not have the same record-keeping
11:35 14· · requirements as a nonexempt individual.
11:35 15· · · · · · Q.· Are you aware of what attributes a
11:35 16· · position has to have in order to be able to be
11:35 17· · classified as exempt?
11:35 18· · · · · · · · MS. VINCI:· Same objection.· But she may
11:35 19· · answer if she's able.
11:35 20· · · · · · A.· I believe it is related to their level of
11:35 21· · decision making and impact within a role.
11:35 22· · · · · · Q.· Are you personally aware of there also
11:35 23· · being a salary level requirement in order to define
11:35 24· · something as exempt?
11:35 25· · · · · · · · MS. VINCI:· Same objection, but she can




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:36 ·2· · answer.
11:35 ·3· · · · · · A.· I'm aware, but I don't recall what that
11:35 ·4· · level is.
11:36 ·5· · · · · · Q.· As a nonexempt employee when you were the
11:36 ·6· · Data Analyst II, had you been instructed to keep
11:36 ·7· · records of your time --
11:36 ·8· · · · · · A.· On a time --
11:36 ·9· · · · · · Q.· -- by your employer?
11:36 10· · · · · · A.· Yes, on a time card.
11:36 11· · · · · · Q.· Was it a physical time card?
11:36 12· · · · · · A.· Yes.· Excuse me.· It was an electronic
11:36 13· · time card.
11:36 14· · · · · · Q.· Electronic time card?· How much detail did
11:36 15· · you put into your time cards on a weekly basis?
11:36 16· · · · · · A.· Extensive detail related to my time off
11:36 17· · when I was attending appointments, specific times when
11:36 18· · I would come and go.
11:36 19· · · · · · Q.· Were you -- during the time of your
11:36 20· · treatment, were you able to work continuous hour
11:37 21· · schedules, so the 8 to 2:30 straight through?
11:37 22· · · · · · A.· No.
11:37 23· · · · · · Q.· If you had to break up your day into
11:37 24· · smaller chunks but still work six hours in a day, how
11:37 25· · would you record that on a time card?· Or I should say




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:37 ·2· · in the computer system.
11:37 ·3· · · · · · A.· I would record the exact time I started my
11:37 ·4· · work and the time when I ended.
11:37 ·5· · · · · · Q.· And repeatedly for a day, like if you
11:37 ·6· · worked two hours and then took time off?
11:37 ·7· · · · · · A.· Yes.
11:37 ·8· · · · · · Q.· And would you indicate what you were doing
11:37 ·9· · in the gaps when you weren't working?
11:37 10· · · · · · · · MS. VINCI:· I'm sorry.· When she was
11:37 11· · working or was not working?
11:37 12· · · · · · · · MR. WOLAN:· Was not working.
11:37 13· · · · · · A.· Not on the time card.
11:37 14· · · · · · Q.· Would you record it somewhere else?
11:37 15· · · · · · A.· Yes.· Tammy had asked me to record my
11:37 16· · working hours and projects within the calendar
11:37 17· · invitations I was sending her.
11:37 18· · · · · · Q.· Let me ask you this, to be more specific,
11:37 19· · because I'm not sure if I'm asking the question well.
11:37 20· · · · · · · · If you had a day where you did not work
11:37 21· · continuous hours because of your health, you know, say
11:38 22· · the effects of treatment, would you note that after
11:38 23· · working two hours, you were taking flex for two hours
11:38 24· · because you needed to take a break?· Would it be that
11:38 25· · level of detail?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:38 ·2· · · · · · A.· No.
11:38 ·3· · · · · · Q.· So on a day where you were flexing your
11:38 ·4· · time you would just show your work intervals?
11:38 ·5· · · · · · A.· Correct.
11:38 ·6· · · · · · Q.· I'm just trying to understand how much
11:38 ·7· · detail you might have recorded at the time.
11:38 ·8· · · · · · · · Now, I will note for you on page 8 of
11:38 ·9· · Policy 6.6.13, which is the Exhibit 2, that first
11:38 10· · paragraph at the top regarding nonexempt employees
11:38 11· · doing the record keeping.· In the middle, looks like
11:38 12· · second sentence (as read):· Therefore, supervisors
11:38 13· · must ensure accurate recording of hours worked.
11:38 14· · · · · · · · So were you aware of the fact that the
11:39 15· · time that you were working as a Data Analyst II that
11:39 16· · your supervisor was required in your supervisor's role
11:39 17· · to ensure accurate recording of hours worked?
11:39 18· · · · · · A.· Yes.
11:39 19· · · · · · Q.· And if I can draw your attention to what
11:39 20· · you said in paragraph 70 of your Complaint, that you
11:39 21· · had gone to Ms. Allen to complain that Lindsay was
11:39 22· · being very restrictive and scrutinizing your time
11:39 23· · card.
11:39 24· · · · · · · · Do you remember doing that?
11:39 25· · · · · · A.· I do.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:39 ·2· · · · · · Q.· You used the word "scrutinizing."· Would
11:39 ·3· · you agree with me that it was the job of a supervisor
11:39 ·4· · to scrutinize a time card?
11:39 ·5· · · · · · A.· I agree that it was her job, but she was
11:39 ·6· · improperly scrutinizing.
11:39 ·7· · · · · · Q.· What was improper about it?
11:39 ·8· · · · · · A.· She would remove time from my time card
11:39 ·9· · that I actually had taken.
11:39 10· · · · · · · · As an example, I remember attending a
11:40 11· · doctor's appointment, let's say from 12 p.m. to
11:40 12· · 2 p.m., and I entered into my time card that I was
11:40 13· · using HAP time during those hours.· Tammy removed that
11:40 14· · time from my time card.
11:40 15· · · · · · · · And I explained to her, "But I was
11:40 16· · actually physically at the doctor during those hours."
11:40 17· · · · · · · · She said, "It doesn't matter.· You don't
11:40 18· · have that time to use.· You're not allowed to use it."
11:40 19· · · · · · Q.· I think you said earlier while we were
11:40 20· · talking today -- well, no.· Let me rephrase that.
11:40 21· · · · · · · · You at some point learned that you were
11:40 22· · not incurring new HAP time in early 2017; correct?
11:40 23· · · · · · A.· Yes.
11:40 24· · · · · · Q.· Prior to learning that, do you recall what
11:40 25· · your HAP balance was as you entered 2017?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:40 ·2· · · · · · A.· It was in the negative.
11:40 ·3· · · · · · Q.· So you had already used all of your HAP
11:40 ·4· · time in 2016 during your leave?
11:40 ·5· · · · · · A.· I used it prior to my leave.· When I was
11:41 ·6· · getting surgery and starting my chemotherapy, I used
11:41 ·7· · all of my HAP time.
11:41 ·8· · · · · · Q.· So when you started 2017, do you remember
11:41 ·9· · how negative your balance was?
11:41 10· · · · · · A.· It was like negative seven, approximately,
11:41 11· · hours.
11:41 12· · · · · · Q.· And was it your experience that a Cornell
11:41 13· · employee could run negative accruals?
11:41 14· · · · · · A.· I did not know that.
11:41 15· · · · · · Q.· Did you expect to be able to do that in
11:41 16· · your Data Analyst II position?
11:41 17· · · · · · A.· No.
11:41 18· · · · · · Q.· If you did not have a balance -- a
11:41 19· · positive balance of HAP time, why do you think it was
11:42 20· · improper for Ms. Lindsay to deny your use of it?
11:42 21· · · · · · A.· That denial came later when I did have HAP
11:42 22· · time.
11:42 23· · · · · · Q.· Did Ms. Lindsay ask you to provide any
11:42 24· · information regarding your doctor's appointment, such
11:42 25· · as a slip from the doctor?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:42 ·2· · · · · · A.· No.
11:42 ·3· · · · · · Q.· You mentioned that that was one time.· Did
11:42 ·4· · she do it any other times?
11:42 ·5· · · · · · A.· She frequently would alter my time card to
11:42 ·6· · her liking, remove time here and there, change it from
11:42 ·7· · HAP to vacation.· She did that frequently.
11:42 ·8· · · · · · Q.· Can you be more specific while we're
11:42 ·9· · sitting here of incidents that that occurred on?· You
11:42 10· · remember now this one particular doctor's appointment.
11:42 11· · And I'm not going to ask you to do dates.           I
11:42 12· · understand that that would be a little too specific.
11:42 13· · · · · · · · But can you remember specific events and
11:42 14· · context, like you were taking a particular amount of
11:42 15· · vacation time or something like that?
11:42 16· · · · · · A.· I remember a specific event where my time
11:42 17· · had come to 39.2 hours in a week, and she asked me to
11:43 18· · go in and remove the .2, because I was not allowed to
11:43 19· · be over.· Even though I had worked it, I was not
11:43 20· · allowed to be over on my time card.
11:43 21· · · · · · Q.· Okay.· Any other examples?
11:43 22· · · · · · A.· I don't recall.
11:43 23· · · · · · Q.· But you do think there were more?
11:43 24· · · · · · A.· Yes.
11:43 25· · · · · · Q.· If you recall any while we're here today,




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:43 ·2· · I'll ask you again in a while about that.
11:43 ·3· · · · · · A.· Okay.
11:43 ·4· · · · · · Q.· All right.· I'll take 6.6.13 back from
11:43 ·5· · you.· Thank you.
11:44 ·6· · · · · · (The following exhibit was marked for
11:44 ·7· · · · · · identification:· EXH Number 3.)
11:44 ·8· · · · · · Q.· I'm showing you what's been marked for
11:44 ·9· · identification as Exhibit 3.· Please take a look at
11:44 10· · that.· Look through all the pages and let me know when
11:44 11· · you're done.
11:46 12· · · · · · A.· Okay.
11:46 13· · · · · · Q.· Do you recognize Exhibit 3?
11:46 14· · · · · · A.· Yes.
11:46 15· · · · · · Q.· Can you tell me what it is?
11:47 16· · · · · · A.· It's the disability accommodation process
11:47 17· · policy for Cornell.
11:47 18· · · · · · Q.· And identified as Policy 6.13 on the first
11:47 19· · page.· Are you familiar with that policy?
11:47 20· · · · · · A.· I am.
11:47 21· · · · · · Q.· And to your recollection, when was the
11:47 22· · first time you became familiar with that policy?
11:47 23· · · · · · A.· I read the policy shortly after I was
11:47 24· · diagnosed in June or July of 2016.
11:47 25· · · · · · Q.· And when you first had your diagnosis, did




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:47 ·2· · you discuss with Cornell employees the types of
11:47 ·3· · accommodation you could have to deal with your
11:47 ·4· · treatment?
11:47 ·5· · · · · · A.· Not at that time.· I wasn't --
11:47 ·6· · · · · · Q.· When was the first time you discussed it
11:47 ·7· · with any Cornell personnel?
11:47 ·8· · · · · · A.· After my surgery, when I knew I would need
11:47 ·9· · time off to heal from my chemotherapy treatments, I
11:47 10· · discussed it with HR.
11:47 11· · · · · · Q.· So prior to that, what had you been doing
11:48 12· · to deal with your time off for the treatment?
11:48 13· · · · · · A.· I don't recall.
11:48 14· · · · · · Q.· Were you using HAP time at that point?
11:48 15· · · · · · A.· I may have been.
11:48 16· · · · · · Q.· And when you finally discussed
11:48 17· · accommodations for your treatment and recovery, what
11:48 18· · was the plan that was worked out between you and human
11:48 19· · resources?
11:48 20· · · · · · A.· Well, there were ongoing discussions
11:48 21· · throughout my entire treatment.· I was to use my time
11:48 22· · off if I needed to heal from a treatment until I ran
11:48 23· · out of my time, and then I used disability for 12
11:48 24· · weeks.
11:48 25· · · · · · · · And then when I returned, you know, I




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:48 ·2· · would request time to either flex my schedule or time
11:48 ·3· · off to heal, etcetera.
11:49 ·4· · · · · · Q.· And who were you dealing with across that
11:49 ·5· · stretch in the HR office?
11:49 ·6· · · · · · A.· Primarily Julie Weaver.
11:49 ·7· · · · · · Q.· Do you remember her title?
11:49 ·8· · · · · · A.· I do not.
11:49 ·9· · · · · · Q.· That's okay.
11:49 10· · · · · · · · Did you have any discussion in 2016 with
11:49 11· · the medical leaves office?
11:49 12· · · · · · A.· Yes.· I believe I was assigned a
11:49 13· · caseworker.
11:49 14· · · · · · Q.· Do you remember who that was?
11:50 15· · · · · · A.· Jill Tubbs.
11:50 16· · · · · · Q.· And we did talk earlier today about you
11:50 17· · having a conversation with Jill later.
11:50 18· · · · · · · · Do you remember the first time that you
11:50 19· · interacted with Jill?
11:50 20· · · · · · A.· We corresponded by email in the fourth
11:50 21· · quarter of 2016, and she would check in with me when I
11:50 22· · was on disability to see how I was feeling.
11:50 23· · · · · · Q.· Did she check in by email, phone or some
11:50 24· · other way?
11:50 25· · · · · · A.· Email.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:50 ·2· · · · · · Q.· Okay.· I'll take that back from you right
11:50 ·3· · now.· Thanks.
11:50 ·4· · · · · · · · So you had your flex agreement start in
11:50 ·5· · February.· Did you ever amend that flex agreement?
11:50 ·6· · · · · · A.· Yes.
11:50 ·7· · · · · · Q.· When?
11:50 ·8· · · · · · A.· In May 2017.
11:51 ·9· · · · · · (The following exhibit was marked for
11:51 10· · · · · · identification:· EXH Number 4.)
11:51 11· · · · · · Q.· We're presenting you with what's been
11:51 12· · marked Exhibit 4 for identification.· Go ahead and
11:51 13· · take a look at the entire document, and let me know
11:51 14· · when you're done.
11:51 15· · · · · · A.· Okay.
11:51 16· · · · · · Q.· Do you recognize this document?
11:51 17· · · · · · A.· Yes.
11:51 18· · · · · · Q.· What is it?
11:51 19· · · · · · A.· It's a flex work arrangement with Cornell.
11:51 20· · · · · · Q.· And is it your flex work arrangement from
11:51 21· · May of 2017?
11:51 22· · · · · · A.· Yes.
11:51 23· · · · · · Q.· Do you recognize your signature at the
11:51 24· · bottom of pages 1 and 3?
11:51 25· · · · · · A.· Yes.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:52 ·2· · · · · · Q.· And to your recollection, is that Tammy
11:52 ·3· · Lindsay's signature also at those same spots?
11:52 ·4· · · · · · A.· Yes.
11:52 ·5· · · · · · Q.· What precipitated the discussion that led
11:52 ·6· · to having this effective date 5/1/2017 Flexible Work
11:52 ·7· · Arrangement?
11:52 ·8· · · · · · · · MS. VINCI:· Objection.
11:52 ·9· · · · · · · · You can answer.
11:52 10· · · · · · A.· I was still in treatment for cancer, and I
11:52 11· · needed a flexible work arrangement to receive targeted
11:52 12· · therapy, infusions, and to heal from those.
11:52 13· · · · · · Q.· And your first flex work arrangement was
11:52 14· · scheduled to expire when?
11:52 15· · · · · · A.· I believe it was May.
11:52 16· · · · · · Q.· So this is a continuation?
11:52 17· · · · · · A.· This is version two, yep.
11:52 18· · · · · · Q.· Now, just looking at the first page, I see
11:52 19· · that you've got approval for Work Remotely.· And then
11:52 20· · in the work hours it's as needed.
11:53 21· · · · · · · · So what did as needed mean?
11:53 22· · · · · · A.· It meant whenever I needed to flex my time
11:53 23· · to attend a medical appointment or a treatment or heal
11:53 24· · or recover from those treatments or time off in a way
11:53 25· · from side effects from cancer treatment.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:53 ·2· · · · · · Q.· And how was need going to be determined?
11:53 ·3· · · · · · A.· That was not defined; however, in general,
11:53 ·4· · I would know when I was well enough to work versus not
11:53 ·5· · well enough.
11:53 ·6· · · · · · Q.· So the as needed would -- the
11:53 ·7· · determination would first come from your decision
11:53 ·8· · about whether you could work or not?
11:53 ·9· · · · · · A.· Correct.
11:53 10· · · · · · Q.· And would you have to report that to
11:53 11· · anybody?
11:53 12· · · · · · A.· Yes.
11:53 13· · · · · · Q.· To who?
11:54 14· · · · · · A.· To my manager.
11:54 15· · · · · · Q.· And who was your manager in February of
11:54 16· · 2017?
11:54 17· · · · · · A.· Tammy Lindsay.
11:54 18· · · · · · Q.· Did you have to give Tammy Lindsay any
11:54 19· · advance notice under this 5/1/2017 flexible work
11:54 20· · arrangement?
11:54 21· · · · · · A.· Yes.· I would need to let her know when I
11:54 22· · planned to work remotely.
11:54 23· · · · · · Q.· How much notice did you have to give her
11:54 24· · timewise?
11:54 25· · · · · · A.· There wasn't a time limit that I'm aware




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:54 ·2· · of.· As soon as I knew.· As soon as I knew.
11:54 ·3· · · · · · Q.· Let me ask you more specifically.
11:54 ·4· · · · · · · · Could you wake up in the morning, feel
11:54 ·5· · unwell unexpectedly and be able to call in and work
11:54 ·6· · from home?· Would that be permissible?
11:54 ·7· · · · · · A.· Yes.
11:54 ·8· · · · · · Q.· And did you ever have to do that?
11:54 ·9· · · · · · A.· Yes.
11:54 10· · · · · · Q.· And I'm specifically talking of the time
11:54 11· · under Flexible Work Arrangement number two from May,
11:54 12· · 1, 2017.
11:55 13· · · · · · A.· Yes.
11:55 14· · · · · · Q.· Now, in paragraph 76 of your Complaint you
11:55 15· · mention that you needed flexibility to work from home
11:55 16· · two days a week, but then in paragraph 77 you say that
11:55 17· · Cornell agreed to the as needed language only.
11:55 18· · · · · · · · First regarding your two days a week, how
11:55 19· · did you come to the conclusion that you needed two
11:55 20· · days a week?
11:55 21· · · · · · A.· I estimated that based on how I was
11:55 22· · feeling and understanding that I had already been in
11:55 23· · treatment and I knew how I was responding to the
11:55 24· · medicine.
11:55 25· · · · · · · · I told Tammy that I thought it could be




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:55 ·2· · one to two days a week where I would need to flex my
11:56 ·3· · time through October while I was still in treatment.
11:56 ·4· · · · · · Q.· And I'll note that this flex work
11:56 ·5· · arrangement has a review date of October --
11:56 ·6· · · · · · A.· Yes.
11:56 ·7· · · · · · Q.· -- 2017.· Did you agree to that at that
11:56 ·8· · time?· You thought that was reasonable?
11:56 ·9· · · · · · A.· Yes.
11:56 10· · · · · · Q.· What conversation did you have with Tammy
11:56 11· · Lindsay that led from your thought about two days a
11:56 12· · week to ending up with an agreement that merely said
11:56 13· · as needed?
11:56 14· · · · · · A.· There was an email wherein she stated that
11:56 15· · I should not put two days a week, only write as
11:56 16· · needed.
11:56 17· · · · · · Q.· So it was at her direction?
11:56 18· · · · · · A.· That was her direction.
11:56 19· · · · · · Q.· At the time did you find that to be an
11:56 20· · adequate solution for your needs?
11:56 21· · · · · · A.· At the time I thought it was.
11:56 22· · · · · · Q.· Did it end up being adequate for your
11:56 23· · needs?
11:56 24· · · · · · A.· No.
11:56 25· · · · · · Q.· Why not?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:57 ·2· · · · · · A.· Because she would deny me the flexibility
11:57 ·3· · to work from home as needed.
11:57 ·4· · · · · · Q.· How would she deny you?
11:57 ·5· · · · · · A.· I would reach out to her in an email,
11:57 ·6· · request some time off.· She would respond that I was
11:57 ·7· · doing something improper, I had not gotten
11:57 ·8· · pre-approval to do that; and she would deny me the
11:57 ·9· · right to work from home.
11:57 10· · · · · · Q.· If she denied you the right to work from
11:57 11· · home, would you come into work on those days?
11:57 12· · · · · · A.· No.· I couldn't.· I was not well enough.
11:57 13· · · · · · Q.· So you just took those days off?
11:57 14· · · · · · A.· Yeah.· I was forced to use vacation time.
11:57 15· · · · · · Q.· Do you recall how many times that happened
11:57 16· · in May of 2017?
11:57 17· · · · · · A.· In May I do not recall.
11:57 18· · · · · · Q.· Do you recall June 2017?
11:57 19· · · · · · A.· Not specifically.· I do recall it
11:57 20· · happening in June, July and beyond.
11:58 21· · · · · · Q.· Okay.· Well, do you have a recollection of
11:58 22· · how many times it happened across all of those months?
11:58 23· · · · · · A.· I would say roughly three to six times,
11:58 24· · somewhere in that range.
11:58 25· · · · · · Q.· And would these be email conversations




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
11:58 ·2· · between the two of you?
11:58 ·3· · · · · · A.· Yes.
11:58 ·4· · · · · · Q.· Were any of them in person?
11:58 ·5· · · · · · A.· One was in person.
11:58 ·6· · · · · · Q.· Do you recall when the in-person meeting
11:58 ·7· · took place?
11:58 ·8· · · · · · A.· Yes.· It was in June of 2017.
11:58 ·9· · · · · · Q.· And do you recall the conversation?
11:58 10· · · · · · A.· Yes.· It was my performance review.
11:58 11· · · · · · Q.· And what was discussed about your flex
11:58 12· · time at that point?
11:58 13· · · · · · A.· I had requested at the end of that review
11:58 14· · to spend the remainder of the day working from home,
11:58 15· · because I was not feeling well.
11:58 16· · · · · · · · And Tammy demanded to know why, specific
11:59 17· · medical reasons, what I was experiencing and feeling,
11:59 18· · and then denied me the right to work from home.
11:59 19· · · · · · Q.· Did she give you a reason for denying you
11:59 20· · the right to work from home?
11:59 21· · · · · · A.· Not verbally.· She seemed disgusted.· She
11:59 22· · told me to just leave, just go.· "Just go home if
11:59 23· · you're sick."
12:00 24· · · · · · Q.· In addition to that in-person meeting, you
12:00 25· · said that the remainder would have been by email --




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     ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:00 ·2· · the remainder of communications about denying your
12:00 ·3· · time off would have been by email.
12:00 ·4· · · · · · · · Do you recall specifics regarding any of
12:00 ·5· · those other incidents?
12:00 ·6· · · · · · A.· I believe there was an email around July
12:00 ·7· · 15, 2017 where I requested some time off and again was
12:00 ·8· · denied the right to work from home and forced to use
12:00 ·9· · vacation time.
12:00 10· · · · · · Q.· Were you given a reason why?
12:00 11· · · · · · A.· Because I did not get pre-approval to do
12:00 12· · so.
12:00 13· · · · · · Q.· What was your understanding regarding the
12:00 14· · need for pre-approval?
12:00 15· · · · · · A.· That I should seek approval when I knew I
12:00 16· · needed to work remotely.
12:01 17· · · · · · Q.· Were there any terms that you and
12:01 18· · Ms. Lindsay discussed regarding the timing of that
12:01 19· · notice, as in a minimum number of hours or days?
12:01 20· · · · · · A.· I seem to recall that if I wasn't going to
12:01 21· · be in by 8, I would have to let her know within a half
12:01 22· · an hour or something like that.· I don't recall the
12:01 23· · specifics.
12:01 24· · · · · · Q.· So you and Ms. Lindsay did have an
12:01 25· · arrangement in place where if you decided




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:01 ·2· · spontaneously on a particular day that you could not
12:01 ·3· · come in, you could report to her and use your flex
12:01 ·4· · time that way?
12:01 ·5· · · · · · A.· In theory.
12:01 ·6· · · · · · Q.· How many times did you need to do that
12:01 ·7· · over the summer of 2017?
12:01 ·8· · · · · · A.· How many times did I need to?
12:01 ·9· · · · · · Q.· Stay home that you realized only in the
12:02 10· · morning.
12:02 11· · · · · · A.· I don't recall.· I knew -- I know of one
12:02 12· · instance where I had gotten blood work in Cortland and
12:02 13· · felt very weak.· So I had emailed Tammy and asked the
12:02 14· · right to rest in the morning and work in the
12:02 15· · afternoon, and I was denied.
12:02 16· · · · · · Q.· Were you given a reason why?
12:02 17· · · · · · A.· Because I didn't get pre-approval.
12:02 18· · · · · · Q.· Were there any times that Tammy Lindsay
12:02 19· · did approve of your time off even if it came as late
12:02 20· · as the very morning that you were supposed to be
12:02 21· · reporting to work?
12:02 22· · · · · · A.· There were times when she would approve my
12:02 23· · time off, but she would not approve my right to work
12:02 24· · from home, to flex my schedule and actually work.
12:02 25· · · · · · Q.· Oh, I see.· So she was allowing you to




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:02 ·2· · stay home, but she was not allowing you to do work
12:02 ·3· · from home?
12:02 ·4· · · · · · A.· Right.
12:02 ·5· · · · · · Q.· I see.· Do you have a sense of how many
12:02 ·6· · times that occurred in the summer of 2017?
12:03 ·7· · · · · · A.· Again, I would say a handful, from three
12:03 ·8· · to six.
12:03 ·9· · · · · · Q.· Were there any times that she did approve
12:03 10· · you to work flexibly from home with a same-morning
12:03 11· · communication?
12:03 12· · · · · · A.· No, I don't recall that.
12:03 13· · · · · · Q.· Never?
12:03 14· · · · · · A.· If it was for a medical appointment, yes.
12:03 15· · · · · · · · If I said, "I have to go to the doctor,"
12:03 16· · yes.
12:03 17· · · · · · · · However, if I said, "I'm not feeling well,
12:03 18· · I need to, you know, work from home today," I was
12:03 19· · generally denied.
12:03 20· · · · · · Q.· Did you have any discussion with
12:03 21· · Ms. Lindsay at any point regarding what you were
12:03 22· · supposed to be doing with your flex time in terms of
12:03 23· · level of effort of work?
12:04 24· · · · · · A.· In general, the level of effort of work
12:04 25· · flex time was the same as the level of work on-site.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:04 ·2· · · · · · · · I would perform the tasks she gave me,
12:04 ·3· · work on projects, submit anything I needed to to her
12:04 ·4· · for approval.· It was the same, essentially.
12:04 ·5· · · · · · Q.· Okay.· So you would get the same work
12:04 ·6· · done, you would just do it at different times?
12:04 ·7· · · · · · A.· Yes.
12:04 ·8· · · · · · Q.· That's a fair characterization?
12:04 ·9· · · · · · A.· Yes.
12:04 10· · · · · · · · MR. WOLAN:· Let's go ahead and stop for
12:04 11· · the recording right now.
12:04 12· · · · · · · · THE VIDEOGRAPHER:· The time is 12:04.
12:04 13· · We're off the record.
12:04 14· · · · · · (The proceeding recessed at 12:04 p.m.)
12:05 15· · · · · · (The proceeding reconvened at 12:05 p.m.;
12:05 16· · · · · · appearances as before noted.)
12:05 17· · · · · · · · THE VIDEOGRAPHER:· The time is 12:05.
12:05 18· · We're back on the record.
12:05 19· · DENISE PAYNE, resumes;
12:05 20· · · · · · CONTINUING EXAMINATION BY MR. WOLAN:
12:05 21· · · · · · Q.· Was there ever a time that you had a
12:05 22· · conversation with Ms. Lindsay about the need to not
12:05 23· · work if you were actually sick in the moment?· Did the
12:05 24· · two of you ever have a conversation about that?
12:06 25· · · · · · · · MS. VINCI:· I'm sorry.· Can you just read




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:06 ·2· · back that question?
12:06 ·3· · · · · · (The reporter read the requested material.)
12:06 ·4· · · · · · A.· I don't recall a conversation, but in
12:06 ·5· · general that would be implied.· If you're too ill to
12:06 ·6· · work, you're too ill to work.
12:06 ·7· · · · · · Q.· So when you were calling in and asking to
12:06 ·8· · flex, did you communicate to Ms. Lindsay that you
12:06 ·9· · expected to feel well later in the day and wanted to
12:06 10· · move your hours?
12:06 11· · · · · · A.· I may have stated if I feel well in the
12:06 12· · afternoon, I'd like to work X number of hours on this
12:06 13· · project.
12:06 14· · · · · · Q.· But you wouldn't try to work while feeling
12:06 15· · ill?
12:06 16· · · · · · A.· No.
12:07 17· · · · · · Q.· But to your recollection, in the summer of
12:07 18· · 2017 the two of you never had an express conversation
12:07 19· · about the distinction between working while sick
12:07 20· · versus delaying work time until you didn't feel sick
12:07 21· · anymore?
12:07 22· · · · · · A.· Not that I recall.
12:07 23· · · · · · Q.· And so to be clear, then, it was in the
12:07 24· · instances where you, for lack of a better phrase, may
12:07 25· · have been able to work later in the day, those were




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:07 ·2· · the instances where Tammy would deny your flex time at
12:07 ·3· · all for that day?
12:07 ·4· · · · · · A.· In general, yes.
12:07 ·5· · · · · · Q.· Did you ever find yourself -- in spite of
12:07 ·6· · her -- in spite of Ms. Lindsay's disagreement, did you
12:08 ·7· · ever find that you did work on some days anyways --
12:08 ·8· · · · · · A.· No.
12:08 ·9· · · · · · Q.· -- because you knew you needed to get
12:08 10· · something done?
12:08 11· · · · · · A.· I would not, because I knew she would
12:08 12· · admonish me for that.
12:08 13· · · · · · Q.· So if she relayed to you the fact that she
12:08 14· · didn't want you to work, you didn't work?
12:08 15· · · · · · A.· Correct.
12:08 16· · · · · · Q.· In July of 2017 did you communicate with
12:08 17· · anybody else about Ms. Lindsay's denial of your time
12:08 18· · to flex on the days you thought you might be able to
12:08 19· · work later?
12:08 20· · · · · · A.· I recall escalating to HR.
12:08 21· · · · · · Q.· Do you recall with whom you spoke?
12:08 22· · · · · · A.· Definitely Julie Weaver.· I may have
12:09 23· · copied Kathy Doxey.
12:09 24· · · · · · Q.· Do you recall the earliest date on which
12:09 25· · you would have escalated it to HR?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:09 ·2· · · · · · A.· I do not recall.
12:09 ·3· · · · · · Q.· You state in -- well, let me back up.
12:09 ·4· · · · · · · · You state in paragraph 81 of your
12:09 ·5· · Complaint that it was June 7, 2017 in which you met
12:09 ·6· · with Lindsay to discuss your performance.
12:09 ·7· · · · · · · · Do you recall that?
12:09 ·8· · · · · · A.· June 7th?
12:09 ·9· · · · · · Q.· June 7, 2017.
12:10 10· · · · · · A.· Yes.
12:10 11· · · · · · Q.· And you recall having a meeting, because
12:10 12· · you talked about it earlier; correct?
12:10 13· · · · · · A.· Yes.
12:10 14· · · · · · Q.· And you say in paragraph 84 that she told
12:10 15· · you that you, quote, "needed to get her" -- your --
12:10 16· · "time card under control."
12:10 17· · · · · · A.· Yes.
12:10 18· · · · · · Q.· You say in paragraph 85 upon information
12:10 19· · and belief, Lindsay was referring to your health
12:10 20· · issues.
12:10 21· · · · · · · · What about Lindsay's behavior led you to
12:10 22· · believe that it was about your health issues?
12:10 23· · · · · · A.· Her behavior in response to my request for
12:10 24· · accommodation.
12:10 25· · · · · · Q.· During that particular conversation on




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:10 ·2· · June 7, 2017.· What in her --
12:10 ·3· · · · · · A.· That's what I'm saying.· I'm saying in
12:10 ·4· · general the way she responded to me when I requested
12:11 ·5· · an accommodation.· And -- I'm sorry -- can you repeat
12:11 ·6· · the question.
12:11 ·7· · · · · · Q.· I don't think I can, so I'll ask it
12:11 ·8· · slightly differently.
12:11 ·9· · · · · · · · During the June 7, 2017 conversation, what
12:11 10· · is it about what Ms. Lindsay did or how she acted that
12:11 11· · led you to believe that her complaints were related to
12:11 12· · your cancer diagnosis?
12:11 13· · · · · · A.· There was no other point of reference.               I
12:11 14· · was not taking excessive time off except for my
12:11 15· · health.· And I asked for specific examples and was
12:11 16· · given none.
12:11 17· · · · · · Q.· Now, you say in paragraph 86 that after
12:11 18· · that meeting, you were upset; you began to experience
12:11 19· · heart palpitations.
12:12 20· · · · · · · · Do you remember that?
12:12 21· · · · · · A.· I do.
12:12 22· · · · · · Q.· First let me ask you, independent of your
12:12 23· · cancer diagnosis and treatment, have you had
12:12 24· · experience with heart palpitation issues?
12:12 25· · · · · · A.· I have in the past, yes.




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     ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:12 ·2· · · · · · Q.· And were your health palpitation issues
12:12 ·3· · exacerbated at all during the course of your cancer
12:12 ·4· · treatment?
12:12 ·5· · · · · · A.· They were.
12:12 ·6· · · · · · Q.· Can you describe the pre-cancer treatment
12:12 ·7· · and post-cancer treatment difference in your heart
12:12 ·8· · palpitation issues?
12:12 ·9· · · · · · A.· It was more extreme post treatment.             I
12:12 10· · would get a sensation that I might pass out.· Or if I
12:12 11· · climbed a series of stairs, I might get light-headed
12:12 12· · and then have more severe heart palpitations.
12:12 13· · · · · · Q.· At any time were they actually
12:12 14· · debilitating?· Did you find you ever d did lose
12:13 15· · consciousness?
12:13 16· · · · · · A.· I never lost consciousness, but there were
12:13 17· · times when I would have to stop what I was doing and
12:13 18· · sit down to recover.
12:13 19· · · · · · Q.· And how long would your recovery periods
12:13 20· · be?
12:13 21· · · · · · A.· Five to ten minutes.
12:13 22· · · · · · Q.· And this is true during your cancer
12:13 23· · treatment, or is this pre-cancer treatment?· The five
12:13 24· · to ten minutes.
12:13 25· · · · · · A.· Pre-cancer treatment as well.· I would,




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:13 ·2· · you know, frequently get them.
12:13 ·3· · · · · · Q.· So you could recover from an incident the
12:13 ·4· · same, but the incident would be more extreme during
12:13 ·5· · your cancer treatment?
12:13 ·6· · · · · · A.· It was more extreme.· It was more
12:13 ·7· · frequent.· And because I was also ill, that seemed to
12:13 ·8· · exacerbate it.· I was weaker.
12:13 ·9· · · · · · Q.· So after you reported to Ms. Lindsay that
12:13 10· · you were experiencing heart palpitations and you
12:13 11· · requested to work from home the rest of the day, how
12:14 12· · did she respond to that?
12:14 13· · · · · · A.· She seemed disgusted.· She told me to just
12:14 14· · go home.
12:14 15· · · · · · Q.· When you say "seemed disgusted," how was
12:14 16· · she behaving that would lead you to believe that?
12:14 17· · · · · · A.· Her tone of voice.· She raised her voice.
12:14 18· · She shook her head as if in disbelief of what I was
12:14 19· · saying and told me to just go home.
12:14 20· · · · · · Q.· Did you have any discussion with her at
12:14 21· · that point in time about how you -- well, let me ask
12:14 22· · you this:· At that point in time did you anticipate
12:14 23· · being able to drive home?
12:14 24· · · · · · A.· I was very upset, so I would have needed
12:14 25· · some time to recover from that.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:14 ·2· · · · · · Q.· Where would you have done that?
12:14 ·3· · · · · · A.· I went to the bathroom.· Actually, that
12:14 ·4· · was prior to talking to Tammy.· I went to the bathroom
12:14 ·5· · to collect myself.· I came back and calmly asked her
12:15 ·6· · the chance to work from home for the rest of the
12:15 ·7· · afternoon.
12:15 ·8· · · · · · Q.· Had your palpitations subsided by the time
12:15 ·9· · you were talking to Tammy again?
12:15 10· · · · · · A.· No, not yet.
12:15 11· · · · · · Q.· Did you anticipate being able to drive at
12:15 12· · that point?
12:15 13· · · · · · A.· It was likely that I would have to rest.
12:15 14· · Sometimes I would rest in my car.· But in general, I
12:15 15· · knew when I could drive and when I couldn't.
12:15 16· · · · · · Q.· Well, she told you to go home.· What did
12:15 17· · you do in response to that?
12:15 18· · · · · · A.· I went to see Julie Weaver.
12:15 19· · · · · · Q.· And in the gap between meeting with Tammy
12:15 20· · and meeting with Julie Weaver, did your heart
12:15 21· · palpitations subside?
12:15 22· · · · · · A.· They may have, although I do remember
12:15 23· · still being very upset when I was discussing with
12:15 24· · Julie.
12:15 25· · · · · · Q.· Okay.· So --




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:16 ·2· · · · · · A.· By the time I left Julie's office, I felt
12:16 ·3· · fine.
12:16 ·4· · · · · · Q.· Well, let me ask you this:· You asked to
12:16 ·5· · go home --
12:16 ·6· · · · · · A.· I asked to work from home.
12:16 ·7· · · · · · Q.· To work from home because of your heart
12:16 ·8· · palpitations.· And you've just testified that it might
12:16 ·9· · take you five to ten minutes for them to subside if
12:16 10· · you could lay down, for example.
12:16 11· · · · · · · · Why didn't you just stay at work that day,
12:16 12· · wait for them to subside and get back to work?
12:16 13· · · · · · A.· I was working literally five feet from
12:16 14· · Tammy, and the toxic environment was also exacerbating
12:16 15· · my heart palpitations.
12:16 16· · · · · · Q.· Toxic being what?
12:16 17· · · · · · A.· Her response to me.· Her treatment of me.
12:16 18· · · · · · Q.· Did you feel the toxic environment
12:16 19· · involved anybody else in your workplace?· Or was Tammy
12:17 20· · the cause of it singly?
12:17 21· · · · · · A.· At that -- on that day it was Tammy only.
12:17 22· · · · · · Q.· Do you believe other people in your
12:17 23· · workplace led to a toxic environment for you?
12:17 24· · · · · · A.· Yes.
12:17 25· · · · · · Q.· Who else?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:17 ·2· · · · · · A.· Cindy Allen, Laura Syer.
12:17 ·3· · · · · · Q.· Although you didn't work with them in
12:17 ·4· · direct proximity on a daily basis; right?
12:17 ·5· · · · · · A.· No.· But I subsequently reported to both
12:17 ·6· · of them.
12:17 ·7· · · · · · Q.· But I'm thinking about this point in time
12:17 ·8· · you're having this conversation with Tammy Lindsay --
12:17 ·9· · · · · · A.· Right.
12:17 10· · · · · · Q.· -- on or about June 7, 2017.· At that
12:17 11· · point in time you're working in proximity with Tammy
12:17 12· · Lindsay; correct?
12:17 13· · · · · · A.· Correct.
12:17 14· · · · · · Q.· And she's the one leading to your toxic
12:17 15· · environment; correct?
12:17 16· · · · · · A.· Yes.
12:17 17· · · · · · Q.· So you said you went to talk to Julie
12:17 18· · Weaver?
12:17 19· · · · · · A.· Yes.
12:17 20· · · · · · Q.· Tell me about that conversation.
12:18 21· · · · · · A.· I discussed my performance review and a
12:18 22· · number of false statements that Tammy had made during
12:18 23· · my performance review, how they had upset me, how I
12:18 24· · had inquired about my job description and if it was
12:18 25· · ready and when I was going to be reclassified.




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     ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:18 ·2· · · · · · · · And Tammy had made the statement that she
12:18 ·3· · would not promote me or reclassify me until I got my
12:18 ·4· · time card under control.
12:18 ·5· · · · · · · · Julie, in response, was receptive to what
12:18 ·6· · I was saying and said Tammy would not have the power
12:18 ·7· · to deny me that particular promotion.· And that's all
12:18 ·8· · I recall.· I remember her being nice, but I don't
12:18 ·9· · remember any substantial help.
12:18 10· · · · · · Q.· Did she say she was going to talk to
12:18 11· · anybody?
12:18 12· · · · · · A.· She may have.
12:19 13· · · · · · Q.· Where was Julie Weaver's office relative
12:19 14· · to yours?
12:19 15· · · · · · A.· It was across the street in Sage Hall.
12:19 16· · · · · · Q.· So getting to her, it was not a physically
12:19 17· · difficult activity?
12:19 18· · · · · · A.· No.· But a co-worker offered to go with
12:19 19· · me.
12:19 20· · · · · · Q.· But what I'm asking is Julie would have
12:19 21· · been reasonably accessible to you on any given day?
12:19 22· · · · · · A.· Yes.
12:19 23· · · · · · Q.· When you walked out of the meeting with
12:19 24· · Julie on June 7, 2017, what were you experiencing at
12:19 25· · that time?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:19 ·2· · · · · · · · MS. VINCI:· Objection.· What do you mean
12:19 ·3· · by what was she experiencing?· Physically, mentally?
12:20 ·4· · · · · · · · MR. WOLAN:· I'll be a little bit more
12:20 ·5· · specific.
12:20 ·6· · · · · · Q.· You had an encounter with Tammy Lindsay
12:20 ·7· · that was upsetting.· You went to see Julie Weaver.
12:20 ·8· · But other than being empathetic, she doesn't seem to
12:20 ·9· · have done anything for you.
12:20 10· · · · · · · · So when you left that meeting, what were
12:20 11· · you thinking about your prospects for dealing with
12:20 12· · Tammy Lindsay as a manager?
12:20 13· · · · · · A.· I set up an appointment at FSAP that same
12:20 14· · day.· So I actually got counseling on campus and --
12:20 15· · · · · · Q.· And for the record, could you tell me what
12:20 16· · FSAP is?
12:20 17· · · · · · A.· I don't recall what it stands for.
12:20 18· · · · · · Q.· Would you agree that it's Faculty Staff
12:20 19· · Assistance Program?
12:20 20· · · · · · A.· Yes.· So I was upset still.· I was feeling
12:20 21· · a lack of validation, a lack of support.· So I did go
12:20 22· · to attend a counseling session.
12:20 23· · · · · · Q.· Who did you meet with?
12:20 24· · · · · · A.· I don't recall his name.
12:20 25· · · · · · Q.· How long was that counseling session?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:20 ·2· · · · · · A.· Roughly an hour.
12:21 ·3· · · · · · Q.· What did you relay during that counseling
12:21 ·4· · session?
12:21 ·5· · · · · · A.· I relayed my cancer diagnosis and what I
12:21 ·6· · had been experiencing at Cornell.
12:21 ·7· · · · · · Q.· During the counseling session did the
12:21 ·8· · counselor give you any advice on avenues you could
12:21 ·9· · take to resolve your issues?
12:21 10· · · · · · A.· I do not recall.
12:21 11· · · · · · Q.· Did you get any recommendations for any
12:21 12· · further counseling?
12:21 13· · · · · · A.· Not that I recall.
12:21 14· · · · · · Q.· Were you invited to come back to FSAP if
12:21 15· · you needed it?
12:21 16· · · · · · A.· Yes.
12:21 17· · · · · · Q.· After that meeting with the FSAP
12:21 18· · counselor, what did you do?· And I mean on that same
12:22 19· · day.
12:22 20· · · · · · A.· I went home and rested.
12:22 21· · · · · · Q.· Do you remember what day of the week that
12:22 22· · was?
12:22 23· · · · · · A.· I do not.
12:22 24· · · · · · Q.· I was just wondering whether -- did you
12:22 25· · have to come back to work the very next day?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
12:22 ·2· · · · · · A.· I did.
12:22 ·3· · · · · · Q.· And did you see Tammy on that day?
12:22 ·4· · · · · · A.· I don't recall seeing Tammy.· I recall
12:22 ·5· · getting an email from her that I was required to make
12:22 ·6· · up the time that I had lost the day before, the time
12:22 ·7· · that she denied me.
12:22 ·8· · · · · · Q.· Did you ultimately make that up?
12:22 ·9· · · · · · A.· I did.
12:22 10· · · · · · Q.· Did that remain on your time card without
12:22 11· · alteration?
12:22 12· · · · · · A.· I believe it did.
12:22 13· · · · · · · · MR. WOLAN:· This is a good place to stop
12:22 14· · for right now.
12:22 15· · · · · · · · THE VIDEOGRAPHER:· The time is 12:22.
12:22 16· · We're off the record.
12:22 17· · · · · · (The proceeding recessed at 12:22 p.m.)
01:24 18· · · · · · (The proceeding reconvened at 1:24 p.m.;
01:24 19· · · · · · appearances as before noted.)
01:24 20· · · · · · · · THE VIDEOGRAPHER:· The time is 1:24.
01:24 21· · We're back on the record.
01:24 22· · DENISE PAYNE, resumes;
01:24 23· · · · · · CONTINUING EXAMINATION BY MR. WOLAN:
01:24 24· · · · · · Q.· Ms. Payne, I want to go back to something
01:24 25· · we were talking about before we took the break before




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:24 ·2· · we proceed on to some follow-ups.
01:24 ·3· · · · · · · · When you were first -- when you first
01:24 ·4· · discussed the Data Analyst II position with Lucinda
01:24 ·5· · Allen late summer to early fall of '16, did she
01:24 ·6· · describe a long-term plan for the job?· Because I know
01:24 ·7· · that the position description wasn't available at the
01:24 ·8· · time that they made the offer to you.
01:24 ·9· · · · · · · · Did she describe what the long-term plan
01:25 10· · was for the position?
01:25 11· · · · · · A.· Not using the terminology "long-term";
01:25 12· · however, it was expected that it would end up being
01:25 13· · the exempt E-F position with various duties.
01:25 14· · · · · · Q.· But you took it as a part-time.· Was it
01:25 15· · envisioned to be full-time?
01:25 16· · · · · · A.· Yes.
01:25 17· · · · · · Q.· Did she give you a timetable of when they
01:25 18· · expected it to go to full-time and have the job
01:25 19· · description done, etcetera?
01:25 20· · · · · · A.· As soon as I was ready to go full-time, I
01:25 21· · was encouraged to do so.
01:25 22· · · · · · Q.· Okay.· So in 2017 while you were holding
01:25 23· · the position of Data Analyst II, did you ever broach
01:25 24· · with Ms. Lindsay that you were ready to go full-time?
01:25 25· · · · · · A.· I believe we reached an agreement that it




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:25 ·2· · would be after my radiation treatments were done.· And
01:25 ·3· · by that time the hard chemo was done.
01:26 ·4· · · · · · · · We broached the idea that that would be a
01:26 ·5· · good time for me to come back full-time.
01:26 ·6· · · · · · Q.· And when in the year would that have been
01:26 ·7· · in 2017?
01:26 ·8· · · · · · A.· April.
01:26 ·9· · · · · · Q.· Did you ever come back full-time?
01:26 10· · · · · · A.· Yes.
01:26 11· · · · · · Q.· I'm sorry.· Did you ever go to full-time
01:26 12· · in the Data Analyst II position?
01:26 13· · · · · · A.· Yes.
01:26 14· · · · · · Q.· When?
01:26 15· · · · · · A.· I don't recall the exact time, but it
01:26 16· · would have been around April 2017.
01:26 17· · · · · · Q.· And so when you had your flex plan number
01:26 18· · two in place, the May 1, 2017, that was applicable to
01:26 19· · your full-time position?
01:26 20· · · · · · A.· Yes.
01:26 21· · · · · · Q.· And your full-time position allowed you to
01:26 22· · have -- as I'm recalling off the top of my head,
01:26 23· · please correct me -- a six-hour workday; is that the
01:26 24· · full-time definition?
01:26 25· · · · · · A.· No.· That was the part-time definition.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:26 ·2· · · · · · Q.· Okay.· What's the full-time definition for
01:27 ·3· · you?
01:27 ·4· · · · · · A.· In general, I was expected to work 39
01:27 ·5· · hours a week.
01:27 ·6· · · · · · Q.· Okay.· So when you reached the
01:27 ·7· · 39-hour-a-week schedule in April 2017, I think you
01:27 ·8· · just said, did your pay change?
01:27 ·9· · · · · · A.· If I was working more hours, I would have
01:27 10· · received more money.
01:27 11· · · · · · Q.· Sorry.· Rate of pay.
01:27 12· · · · · · A.· I don't recall it changing, no.
01:27 13· · · · · · Q.· And was there any reason you expected the
01:27 14· · position to be classified as exempt beyond Lucinda
01:27 15· · Allen's representations at the beginning of the
01:27 16· · discussion about the job?
01:27 17· · · · · · A.· Yes.
01:27 18· · · · · · Q.· What else?
01:27 19· · · · · · A.· In June I took over a project called
01:28 20· · Rankings and Surveys from Sarah Miller, and I was
01:28 21· · leading that program.· And I knew Sarah Miller to be
01:28 22· · an exempt salaried employee.
01:28 23· · · · · · Q.· So you assumed with taking over an exempt
01:28 24· · employee's responsibilities your job would be exempt?
01:28 25· · · · · · A.· Right.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:28 ·2· · · · · · Q.· Before we took the break, we were
01:28 ·3· · discussing your June 7th, on or about, 2017 meeting
01:28 ·4· · with Lindsay regarding your performance evaluation.
01:28 ·5· · And I know that we had discussed in that context your
01:28 ·6· · conversation with her about time keeping and use of
01:28 ·7· · paid time off.
01:28 ·8· · · · · · · · But you had also alleged in paragraph 83
01:28 ·9· · of your Complaint that you had requested of
01:29 10· · Ms. Lindsay to classify your position exempt and to
01:29 11· · adjust your salary based on your experience and
01:29 12· · skills.
01:29 13· · · · · · · · Did those things occur during your meeting
01:29 14· · with Tammy Lindsay on or about June 7, 2017?
01:29 15· · · · · · A.· Yes.
01:29 16· · · · · · Q.· Describe that portion of the conversation
01:29 17· · to me.
01:29 18· · · · · · A.· So I asked about my job description yet
01:29 19· · again.· I mentioned to her that I was frustrated that
01:29 20· · it was taking so long, that I felt that I was
01:29 21· · misclassified.
01:29 22· · · · · · · · And some of my benefits were based on my
01:29 23· · classification and my salary, and I was, you know,
01:29 24· · really anxious to be classified appropriately.
01:29 25· · · · · · Q.· How did she respond to your request?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:29 ·2· · · · · · A.· She made the statement that I had a lot
01:29 ·3· · going on, and at this time she wasn't going to
01:29 ·4· · reclassify me until I got my time card under control,
01:30 ·5· · and they were continuing to work on the job
01:30 ·6· · description.
01:30 ·7· · · · · · Q.· You state in paragraph 85 of the Complaint
01:30 ·8· · that upon information and belief, you thought Lindsay
01:30 ·9· · was using your cancer diagnosis as a means to target
01:30 10· · you.· And the word "target" I'm quoting out of your
01:30 11· · Complaint.
01:30 12· · · · · · · · What do you mean by target?
01:30 13· · · · · · A.· She seemed to manage essentially by
01:30 14· · control.· That was her main interest as a manager.
01:30 15· · And she wanted to control my accommodations, my
01:30 16· · requests for time off, etcetera.
01:30 17· · · · · · Q.· To your recollection, how large of a group
01:30 18· · did Ms. Lindsay supervise?
01:31 19· · · · · · A.· At the time it was small, three or four
01:31 20· · people.· But I knew at one point she was the head of
01:31 21· · all the administrators in the hotel school.
01:31 22· · · · · · Q.· Your Data Analyst II position was part of
01:31 23· · a data analytics team?· Am I correct on that?
01:31 24· · · · · · A.· Yes.
01:31 25· · · · · · Q.· How big was that data analytics team?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:31 ·2· · · · · · A.· Initially when we formed, we had five
01:31 ·3· · employees plus Cindy Allen, who managed us.
01:31 ·4· · · · · · Q.· And is that the same group that
01:31 ·5· · essentially Tammy Lindsay was supervising?
01:31 ·6· · · · · · A.· She only supervised part of that group.
01:31 ·7· · Another -- one individual reported directly to Cindy,
01:31 ·8· · I believe.
01:32 ·9· · · · · · Q.· Do you feel that Lindsay was treating you
01:32 10· · differently than the other people in your group with
01:32 11· · respect to management of time?
01:32 12· · · · · · A.· Yes.
01:32 13· · · · · · Q.· Do you have any specific incidents in mind
01:32 14· · about how other staff were treated differently?
01:32 15· · · · · · A.· I specifically asked the other girls in
01:32 16· · the office one day if they were getting excessive
01:32 17· · scrutinization on their time cards and if they were
01:32 18· · repeatedly asked to change them or update them, and
01:32 19· · they said no.
01:32 20· · · · · · Q.· Do you remember who that was you were
01:32 21· · talking to?
01:32 22· · · · · · A.· At the time it was Jeanine Oshaben and
01:32 23· · Meghan Hellwitz-Karandeyev.
01:32 24· · · · · · Q.· We'll go phonetically with those.· Thank
01:32 25· · you.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:33 ·2· · · · · · · · Did both of them agree they weren't being
01:33 ·3· · scrutinized like you were?
01:33 ·4· · · · · · A.· Yes.
01:33 ·5· · · · · · Q.· Continuing on in your Complaint -- because
01:33 ·6· · I take it to be chronological, although it's not clear
01:33 ·7· · here -- you say in paragraph 92 following your
01:33 ·8· · Complaint to Weaver, which we established earlier in
01:33 ·9· · your testimony was probably June 7, 2017, that
01:33 10· · Ms. Lindsay continued to target you; and in fact, it
01:34 11· · became worse.
01:34 12· · · · · · · · What's worse?· What happened?
01:34 13· · · · · · A.· There seemed to be extra scrutinization of
01:34 14· · my work.· Any time she could try to find something
01:34 15· · wrong she would.· I didn't get a lot of positive
01:34 16· · feedback after that.
01:34 17· · · · · · · · It was only -- in fact, she wouldn't speak
01:34 18· · to me after that unless it was negative feedback.
01:34 19· · · · · · Q.· How often -- in your day-to-day job as a
01:34 20· · Data Analyst II come June of 2017, how often would you
01:34 21· · have opportunity to interact with Tammy Lindsay?
01:34 22· · · · · · A.· By email daily, by phone once or twice a
01:34 23· · week, occasionally in person.· Maybe once or twice a
01:34 24· · week in person.
01:34 25· · · · · · Q.· And you would say that of those usual




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:34 ·2· · communications, they were all negative?
01:34 ·3· · · · · · A.· In general, in person she didn't speak to
01:35 ·4· · me unless there was something she wanted to discuss
01:35 ·5· · about how I was doing something or reprimand me.
01:35 ·6· · · · · · · · Emails may have been more in general, not
01:35 ·7· · negative, just simply describing what work I needed to
01:35 ·8· · do.· Although there were certainly enough negative
01:35 ·9· · emails as well.
01:35 10· · · · · · Q.· You say in paragraph 93 of your Complaint
01:35 11· · that Lindsay used your hard work ethic against you and
01:35 12· · a means to discipline you.
01:35 13· · · · · · · · What do you mean by that?
01:35 14· · · · · · A.· After denying me the right to work from
01:35 15· · home, she would force me to work extra hours
01:35 16· · essentially.· I would feel compelled to work extra
01:35 17· · hours to make up the time, or she would specifically
01:35 18· · say, "You need to make up this time."
01:35 19· · · · · · Q.· Were you still working within a
01:35 20· · 39-hour-a-week schedule?
01:35 21· · · · · · A.· Yes.
01:36 22· · · · · · Q.· You say, though, in paragraph 94 you
01:36 23· · forced yourself to work extra-long hours.
01:36 24· · · · · · · · If you're at 39 hours in a week, how are
01:36 25· · they extra-long?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:36 ·2· · · · · · A.· So if I'm denied to work a day and I'm
01:36 ·3· · forced to use vacation time, the next day I would have
01:36 ·4· · to work nine to ten hours to make it up.· Or more.                I
01:36 ·5· · mean, I think approximately nine to ten.
01:36 ·6· · · · · · Q.· So for the day you took off, would you
01:36 ·7· · have any accrued paid time off applied to that?
01:36 ·8· · · · · · A.· At times I would apply accrued paid time
01:36 ·9· · off.· Other times, depending on the workload, I would
01:36 10· · make up the time, or I was instructed to make up the
01:36 11· · time.
01:37 12· · · · · · Q.· So in June of 2017 you had a flex
01:37 13· · agreement that allowed you to flex your schedule as
01:37 14· · needed; correct?
01:37 15· · · · · · A.· Correct.
01:37 16· · · · · · Q.· Wouldn't working extra hours on one day so
01:37 17· · you didn't have to work another day be flexing?
01:37 18· · · · · · · · MS. VINCI:· Objection.
01:37 19· · · · · · · · You can answer.
01:37 20· · · · · · A.· It would be flexing my time, right.
01:37 21· · Correct.· Yes.· But, I mean, I was denied the right to
01:37 22· · work from home one day and then the next day required
01:37 23· · to work extra hours to make up for it.
01:37 24· · · · · · Q.· To your recollection, did you ever work
01:37 25· · more than 39 hours in a week?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:37 ·2· · · · · · A.· I may have occasionally gone over that.
01:37 ·3· · · · · · Q.· And when you did so, were you paid
01:37 ·4· · overtime for any hours that were overtime appropriate?
01:37 ·5· · · · · · A.· If Ms. Lindsay did not remove my overtime
01:38 ·6· · from my time card, I would be paid overtime.
01:38 ·7· · · · · · Q.· Do you have a recollection of how many
01:38 ·8· · times she removed overtime from your pay card?
01:38 ·9· · · · · · A.· I would say one to three times.
01:38 10· · · · · · Q.· And I want to be clear about removed from
01:38 11· · your time card.· Do you mean to say that you were
01:38 12· · never paid for those particular hours of work?
01:38 13· · · · · · A.· Correct.· There were a few times where she
01:38 14· · reduced my overall hours and removed time.
01:38 15· · · · · · Q.· For any of those overtime situations that
01:38 16· · you've just mentioned, did you have pre-approval to
01:38 17· · work the overtime?
01:38 18· · · · · · A.· In that instance it wasn't considered
01:38 19· · overtime.· I think it was -- you don't hit overtime
01:38 20· · until over 40 hours a week.· So it was somewhere in
01:38 21· · that range.
01:39 22· · · · · · · · So it may have been regular pay is what
01:39 23· · I'm saying.· It may not have been overtime.
01:39 24· · · · · · Q.· Well, let me ask you more specifically.
01:39 25· · Do you recall -- let's be specific to June 2017.· Do




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:39 ·2· · you recall working any weeks that were more than 40
01:39 ·3· · hours?
01:39 ·4· · · · · · A.· I don't recall; but it's possible, because
01:39 ·5· · I started the project of Rankings and Surveys, and I
01:39 ·6· · was training a lot.· And there was a lot to take on.
01:39 ·7· · · · · · Q.· But to your recollection sitting here
01:39 ·8· · right now, you were never paid for more than 39?
01:39 ·9· · · · · · A.· I don't recall.
01:39 10· · · · · · Q.· So getting back to your paragraph 93, you
01:39 11· · state there that Lindsay used your hard work ethic
01:39 12· · against you as a means to discipline.
01:39 13· · · · · · · · How was that disciplining you?
01:39 14· · · · · · A.· She knew we had certain timelines or
01:40 15· · certain projects, and I did not like to go over the
01:40 16· · timelines.· I don't like to be late with my work.
01:40 17· · · · · · · · So if I was denied the right to work from
01:40 18· · home, I would essentially have to work overtime in
01:40 19· · order to meet her deadline.
01:40 20· · · · · · Q.· And you're characterizing the need to get
01:40 21· · that work done as discipline?
01:40 22· · · · · · A.· I'm not sure I understand.· Can you --
01:40 23· · · · · · Q.· I'm clarifying your use of the word
01:40 24· · "discipline" in paragraph 93.· "Hard work ethic as a
01:40 25· · means to discipline."




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     ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:40 ·2· · · · · · · · Do you feel like she was disciplining you
01:40 ·3· · through your work assignments?
01:40 ·4· · · · · · A.· I feel like her lack of understanding,
01:40 ·5· · lack of accommodations, was her form of disciplining
01:40 ·6· · me.
01:40 ·7· · · · · · Q.· And disciplining you for what?
01:40 ·8· · · · · · A.· Requesting accommodations.
01:41 ·9· · · · · · Q.· You state in paragraph 95 as what appears
01:41 10· · to be a continuation in time that she frequently --
01:41 11· · Tammy Lindsay frequently berated and accused you of
01:41 12· · doing something improper when you worked extra hours.
01:41 13· · · · · · · · Can you describe any incidents that fit
01:41 14· · that description?
01:41 15· · · · · · A.· I don't recall the specific incident or
01:41 16· · incidences.
01:41 17· · · · · · Q.· You state in paragraph 96, following that
01:41 18· · same line, that Lindsay retroactively denied your
01:41 19· · request to work from home which had previously been
01:41 20· · approved and docked your pay.
01:42 21· · · · · · · · Do you have any incidents that fit that
01:42 22· · description?
01:42 23· · · · · · A.· I think there was a situation where I
01:42 24· · requested flex time or I had an appointment, so I
01:42 25· · worked from home.· And later she removed some of that




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:42 ·2· · time, saying that I entered it improperly or I had
01:42 ·3· · gone over a specified amount and I was not going to be
01:42 ·4· · paid for that.
01:42 ·5· · · · · · Q.· In that situation did she substitute some
01:42 ·6· · form of paid time off?
01:42 ·7· · · · · · A.· There were times when she used my vacation
01:42 ·8· · time without my consent, and she applied my vacation
01:42 ·9· · time to those -- to the time card.
01:43 10· · · · · · Q.· So -- well, hold on.
01:43 11· · · · · · (The following exhibit was marked for
01:43 12· · · · · · identification:· EXH Number 5.)
01:43 13· · · · · · Q.· So we're showing you now what has been
01:43 14· · marked for identification as Exhibit 5.· Please take a
01:43 15· · look at the whole document, and let me know when
01:43 16· · you're done.
01:44 17· · · · · · A.· Okay.
01:44 18· · · · · · Q.· Do you recognize Exhibit 5?
01:44 19· · · · · · A.· Yes.
01:44 20· · · · · · Q.· Can you tell me what it is?
01:44 21· · · · · · A.· It is a flex work arrangement with
01:44 22· · Cornell.
01:44 23· · · · · · Q.· What's the -- well, did you sign it on
01:44 24· · page 1?
01:44 25· · · · · · A.· Yes.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:44 ·2· · · · · · Q.· What's the date of your signature?
01:44 ·3· · · · · · A.· 8/28/17.
01:44 ·4· · · · · · Q.· And did you also sign it on page 4?
01:45 ·5· · · · · · A.· Yes.
01:45 ·6· · · · · · Q.· And that's also 8/28/17?
01:45 ·7· · · · · · A.· Yes.
01:45 ·8· · · · · · Q.· And also on page 4 I'll draw your
01:45 ·9· · attention to the very last items.· Could you read
01:45 10· · those for me, the very last line?
01:45 11· · · · · · A.· The begin date?
01:45 12· · · · · · Q.· Yeah.
01:45 13· · · · · · A.· Begin date:· 5/1/2017, Review date:
01:45 14· · 10/30/2017.
01:45 15· · · · · · Q.· So since that seems to be -- 5/1/17 --
01:45 16· · retroactive to the prior flex work arrangement we were
01:45 17· · already talking about, what led to this particular
01:45 18· · Flexible Work Arrangement?
01:45 19· · · · · · A.· They were trying to restrict flexibility
01:45 20· · for my accommodations.
01:45 21· · · · · · Q.· Who is they?
01:45 22· · · · · · A.· Tammy Lindsay, perhaps Cindy Allen.
01:45 23· · · · · · Q.· When was the first time -- well, let me
01:46 24· · back up.
01:46 25· · · · · · · · Did you request any modification in your




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:46 ·2· · prior 5/1/2017 Flexible Work Arrangement?
01:46 ·3· · · · · · A.· I did not.
01:46 ·4· · · · · · Q.· So did someone reach out to you to tell
01:46 ·5· · you that they wanted to discuss a new Flexible Work
01:46 ·6· · Arrangement?
01:46 ·7· · · · · · A.· Yes.
01:46 ·8· · · · · · Q.· Who was that?
01:46 ·9· · · · · · A.· Tammy Lindsay.
01:46 10· · · · · · Q.· Do you remember when?
01:46 11· · · · · · A.· After I was granted formal accommodations
01:46 12· · at Cornell University and we had a meeting about it.
01:46 13· · · · · · Q.· What did Tammy tell you about why she
01:46 14· · wanted to have a discussion about this new Flexible
01:46 15· · Work Arrangement?· I want to hear how your first
01:46 16· · communications with her went.
01:46 17· · · · · · A.· I don't recall those first communications.
01:46 18· · I recall the meeting very well.
01:46 19· · · · · · Q.· Okay.· Tell me about the meeting.
01:46 20· · · · · · A.· So the meeting was in August -- earlier
01:47 21· · August of 2017, and we were to discuss my recently
01:47 22· · approved formal accommodations.
01:47 23· · · · · · · · And Tammy sort of immediately rejected
01:47 24· · them at the meeting and stated that those
01:47 25· · accommodations were not going to work for her, she was




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:47 ·2· · trying to run a business.
01:47 ·3· · · · · · Q.· Who else was at the meeting?
01:47 ·4· · · · · · A.· Kathy Doxey, Julie Weaver and Cindy Allen.
01:47 ·5· · · · · · Q.· What was the response in the room,
01:47 ·6· · anybody's, to Tammy's comment that it wouldn't work
01:47 ·7· · for her?
01:47 ·8· · · · · · A.· Cindy agreed.· And Kathy and Julie didn't
01:47 ·9· · say anything that I recall.
01:47 10· · · · · · Q.· I see on this Exhibit 5, page 1, that it
01:47 11· · shows in the column New Hours 7:30 to 4.· And it seems
01:48 12· · to suggest that that's true on three days of the week.
01:48 13· · · · · · · · Was that your understanding of it?
01:48 14· · · · · · A.· Yes.
01:48 15· · · · · · Q.· What was the explanation for why you went
01:48 16· · from as needed throughout the week to three days a
01:48 17· · week with specific hours?
01:48 18· · · · · · A.· I requested flexibility in my time to
01:48 19· · attend a doctor appointment three times a week with a
01:48 20· · chiropractor in Ithaca.
01:48 21· · · · · · · · This individual was helping me with my
01:48 22· · side effects.· And I needed to get out of work on
01:48 23· · those days a bit earlier to attend my appointments.
01:48 24· · · · · · Q.· Who suggested 7:30 to 4 on those days?
01:48 25· · · · · · A.· I believe I told them when I would need to




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:48 ·2· · leave by in order to attend my appointments.
01:49 ·3· · · · · · Q.· But did you suggest that moving your day a
01:49 ·4· · half an hour earlier would work for you?
01:49 ·5· · · · · · A.· Yes.
01:49 ·6· · · · · · Q.· I see also that the boxes for Work
01:49 ·7· · Remotely are still checked.
01:49 ·8· · · · · · A.· Yes.
01:49 ·9· · · · · · Q.· Monday through Friday, anyways.· So was it
01:49 10· · your understanding at the time this Flexible Work
01:49 11· · Arrangement went into place, Exhibit 5, that you still
01:49 12· · had the ability to work remotely on the days that you
01:49 13· · felt it appropriate?
01:49 14· · · · · · A.· Yes.
01:49 15· · · · · · Q.· Was there any discussion at your meeting
01:49 16· · about the remote work structure?
01:49 17· · · · · · A.· I don't recall.
01:49 18· · · · · · Q.· Let me take you to the third page.· I see
01:50 19· · that this one is now typed as opposed to the other
01:50 20· · ones being handwritten.
01:50 21· · · · · · · · Do you know who did the typing of this
01:50 22· · document?
01:50 23· · · · · · A.· I typed the document.
01:50 24· · · · · · Q.· Did you type it during the meeting or at
01:50 25· · some point after?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:50 ·2· · · · · · A.· At some point after.
01:50 ·3· · · · · · Q.· I see under Hardware that it says,
01:50 ·4· · "Cornell University issued laptop, monitor, docking
01:50 ·5· · station."
01:50 ·6· · · · · · · · That had been true before; correct?
01:50 ·7· · · · · · A.· Yes.
01:50 ·8· · · · · · Q.· And then I see under Software preloaded
01:50 ·9· · onto the laptop, browsers, Tableau, Microsoft Office,
01:50 10· · XLSTAT and Adobe Pro.
01:50 11· · · · · · · · Had that been true before?
01:50 12· · · · · · A.· Yes.
01:50 13· · · · · · Q.· Under Communications Resources I see that
01:50 14· · the middle sentence, check voicemail at least twice
01:51 15· · while working from home, I believe that was the same
01:51 16· · as before also?
01:51 17· · · · · · A.· Yes.
01:51 18· · · · · · Q.· Was any of the rest of communications
01:51 19· · different on this form as compared to the earlier
01:51 20· · ones?
01:51 21· · · · · · A.· Yeah, the additional comments were added
01:51 22· · on this form.
01:51 23· · · · · · Q.· Well, I understand that there may have
01:51 24· · been additions, but I'm looking in Communications
01:51 25· · Resources specifically, just that box for the moment.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:51 ·2· · · · · · · · And while I mentioned this middle sentence
01:51 ·3· · to you, I was wondering if the first and third
01:51 ·4· · sentences -- I know that they're new to the typed
01:51 ·5· · document, but were those your understanding before?
01:51 ·6· · · · · · A.· They were my understanding, yeah.· There
01:51 ·7· · was nothing new there.
01:51 ·8· · · · · · Q.· So moving down into the Additional
01:51 ·9· · Comments box, the first paragraph, is any of that
01:51 10· · different from what your understanding had been in the
01:51 11· · prior flex agreements?· And I'm just talking about the
01:51 12· · first paragraph.
01:52 13· · · · · · A.· No.· I understood that to be true for my
01:52 14· · other agreements as well.
01:52 15· · · · · · Q.· And was the addition of that specific
01:52 16· · language, the first paragraph of the Additional
01:52 17· · Comments box, discussed at the meeting that you had
01:52 18· · about this document?
01:52 19· · · · · · A.· We didn't have a meeting about this
01:52 20· · document.· We had a meeting about my accommodations.
01:52 21· · · · · · Q.· What led to you typing up this new
01:52 22· · Flexible Work Arrangement document?
01:52 23· · · · · · A.· Tammy Lindsay requested that I rewrite
01:52 24· · this.
01:52 25· · · · · · Q.· At what time did she make that request?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:52 ·2· · · · · · A.· I don't recall.
01:52 ·3· · · · · · Q.· Was it at that meeting?
01:52 ·4· · · · · · A.· It may have been, but I don't recall.
01:52 ·5· · · · · · Q.· Did you have any discussion with Tammy or
01:53 ·6· · Cindy or anyone else about that first paragraph at the
01:53 ·7· · time you were -- at or about the time you were typing
01:53 ·8· · up this version of the agreement?
01:53 ·9· · · · · · A.· Yes.· These were stated to me as needing
01:53 10· · to be written in the agreement.· Even though they were
01:53 11· · implied before, I was asked to write them this time.
01:53 12· · · · · · Q.· Did you have any disagreement with that at
01:53 13· · the time?
01:53 14· · · · · · A.· I don't recall having a disagreement.
01:53 15· · · · · · Q.· The next paragraph, that says, "Other
01:53 16· · Comments DP."· Does that mean that those are your
01:53 17· · comments --
01:53 18· · · · · · A.· Those are mine.
01:53 19· · · · · · Q.· -- personally?
01:53 20· · · · · · A.· Yes, those are my comments.
01:53 21· · · · · · Q.· At whose impetus did that paragraph go
01:53 22· · into the document?
01:53 23· · · · · · A.· That was at mine.
01:54 24· · · · · · Q.· You wanted that in there?
01:54 25· · · · · · A.· I did.




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     ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:54 ·2· · · · · · Q.· What was your purpose for adding that
01:54 ·3· · paragraph?
01:54 ·4· · · · · · A.· There seemed to be some confusion about
01:54 ·5· · what would require -- or what I would be allowed to
01:54 ·6· · take my accommodation for.· I was adding
01:54 ·7· · clarification.
01:54 ·8· · · · · · Q.· Going to the next page, the fourth page of
01:54 ·9· · the document, there's just one box up there.· What was
01:54 10· · the impetus for adding that paragraph?· Let me back
01:54 11· · up.
01:54 12· · · · · · · · Who was the impetus for writing that
01:54 13· · paragraph?
01:54 14· · · · · · A.· That would be Tammy Lindsay.
01:54 15· · · · · · Q.· And why did she ask for that?
01:54 16· · · · · · · · MS. VINCI:· Objection.
01:54 17· · · · · · · · You can answer.
01:54 18· · · · · · Q.· What's your understanding for why she
01:55 19· · asked for that?
01:55 20· · · · · · A.· I'm not exactly sure why; but this was all
01:55 21· · implied before, and I'm assuming she wanted it in
01:55 22· · writing.
01:55 23· · · · · · Q.· Do you agree that this was all implied
01:55 24· · before?
01:55 25· · · · · · A.· In my mind it was implied.· I was




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:55 ·2· · following this.
01:55 ·3· · · · · · Q.· And just for clarification, on the first
01:55 ·4· · and fourth pages do you recognize those as Tammy
01:55 ·5· · Lindsay's signature also?
01:55 ·6· · · · · · A.· Yes.
01:55 ·7· · · · · · Q.· So as of 8/28/2017, is this the Flexible
01:55 ·8· · Work Arrangement you were following?
01:55 ·9· · · · · · A.· Yes.
01:55 10· · · · · · Q.· And did you ever have another one with
01:55 11· · Cornell?
01:55 12· · · · · · A.· I don't recall.
01:55 13· · · · · · Q.· If you happen to recall later, I'd love to
01:56 14· · know, because I believe it's your last one.· So you
01:56 15· · can correct me if it comes to you.
01:56 16· · · · · · · · Related, then, in time, I'm going to mark
01:56 17· · another document for you.
01:56 18· · · · · · (The following exhibit was marked for
01:56 19· · · · · · identification:· EXH Number 6.)
01:56 20· · · · · · Q.· You've been provided with what's
01:56 21· · identified as Exhibit 6.· Please take a look at it,
01:56 22· · and let me know when you're done reading.
01:56 23· · · · · · A.· Okay.
01:57 24· · · · · · Q.· Do you recognize this document?
01:57 25· · · · · · A.· Yes.




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     ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:57 ·2· · · · · · Q.· What is it?
01:57 ·3· · · · · · A.· This is my approved request for reasonable
01:57 ·4· · accommodations.
01:57 ·5· · · · · · Q.· And it is dated what?
01:57 ·6· · · · · · A.· August 2, 2017.
01:57 ·7· · · · · · Q.· And would you agree this appears to be a
01:57 ·8· · letter to you from Jill Tubbs?
01:57 ·9· · · · · · A.· Yes.
01:57 10· · · · · · Q.· Do you remember receiving it about August
01:57 11· · 2, 2017?
01:57 12· · · · · · A.· Yes.
01:57 13· · · · · · Q.· I see there are three specific
01:57 14· · accommodations listed.
01:57 15· · · · · · · · Would you agree that it was three?
01:57 16· · · · · · A.· Yes.
01:57 17· · · · · · Q.· Could you read those three lines?
01:57 18· · · · · · A.· (As read):· Flexible working hours,
01:57 19· · flexible work space, work from home as needed, and
01:58 20· · reduced hours when necessary.
01:58 21· · · · · · Q.· So flexible working hours I think we've
01:58 22· · discussed quite a bit of.· You've already talked about
01:58 23· · it.
01:58 24· · · · · · · · Did flexible work space mean anything
01:58 25· · other than work from home as needed?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:58 ·2· · · · · · A.· No.
01:58 ·3· · · · · · Q.· You didn't need any other flexible space
01:58 ·4· · at Cornell's facility?
01:58 ·5· · · · · · A.· No, I did not.
01:58 ·6· · · · · · Q.· Reduced hours when necessary.· What does
01:58 ·7· · that mean to you?
01:58 ·8· · · · · · A.· If I was scheduled to work eight hours and
01:58 ·9· · I could only put in six hours on a given day, I would
01:58 10· · consider that reduced hours.
01:58 11· · · · · · Q.· And would that mean that in a particular
01:58 12· · week you wouldn't be required to make up those hours?
01:58 13· · · · · · A.· It depended on the workload and the
01:58 14· · projects.· Or if I supplemented with HAP or vacation
01:58 15· · time.
01:58 16· · · · · · Q.· Well, I'm thinking about work hours.
01:58 17· · Let's put HAP and vacation time aside.
01:59 18· · · · · · A.· Okay.
01:59 19· · · · · · Q.· In terms of your work hours, you had a
01:59 20· · 39-hour workweek.· And reduced hours when necessary, I
01:59 21· · think you've described in a day six instead of eight.
01:59 22· · · · · · · · But does that mean for you -- did you
01:59 23· · understand it to mean that in a week that you might
01:59 24· · not work 39?
01:59 25· · · · · · A.· There was a chance, yes, that I might not




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
01:59 ·2· · reach 39.
01:59 ·3· · · · · · Q.· And that was agreeable to you at the time?
01:59 ·4· · · · · · A.· Yes.
01:59 ·5· · · · · · Q.· At August 2, 2017?
01:59 ·6· · · · · · A.· Yes.
01:59 ·7· · · · · · Q.· The next paragraph right under that --
01:59 ·8· · right under the list of three, I should say, that sets
01:59 ·9· · up a communication plan.
01:59 10· · · · · · · · Would you say that that's consistent with
01:59 11· · your flexible work agreement document?
01:59 12· · · · · · A.· Yes.
01:59 13· · · · · · Q.· And you were comfortable with that
01:59 14· · arrangement at that point in time?
01:59 15· · · · · · A.· I had already been doing that arrangement,
01:59 16· · so yes.
01:59 17· · · · · · Q.· All right.· I'll take that -- actually,
01:59 18· · I'll take both of those back from you.
02:00 19· · · · · · · · You signed that document on 8 -- that
02:00 20· · document, sorry.· You signed your last flex agreement
02:00 21· · on August 28, if I'm remembering correctly.
02:00 22· · · · · · A.· Yes.
02:01 23· · · · · · Q.· Did you work on any other documentation
02:01 24· · regarding your accommodations in the time frame of
02:01 25· · July or August 2017?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:01 ·2· · · · · · A.· I do not recall that.
02:01 ·3· · · · · · Q.· Do you remember receiving feedback from
02:01 ·4· · Julie Weaver on what the contents of the third flex
02:01 ·5· · work agreement would be?
02:01 ·6· · · · · · A.· I do not recall.
02:02 ·7· · · · · · (The following exhibit was marked for
02:02 ·8· · · · · · identification:· EXH Number 7.)
02:02 ·9· · · · · · Q.· So we're showing you what's been
02:02 10· · identified as Exhibit 7.· Please take a look at it,
02:02 11· · and let me know when you're done.
02:02 12· · · · · · A.· Okay.
02:02 13· · · · · · Q.· Do you recognize what that is?
02:03 14· · · · · · A.· Yes.
02:03 15· · · · · · Q.· Can you tell me?
02:03 16· · · · · · A.· It's an email correspondence with Julie
02:03 17· · Weaver regarding my flex work agreement draft.
02:03 18· · · · · · Q.· Is there more than one email on that page?
02:03 19· · · · · · A.· There is.
02:03 20· · · · · · Q.· How many would you say are there?
02:03 21· · · · · · A.· Three.
02:03 22· · · · · · Q.· Do you remember having that exchange?
02:03 23· · · · · · A.· Yes.
02:03 24· · · · · · Q.· And what's the date of your email at the
02:03 25· · top, the last one in the sequence?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:03 ·2· · · · · · A.· July 13, 2017.
02:03 ·3· · · · · · Q.· So do you have a recollection of doing the
02:03 ·4· · drafting of that agreement around that time?
02:03 ·5· · · · · · A.· Yes.
02:03 ·6· · · · · · Q.· I'm asking you just because of the fact
02:03 ·7· · that you didn't sign it until August 28th, and I want
02:03 ·8· · to make sure that that discussion in July was -- led
02:03 ·9· · to your August 28th signing.
02:03 10· · · · · · · · Would you agree with me that that's part
02:04 11· · of the same process?
02:04 12· · · · · · A.· Yes.
02:04 13· · · · · · Q.· Okay.· That's just what I wanted to
02:04 14· · clarify.· Thank you.
02:04 15· · · · · · · · Before I move forward chronologically, I
02:04 16· · just wanted to step back.
02:04 17· · · · · · · · In paragraph 98 of your Complaint, talking
02:04 18· · about Lindsay, you said that she steadfastly refused
02:04 19· · to remove sensitive medical information from your
02:04 20· · records at your request.
02:04 21· · · · · · · · What did you mean by that?
02:04 22· · · · · · A.· As part of my documented peer review, she
02:04 23· · included sensitive medical information.
02:04 24· · · · · · Q.· What was that medical information?
02:04 25· · · · · · A.· Denise has had a lot going on this year,




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:04 ·2· · Denise has specific challenges and etcetera.· It was
02:04 ·3· · wording referencing and alluding to my medical
02:05 ·4· · condition.
02:05 ·5· · · · · · Q.· Did she name your medical condition?
02:05 ·6· · · · · · A.· She did not name it.
02:05 ·7· · · · · · Q.· According to paragraph 100 of your
02:05 ·8· · Complaint, that information was ultimately removed?
02:05 ·9· · · · · · A.· Several months later.
02:05 10· · · · · · Q.· Who at Cornell processed its removal?
02:05 11· · · · · · A.· I sought the help of the office of
02:05 12· · workforce labor and policy relations.
02:05 13· · · · · · Q.· Do you remember a person there
02:05 14· · particularly that helped you?
02:05 15· · · · · · A.· Yes.· Shan Varma.
02:06 16· · · · · · Q.· By the way, going back to your
02:06 17· · accommodations for a moment, we talked about on
02:06 18· · Exhibit 6 there were three items:· Flexible hours,
02:06 19· · flexible space, reduced hours.
02:06 20· · · · · · · · Was there anything else you had requested
02:06 21· · that didn't end up being granted to you by way of
02:06 22· · accommodation?
02:06 23· · · · · · A.· Not that I recall.
02:06 24· · · · · · Q.· In paragraph 103 of your Complaint you
02:06 25· · report that you received an email from Ms. Allen which




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:06 ·2· · harshly and unfairly criticized your work performance,
02:06 ·3· · and you thought that it wasn't an email that was meant
02:07 ·4· · for you.
02:07 ·5· · · · · · · · What in it was an unfair criticism of your
02:07 ·6· · work performance?
02:07 ·7· · · · · · A.· Cindy had sent an email to Tammy
02:07 ·8· · accidentally including me and stated that I was not
02:07 ·9· · thinking about what I was doing.· And I think she was
02:07 10· · attempting to give an example.
02:07 11· · · · · · Q.· So in that email she gave an example of a
02:07 12· · specific project?
02:07 13· · · · · · A.· It was a specific data point that I used
02:07 14· · in a submission for a ranking or survey.
02:07 15· · · · · · Q.· Did you disagree with her assessment?
02:07 16· · · · · · A.· Yes.
02:07 17· · · · · · Q.· Did you think you had made the right
02:07 18· · choice regarding the project?
02:07 19· · · · · · A.· Yes.
02:07 20· · · · · · Q.· You say in paragraph 104 of your Complaint
02:07 21· · that it became evident to you that the management team
02:08 22· · was speaking about your performance behind your back.
02:08 23· · · · · · A.· Yes.
02:08 24· · · · · · Q.· Why is that remarkable to you?
02:08 25· · · · · · A.· It's remarkable to me because I had




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:08 ·2· · repeatedly asked for feedback in person to myself but
02:08 ·3· · was not granted that opportunity.
02:08 ·4· · · · · · · · And it seemed to ramp up after I told them
02:08 ·5· · I was going to be filing for a formal accommodation.
02:08 ·6· · · · · · Q.· You did have a performance evaluation
02:08 ·7· · meeting with Ms. Lindsay earlier that summer; right?
02:08 ·8· · · · · · A.· Yes.
02:08 ·9· · · · · · Q.· Did she relay at that performance
02:08 10· · evaluation meeting criticisms of your performance?
02:08 11· · · · · · A.· Yes.
02:09 12· · · · · · Q.· What were the criticisms then?
02:09 13· · · · · · A.· In general, they were very general
02:09 14· · criticisms that I was taking too many personal phone
02:09 15· · calls, and I forget the other statements.
02:09 16· · · · · · Q.· Were there any criticisms about your work
02:09 17· · on specific projects?
02:09 18· · · · · · A.· No, not that I recall.
02:09 19· · · · · · Q.· Paragraph 106 of the Complaint you've
02:09 20· · stated that after, I guess, realizing the email went
02:09 21· · to you, Ms. Allen approached you and apologized.
02:10 22· · · · · · · · Do you remember that?
02:10 23· · · · · · A.· Yes.
02:10 24· · · · · · Q.· Where were you at the time?
02:10 25· · · · · · A.· In my office in Statler Hall.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:10 ·2· · · · · · Q.· How did Ms. Allen broach that conversation
02:10 ·3· · with you?
02:10 ·4· · · · · · A.· She came in.· She approached me.· She
02:10 ·5· · admitted that that email was not meant for me, and she
02:10 ·6· · apologized.· And we continued the discussion.
02:10 ·7· · · · · · Q.· Did you discuss her perception of your
02:10 ·8· · deficiencies?
02:10 ·9· · · · · · A.· Yes.
02:10 10· · · · · · Q.· And did she give you specific examples of
02:10 11· · what she was concerned about?
02:10 12· · · · · · A.· She did not, but I requested them.
02:10 13· · · · · · Q.· After you requested, did she provide them?
02:10 14· · · · · · A.· She did not.
02:10 15· · · · · · Q.· How long was that discussion?
02:10 16· · · · · · A.· It was about a 10-to-15-minute discussion,
02:10 17· · because I had to leave for an appointment.
02:11 18· · · · · · Q.· But you spoke 10 to 15 minutes; and yet,
02:11 19· · she never explained her criticisms of your work?
02:11 20· · · · · · A.· Yeah.· No, there was no work-related
02:11 21· · conversation specifically in that conversation.
02:11 22· · · · · · Q.· What did you talk about for 10 or 15
02:11 23· · minutes?· After she apologized -- you said she did
02:11 24· · that at the outset -- what's the rest of that
02:11 25· · conversation?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:11 ·2· · · · · · A.· I asked Cindy if she thought it was fair
02:11 ·3· · how Tammy had been treating me and denying my
02:11 ·4· · accommodations.
02:11 ·5· · · · · · · · And she stated, "Do you think it's fair
02:11 ·6· · that you copied Amanda Shaw on this email?"
02:11 ·7· · · · · · · · And I said, "Yes, I think it's fair,
02:11 ·8· · because Amanda has had some oversight of my work.· She
02:11 ·9· · knows why I used this data point, and I would hope
02:11 10· · that she would defend me if asked."
02:11 11· · · · · · Q.· At that point in time was Amanda Shaw one
02:11 12· · of your co-workers?
02:11 13· · · · · · A.· She was a co-worker, a colleague who had
02:11 14· · some oversight for final data prior to being submitted
02:12 15· · to Rankings and Surveys.
02:12 16· · · · · · Q.· Was she part of the analytics team?
02:12 17· · · · · · A.· She was not.
02:12 18· · · · · · Q.· Did she ever get involved in defending
02:12 19· · you --
02:12 20· · · · · · A.· Never.
02:12 21· · · · · · Q.· -- with Allen?
02:12 22· · · · · · A.· Never.
02:12 23· · · · · · Q.· Did you ever talk to her about it?
02:12 24· · · · · · A.· Not directly.
02:12 25· · · · · · Q.· Did you talk to her indirectly?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:12 ·2· · · · · · A.· I had a co-worker reach out to her and ask
02:12 ·3· · her for help, essentially.
02:12 ·4· · · · · · Q.· Who was the co-worker?
02:12 ·5· · · · · · A.· Sarah Miller.
02:12 ·6· · · · · · Q.· And did Sarah reach out to Amanda?
02:12 ·7· · · · · · A.· Yes.
02:12 ·8· · · · · · Q.· What was Amanda's response to Sarah
02:12 ·9· · reaching out?
02:12 10· · · · · · A.· I believe the response was there was
02:12 11· · nothing she could do.
02:12 12· · · · · · Q.· To your recollection, in a hierarchical
02:13 13· · sense where was Amanda relative to, say, Tammy or
02:13 14· · Cindy?· Was she their superior?· Was she parallel?
02:13 15· · Was she lower than them?
02:13 16· · · · · · A.· It was either parallel or higher.
02:13 17· · · · · · Q.· But not necessarily -- like, Lucinda or
02:13 18· · Tammy wouldn't have been direct reports to Amanda?
02:13 19· · · · · · A.· No.
02:13 20· · · · · · Q.· Would not have been?
02:13 21· · · · · · A.· No.· Different department.· Different
02:13 22· · reporting lines.
02:13 23· · · · · · Q.· You also say in paragraph 106 that you say
02:13 24· · you were -- I'm sorry.· You say that Ms. Allen said to
02:13 25· · you that she thought you were making a lot of mistakes




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:13 ·2· · due to your accommodations.
02:13 ·3· · · · · · A.· Yes.
02:13 ·4· · · · · · Q.· Did that come up in that 10-to-15-minute
02:13 ·5· · conversation?
02:13 ·6· · · · · · A.· It did.
02:13 ·7· · · · · · Q.· How did she phrase that to you?
02:13 ·8· · · · · · A.· When I asked her if she thought it was
02:13 ·9· · fair that Tammy was denying my accommodations, she
02:13 10· · claimed that she disagreed with that, Tammy was not
02:14 11· · denying me anything.· "And besides, I think you're
02:14 12· · making a lot of mistakes because of your
02:14 13· · accommodations."
02:14 14· · · · · · Q.· Did she explain what that means?
02:14 15· · · · · · A.· No.
02:14 16· · · · · · Q.· During your 10-to-15-minute conversation
02:14 17· · with Lucinda Allen, did she agree to provide more
02:14 18· · information about performance deficiencies at a future
02:14 19· · date?
02:14 20· · · · · · A.· Yes.
02:14 21· · · · · · Q.· Did she ever do that?
02:14 22· · · · · · A.· She did not.
02:14 23· · · · · · Q.· I'm sorry.· Let me rephrase that.
02:14 24· · · · · · · · Did she ever provide that information?
02:14 25· · · · · · A.· She did not.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:14 ·2· · · · · · Q.· In paragraph 109 of your Complaint you
02:14 ·3· · then talk about a subsequent meeting with Weaver,
02:15 ·4· · which appears to be you going to complain about how
02:15 ·5· · Allen and Lindsay are treating you.
02:15 ·6· · · · · · · · Do you remember that meeting?
02:15 ·7· · · · · · A.· Yes.· I think that's why I had to abruptly
02:15 ·8· · end the conversation with Cindy and go to the meeting
02:15 ·9· · with Julie.
02:15 10· · · · · · Q.· It was scheduled already?
02:15 11· · · · · · A.· It was scheduled already, yep.
02:15 12· · · · · · Q.· So what was discussed during that meeting?
02:15 13· · · · · · A.· I gave her an update on, for example, what
02:15 14· · Cindy had just claimed, that I was making mistakes due
02:15 15· · to my accommodations.· In general, the failure for
02:15 16· · them to accept and allow me to use accommodations.
02:15 17· · · · · · Q.· And that had been scheduled even before
02:15 18· · your conversation with Allen?
02:15 19· · · · · · A.· I believe, yes.· Yeah, I know it was on my
02:15 20· · calendar, and I had to leave, yep.
02:15 21· · · · · · Q.· So you were prepared to complain to Weaver
02:15 22· · even before Allen came in to have that discussion --
02:15 23· · · · · · A.· Yes.
02:16 24· · · · · · Q.· -- with her apology?
02:16 25· · · · · · A.· Yes.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:16 ·2· · · · · · · · MS. VINCI:· Just allow him to get his full
02:16 ·3· · question out for the transcript's sake.
02:16 ·4· · · · · · Q.· In your conversation with Weaver, did she
02:16 ·5· · really tell you to be less defensive with management?
02:16 ·6· · · · · · A.· Yes, she did.
02:16 ·7· · · · · · Q.· What was the context for her telling you
02:16 ·8· · that?
02:16 ·9· · · · · · A.· She thought my response to that email and
02:16 10· · copying Amanda was defensive.
02:16 11· · · · · · Q.· Jumping over to another document, but same
02:17 12· · topic.· I'm looking at the responses that you gave to
02:17 13· · the interrogatories that we served a while back
02:17 14· · through your attorney.
02:17 15· · · · · · · · And one of the things you describe
02:17 16· · regarding Allen after she mistakenly sent you an
02:17 17· · email -- this is in that context -- upon information
02:17 18· · and belief, you believe that Lindsay and Allen were
02:17 19· · attempting to create performance issues to discredit
02:17 20· · you and cause you reputational harm.
02:17 21· · · · · · · · What leads you to believe that they were
02:17 22· · doing it to -- first of all, that they were attempting
02:17 23· · to create performance issues?
02:17 24· · · · · · A.· In my performance review Tammy had made
02:17 25· · false statements about my performance.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:18 ·2· · · · · · Q.· Why were they false?
02:18 ·3· · · · · · A.· They were untrue.
02:18 ·4· · · · · · Q.· I mean that less rhetorically.· What about
02:18 ·5· · them was untrue?
02:18 ·6· · · · · · A.· She claimed that I was making too many
02:18 ·7· · personal phone calls.· I was not.· She claimed that I
02:18 ·8· · was using too much HAP time outside of my medical.                I
02:18 ·9· · was not.
02:18 10· · · · · · Q.· And why is it that you believe she was
02:18 11· · doing it for the purpose of discrediting you?
02:18 12· · · · · · A.· I don't know that.· That was just my
02:18 13· · feeling.
02:18 14· · · · · · Q.· Did Allen or Lindsay ever say anything to
02:18 15· · you about their intention to discredit you?
02:19 16· · · · · · A.· There was intent to discredit my
02:19 17· · promotion.
02:19 18· · · · · · Q.· But I'm asking if they specifically said
02:19 19· · things that identified that they were pointing out
02:19 20· · criticisms of you for the purposes of discrediting
02:19 21· · you.· Did they say anything to that effect?
02:19 22· · · · · · A.· No.
02:19 23· · · · · · Q.· Also in July of 2017, based on your
02:19 24· · paragraph 111 of the Complaint, you filed a
02:20 25· · discrimination complaint; is that a fair way to phrase




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     ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:20 ·2· · it?
02:20 ·3· · · · · · A.· Internally at Cornell?
02:20 ·4· · · · · · Q.· Internally at Cornell.
02:20 ·5· · · · · · A.· Yes.· Around July 13th I sent an email to
02:20 ·6· · HR outlining chronologically all of the behavior to
02:20 ·7· · date, and I gave them email examples.
02:20 ·8· · · · · · Q.· Who did you send it to?
02:20 ·9· · · · · · A.· Julie Weaver, and I believe I copied Kathy
02:20 10· · Doxey.
02:20 11· · · · · · Q.· Did they ever follow up with you on that
02:20 12· · complaint?
02:20 13· · · · · · A.· I don't recall.
02:20 14· · · · · · Q.· Based on the timeline for your discussions
02:20 15· · on your third flex agreement, were any of the
02:21 16· · conversations about the flex agreement -- I'm sorry.
02:21 17· · · · · · · · In any of these conversations was there
02:21 18· · any discussion about your complaint of discrimination?
02:21 19· · · · · · A.· I don't recall having discussions about my
02:21 20· · flex agreement other than those emails with Julie.
02:21 21· · · · · · Q.· Well, you said at some point in the
02:21 22· · summer -- and I'll let you correct me on the date --
02:21 23· · that you had a meeting with four people -- four other
02:21 24· · people.· And I thought that was about the flex
02:21 25· · agreement we were talking about.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:21 ·2· · · · · · A.· That was in August, and it was the
02:21 ·3· · accommodations that we met about.
02:21 ·4· · · · · · Q.· But in none of those communications was
02:21 ·5· · there any additional communication about your
02:21 ·6· · discrimination complaint?
02:21 ·7· · · · · · A.· I did have a meeting with Kathy Doxey at
02:21 ·8· · some point.· I don't recall the date.
02:21 ·9· · · · · · Q.· Well, right now I'm focusing still in that
02:22 10· · July to August time frame.
02:22 11· · · · · · A.· Okay.
02:22 12· · · · · · Q.· Continuing chronologically through your
02:22 13· · Complaint, you state that even after you had been
02:22 14· · approved for accommodations in July, which came on the
02:22 15· · August 2nd letter formally, that Lindsay continued to
02:22 16· · ignore your requested accommodations.
02:22 17· · · · · · · · So what was she doing in, let's say, the
02:22 18· · latter part of July and into August that was denying
02:22 19· · you use of your accommodations?
02:22 20· · · · · · A.· I would send her a request for
02:23 21· · accommodation by email, and she would not respond.
02:23 22· · · · · · Q.· What kind of request would come by email?
02:23 23· · Just give me an example.
02:23 24· · · · · · A.· Example, I need to take a few hours off
02:23 25· · this morning, not feeling well.· Or I have to leave at




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:23 ·2· · 2 p.m. for a doctor's appointment.· That sort of
02:23 ·3· · thing.
02:23 ·4· · · · · · Q.· If she gave you no response, how did you
02:23 ·5· · react?
02:23 ·6· · · · · · A.· I took that time anyway.
02:23 ·7· · · · · · Q.· And did your taking of that time get
02:23 ·8· · reflected in your time card for the week?
02:23 ·9· · · · · · A.· Yes.
02:23 10· · · · · · Q.· Were those approved?
02:23 11· · · · · · A.· Yes.
02:23 12· · · · · · Q.· But she wouldn't talk to you about it?
02:23 13· · · · · · A.· Correct.
02:23 14· · · · · · Q.· And by "she," I mean Lindsay.
02:23 15· · · · · · A.· Yes.
02:23 16· · · · · · Q.· Now, in paragraph 119 you state on or
02:23 17· · about August of 2017 -- so I don't have a day here --
02:24 18· · you had a meeting with HR, Lindsay and Allen regarding
02:24 19· · the complaints of discrimination.
02:24 20· · · · · · · · Do you remember doing that in August?
02:24 21· · · · · · A.· It would have been part of the same
02:24 22· · meeting where we discussed my accommodations.
02:24 23· · · · · · Q.· You state in paragraph 120 of your
02:24 24· · Complaint that Lindsay looked annoyed at having to
02:24 25· · participate.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:24 ·2· · · · · · A.· Yes.
02:24 ·3· · · · · · Q.· Would you recall that being the same
02:24 ·4· · meeting as you were talking about accommodations?
02:24 ·5· · · · · · A.· Yes, it was.
02:24 ·6· · · · · · Q.· And you quote her saying here, "Do we
02:24 ·7· · really need to do this?"
02:24 ·8· · · · · · · · Do you remember that?
02:24 ·9· · · · · · A.· Yes.
02:24 10· · · · · · Q.· So I also want to clarify with you in
02:24 11· · paragraph 121 you state that Lindsay said, quote,
02:24 12· · "enough accommodation," unquote, had already been
02:25 13· · given and that they were, quote, "running a business,"
02:25 14· · unquote.
02:25 15· · · · · · · · Those are specifically the words you heard
02:25 16· · out of Lindsay's mouth?
02:25 17· · · · · · A.· Yes.
02:25 18· · · · · · Q.· Now, you say here, paragraph 122, that HR
02:25 19· · then asked a question.· This had to do with reaching
02:25 20· · out to medical leave.· But who's HR in this context?
02:25 21· · What representatives of HR were in your August 2017
02:25 22· · meeting?
02:25 23· · · · · · A.· Kathy Doxey and Julie Weaver.
02:25 24· · · · · · Q.· So when you say, "HR asked Lindsay if she
02:25 25· · would like HR to reach out to medical leave," do you




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:25 ·2· · remember what human being did that?
02:25 ·3· · · · · · A.· I believe it was Kathy Doxey.
02:26 ·4· · · · · · Q.· And in response to that discussion, did
02:26 ·5· · medical leaves get involved again in your situation?
02:26 ·6· · · · · · A.· I do not know.
02:26 ·7· · · · · · Q.· You state in paragraph 124 of your
02:26 ·8· · Complaint that Defendant -- unclear who you're really
02:26 ·9· · talking about here -- allowed Ms. Allen to interrogate
02:26 10· · you as to your need for medical accommodations,
02:26 11· · forcing you to disclose personal details about your
02:26 12· · medical condition.
02:26 13· · · · · · · · Describe that for me.· Did that take place
02:26 14· · during the August meeting we've been talking about?
02:26 15· · · · · · A.· Yes.
02:26 16· · · · · · Q.· So how did Ms. Allen interrogate you?
02:26 17· · · · · · A.· Ms. Allen said, "Why would anyone need to
02:26 18· · start that early in the morning?"
02:26 19· · · · · · · · I had tried to flex my time anywhere from
02:26 20· · 6, maybe, or earlier.· And she was pushing back on
02:27 21· · that, saying, "Why would anyone need to start that
02:27 22· · early in the morning?"
02:27 23· · · · · · · · So I explained my medical reasons for
02:27 24· · needing to start that early in the morning.· I would
02:27 25· · sometimes return home from work around 5 p.m. and go




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:27 ·2· · straight to bed from exhaustion and fatigue and then
02:27 ·3· · wake up early in the morning and want to get some work
02:27 ·4· · done.
02:27 ·5· · · · · · Q.· Would that be work that you wanted to get
02:27 ·6· · done at home, or would you want to come to your campus
02:27 ·7· · workplace early?
02:27 ·8· · · · · · A.· It would have been remote work at home.
02:27 ·9· · · · · · Q.· And in paragraph 125 you mention at that
02:27 10· · same meeting Allen rolled her eyes at your statement.
02:27 11· · · · · · · · Do you remember that?
02:27 12· · · · · · A.· Yes.
02:27 13· · · · · · Q.· Do you happen to remember specifically
02:27 14· · what it was you said right before she rolled her eyes?
02:28 15· · · · · · A.· I had just described why I needed to start
02:28 16· · work early.
02:28 17· · · · · · · · MR. WOLAN:· Five-minute break?
02:28 18· · · · · · · · MS. VINCI:· Sure.
02:28 19· · · · · · · · THE VIDEOGRAPHER:· The time is 2:28.
02:28 20· · We're off the record.
02:28 21· · · · · · (The proceeding recessed at 2:28 p.m.)
02:33 22· · · · · · (The proceeding reconvened at 2:33 p.m.;
02:33 23· · · · · · appearances as before noted.)
02:33 24· · · · · · · · THE VIDEOGRAPHER:· The time is 2:33.
02:33 25· · We're back on the record.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:33 ·2· · DENISE PAYNE, resumes;
02:33 ·3· · · · · · CONTINUING EXAMINATION BY MR. WOLAN:
02:33 ·4· · · · · · Q.· Ms. Payne, you state in 127 of your
02:34 ·5· · Complaint that on or about September 12, 2017 you
02:34 ·6· · notified HR that you had filed an inquiry with the
02:34 ·7· · EEOC related to disability discrimination.
02:34 ·8· · · · · · · · First, what do you mean by "filed an
02:34 ·9· · inquiry with the EEOC"?
02:34 10· · · · · · A.· It's a specific filing with the EEOC.
02:34 11· · Rather than filing a complaint, you check the box for
02:34 12· · inquiry, where you are allowed to discuss the matter
02:34 13· · with a representative to determine if it is a
02:34 14· · complaint.
02:34 15· · · · · · Q.· Did you have the opportunity to do that?
02:34 16· · · · · · A.· Yes.
02:34 17· · · · · · Q.· When did you have that conversation?
02:34 18· · · · · · A.· I believe it was in September of 2017.
02:34 19· · · · · · Q.· Well, you state that you notified HR on
02:34 20· · September 12th.· When did you file that inquiry?· Also
02:34 21· · in September?
02:34 22· · · · · · A.· No, in August of 2017.
02:35 23· · · · · · Q.· Did that inquiry turn into your EEOC
02:35 24· · complaint?
02:35 25· · · · · · A.· I don't recall if we used the same




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:35 ·2· · complaint number or if I had to generate a new one.               I
02:35 ·3· · don't remember.
02:35 ·4· · · · · · Q.· In your August 2017 inquiry, what facts do
02:35 ·5· · you remember laying out for the EEOC so that you could
02:35 ·6· · discuss them?
02:35 ·7· · · · · · A.· Failure to accommodate; in general,
02:35 ·8· · hostile treatment and behavior, retaliation.· That's
02:35 ·9· · what I recall.
02:35 10· · · · · · Q.· All right.· And I understand your use of
02:35 11· · all those general terms, but I'm really looking for
02:35 12· · specific actions or omissions on the part of Cornell
02:35 13· · employees that would have been the basis of your
02:36 14· · inquiry.
02:36 15· · · · · · · · Do you remember what you put in?
02:36 16· · · · · · A.· It's along the lines of what we've been
02:36 17· · discussing already.· Requests for accommodation that
02:36 18· · were denied, forced to use vacation time and not
02:36 19· · allowed to work when I wanted to work.· Issues with my
02:36 20· · time card being adjusted and withholding of
02:36 21· · catastrophic leave donation.· I don't recall what
02:36 22· · else.
02:36 23· · · · · · Q.· So when you say you notified -- I'm
02:36 24· · looking at paragraph 127 again.
02:36 25· · · · · · · · When you say you notified HR that you had




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:36 ·2· · filed this inquiry, who at HR were you communicating
02:36 ·3· · with?
02:36 ·4· · · · · · A.· I believe that was Julie Weaver.
02:36 ·5· · · · · · Q.· Now, you say in paragraph 128 that on the
02:36 ·6· · very next day you received a meeting invitation from
02:36 ·7· · the Associate Dean of HR.
02:37 ·8· · · · · · · · Do you remember receiving that invitation?
02:37 ·9· · · · · · A.· Yes.
02:37 10· · · · · · Q.· Prior to that, had you ever met with the
02:37 11· · Associate Dean of HR and Finance?
02:37 12· · · · · · A.· Yes.
02:37 13· · · · · · Q.· In what context did you meet with her?
02:37 14· · · · · · A.· When I accepted the position as a data
02:37 15· · analyst for the business analytics team, we had a
02:37 16· · kickoff meeting at some yacht club or something in
02:37 17· · Ithaca.
02:37 18· · · · · · · · And Laura Syer made an appearance that
02:37 19· · day, and she discussed what she wanted for the team,
02:37 20· · what her goals and essentially dreams were for this
02:37 21· · department.
02:37 22· · · · · · Q.· Do you have a recollection of what she
02:37 23· · said?
02:37 24· · · · · · A.· Not specifically.
02:37 25· · · · · · Q.· Did anything that Ms. Syer said during




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:37 ·2· · that kickoff touch on what you were going to be doing
02:38 ·3· · specifically?
02:38 ·4· · · · · · A.· Yes.
02:38 ·5· · · · · · Q.· So to the extent that it might have spoken
02:38 ·6· · to you, do you remember any of the context -- or any
02:38 ·7· · of the content of what she was saying?
02:38 ·8· · · · · · A.· In general, I was interested in being able
02:38 ·9· · to utilize the data to make business decisions, create
02:38 10· · dashboards, analyze data statistically.· Those were
02:38 11· · all my interests, and that's the basis of the team,
02:38 12· · essentially.
02:38 13· · · · · · Q.· By the way, and this will step way back
02:38 14· · into -- you've mentioned it a few times now, but I
02:38 15· · think I understand what you mean when you say
02:38 16· · dashboard.· But could you explain what you mean by
02:38 17· · that for the record?
02:38 18· · · · · · A.· Yes.· A dashboard is generally a place
02:38 19· · where an individual can go to see data represented in
02:38 20· · various ways and perhaps manipulate the data, see
02:39 21· · graphs and visual representations differently.
02:39 22· · · · · · Q.· And we're talking about data that would
02:39 23· · have been provided by the person viewing the
02:39 24· · dashboard?
02:39 25· · · · · · A.· Not necessarily.· It would be collected




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:39 ·2· · from a number of different sources.
02:39 ·3· · · · · · Q.· So after you received your meeting
02:39 ·4· · invitation from Dean Syer -- that's S-Y-E-R -- what
02:39 ·5· · did you do?
02:39 ·6· · · · · · A.· I believe I denied the meeting request.
02:39 ·7· · · · · · Q.· Why?
02:39 ·8· · · · · · A.· I wasn't comfortable with the timing of
02:39 ·9· · it.· I didn't -- and I wanted to understand what the
02:39 10· · meeting was about before I walked into it.
02:39 11· · · · · · Q.· So did you take any steps to find out what
02:39 12· · it was going to be about?
02:39 13· · · · · · A.· I did.
02:39 14· · · · · · Q.· What did you do?
02:39 15· · · · · · A.· I emailed Kathy Doxey and set up a meeting
02:40 16· · with her.
02:40 17· · · · · · Q.· Did that meeting take place?
02:40 18· · · · · · A.· Yes.
02:40 19· · · · · · Q.· Who was at that meeting?
02:40 20· · · · · · A.· Myself and Kathy Doxey.
02:40 21· · · · · · Q.· What did you learn at that meeting about
02:40 22· · the proposed meeting with Dean Syer?
02:40 23· · · · · · A.· Kathy explained that it would be a summary
02:40 24· · of the upcoming projects, update on the structure of
02:40 25· · the team, roles, responsibilities.




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     ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:40 ·2· · · · · · Q.· You state in your Complaint at paragraph
02:40 ·3· · 130 that at the point of having the meeting with
02:40 ·4· · Ms. Doxey around September 15, 2017, that Lindsay was
02:41 ·5· · barely speaking to you.
02:41 ·6· · · · · · · · Do you remember that?
02:41 ·7· · · · · · A.· Yes.
02:41 ·8· · · · · · Q.· How would you characterize barely speaking
02:41 ·9· · to you?· Because you've really testified that there
02:41 10· · were routine exchanges of emails and such.· So I want
02:41 11· · to understand what you mean now by it having dropped
02:41 12· · off to barely speaking to you.
02:41 13· · · · · · A.· She would arrive in the morning and mumble
02:41 14· · "good morning" to me and then likely not speak to me
02:41 15· · for the rest of the day.
02:41 16· · · · · · Q.· What about discussions of projects?
02:41 17· · · · · · A.· If I had a question, I would ask her.· If
02:41 18· · she had a question for me, she would ask me or email
02:41 19· · me.
02:41 20· · · · · · Q.· Were those email communications about
02:41 21· · projects less frequent than they had been previously?
02:41 22· · · · · · A.· Seemed to be more frequent.
02:41 23· · · · · · Q.· So what dropped off were in-person
02:41 24· · conversations?
02:41 25· · · · · · A.· Yes.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:42 ·2· · · · · · Q.· Now, you pointed out the reduced speaking
02:42 ·3· · by Ms. Lindsay to Ms. Doxey; right?
02:42 ·4· · · · · · A.· I did.
02:42 ·5· · · · · · Q.· How did she respond to that observation?
02:42 ·6· · · · · · A.· Ms. Doxey alerted me that I was no longer
02:42 ·7· · reporting to Tammy Lindsay, and that could explain why
02:42 ·8· · she had dropped off communication with me.
02:42 ·9· · · · · · Q.· Did you know at the time that that was
02:42 10· · disclosed to you that you weren't reporting to Tammy
02:42 11· · Lindsay anymore?
02:42 12· · · · · · A.· No.
02:42 13· · · · · · Q.· Do you know how long it had been that you
02:42 14· · officially weren't reporting to Tammy Lindsay?
02:42 15· · · · · · A.· No.
02:42 16· · · · · · Q.· All the way up to today, have you ever had
02:42 17· · a date told to you about when Lindsay's status as your
02:42 18· · supervisor ceased?
02:42 19· · · · · · A.· No, but I believe it was several weeks
02:43 20· · prior to that meeting.
02:43 21· · · · · · Q.· What makes you believe it was several
02:43 22· · weeks?
02:43 23· · · · · · A.· It may have coincided with Ms. Lindsay not
02:43 24· · responding to my request for accommodation.
02:43 25· · · · · · Q.· So you're personally drawing that




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:43 ·2· · conclusion?
02:43 ·3· · · · · · A.· Yes.
02:43 ·4· · · · · · Q.· Did you discuss at your September 15, 2017
02:43 ·5· · meeting with Ms. Doxey your EEOC complaint?
02:43 ·6· · · · · · A.· Yes.
02:43 ·7· · · · · · Q.· Did you tell her anything about it?
02:43 ·8· · · · · · A.· Yes.
02:43 ·9· · · · · · Q.· What did you tell her?
02:43 10· · · · · · A.· I can't remember who brought it up; but we
02:43 11· · discussed that it existed, that it was ongoing.· And
02:43 12· · she asked me what I wanted out of it.
02:44 13· · · · · · Q.· What was your response to that?
02:44 14· · · · · · A.· I stated that I wanted to be treated
02:44 15· · fairly, paid fairly, and I didn't want this to happen
02:44 16· · to anybody else.
02:44 17· · · · · · Q.· Do you recall how long your September 15,
02:44 18· · 2017 meeting was with Ms. Doxey?
02:44 19· · · · · · A.· I would say half an hour.
02:44 20· · · · · · Q.· What else did you discuss in that time
02:44 21· · besides what you've already told us about?
02:44 22· · · · · · A.· We discussed my salary, lack of a job
02:44 23· · description.· I asked her specific questions on how
02:44 24· · salaries are determined, if it was based on prior
02:44 25· · experience and skills, which she confirmed it was.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:45 ·2· · · · · · · · She stated that I could be receiving back
02:45 ·3· · pay once they did adjust my salary to the appropriate
02:45 ·4· · place.
02:45 ·5· · · · · · Q.· Did the two of you discuss why your salary
02:45 ·6· · was inappropriate?
02:45 ·7· · · · · · A.· I don't recall.
02:45 ·8· · · · · · Q.· To your recollection right now, did you
02:45 ·9· · ever get any kind of retroactive pay?
02:45 10· · · · · · A.· No, I did not.
02:45 11· · · · · · Q.· In that meeting on September 15, 2017 with
02:45 12· · Ms. Doxey, did you discuss a specific pay level that
02:45 13· · you thought you should be at?
02:45 14· · · · · · A.· I do not recall.
02:46 15· · · · · · Q.· Did you discuss why it was Dean Syer
02:46 16· · wanted to have a meeting with you?
02:46 17· · · · · · · · MS. VINCI:· Objection.
02:46 18· · · · · · · · You can answer.
02:46 19· · · · · · A.· I'm sorry.· Can you restate that?
02:46 20· · · · · · Q.· At your meeting with Ms. Doxey on
02:46 21· · September 15, 2017, did she provide you with
02:46 22· · information about why Dean Syer had sent you a meeting
02:46 23· · invitation?
02:46 24· · · · · · A.· Yes.
02:46 25· · · · · · Q.· And what was that?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:46 ·2· · · · · · A.· To discuss the upcoming projects for
02:46 ·3· · business analytics, roles and responsibilities,
02:46 ·4· · etcetera.
02:46 ·5· · · · · · Q.· Did she specify anything regarding your
02:46 ·6· · particular role at that point in time?
02:46 ·7· · · · · · A.· She did not.
02:46 ·8· · · · · · Q.· Did you ultimately meet with Dean Syer?
02:46 ·9· · · · · · A.· Yes.
02:46 10· · · · · · Q.· Do you recall when?
02:46 11· · · · · · A.· Sometime shortly thereafter in September.
02:46 12· · · · · · Q.· Was anybody at that meeting besides you
02:47 13· · and Dean Syer?
02:47 14· · · · · · A.· Yes.
02:47 15· · · · · · Q.· Who else?
02:47 16· · · · · · A.· Julie Weaver was there, Cindy Allen and
02:47 17· · Tammy Lindsay.
02:47 18· · · · · · Q.· What was discussed during that meeting
02:47 19· · with Dean Syer?
02:47 20· · · · · · A.· Dean Syer gave a presentation of the
02:47 21· · upcoming projects that we would be taking on as a team
02:47 22· · and the additional staff that she wanted to add to the
02:47 23· · team and -- yeah, that's what I recall.
02:47 24· · · · · · Q.· You state in paragraph 137 of your
02:47 25· · Complaint that after the meeting with Dean Syer,




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:47 ·2· · Lindsay began to speak with you again.
02:47 ·3· · · · · · · · How did her interactions with you change
02:47 ·4· · at that point in time?
02:48 ·5· · · · · · A.· She seemed to want to be involved in
02:48 ·6· · micromanaging my day-to-day work again.
02:48 ·7· · · · · · Q.· Were you told that she was resuming her
02:48 ·8· · role as your supervisor?
02:48 ·9· · · · · · A.· I was told that she was expressly not my
02:48 10· · supervisor.
02:48 11· · · · · · Q.· But yet, you perceived her as attempting
02:48 12· · to manage your work more?
02:48 13· · · · · · A.· Correct.
02:48 14· · · · · · Q.· If she wasn't your supervisor, what would
02:48 15· · her role have been in working with you?
02:48 16· · · · · · A.· I was told that her role was to confirm
02:48 17· · and verify the data that I collected prior to
02:48 18· · submission for Rankings and Surveys.
02:48 19· · · · · · Q.· Who was your supervisor after Ms. Lindsay
02:48 20· · ceased in that role?
02:48 21· · · · · · A.· First it was Cindy Allen, and then Cindy
02:48 22· · Allen gave notice and left in October.
02:49 23· · · · · · Q.· Of 2017?
02:49 24· · · · · · A.· Of 2017.· And then I reported directly to
02:49 25· · Laura Syer.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:49 ·2· · · · · · Q.· Did the meeting with Dean Syer take place
02:49 ·3· · in September of 2017?
02:49 ·4· · · · · · A.· I believe it was, yes.
02:49 ·5· · · · · · Q.· So by October of 2017, Lindsay is not
02:50 ·6· · supervising you, and Allen sometime in October ceases
02:50 ·7· · supervising you; correct?
02:50 ·8· · · · · · A.· Correct.
02:50 ·9· · · · · · Q.· From October until the end of 2017, what,
02:50 10· · if any, accommodations are you making use of?
02:50 11· · · · · · A.· I was likely still requiring time for
02:50 12· · doctor appointments, checkups, follow-ups.
02:50 13· · · · · · · · I was being treated for side effects and
02:50 14· · still experiencing fatigue, so there was probably time
02:50 15· · that I required off from work.
02:50 16· · · · · · Q.· Do you remember making requests, for
02:50 17· · example, to flex a day and stay home rather than come
02:50 18· · in --
02:50 19· · · · · · A.· Yes.
02:50 20· · · · · · Q.· -- in the October to December of 2017 time
02:50 21· · frame?
02:50 22· · · · · · A.· Yes.
02:50 23· · · · · · Q.· Can you give me a number of how many times
02:50 24· · that might have come up in that last quarter of 2017?
02:51 25· · · · · · A.· Five or less.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:51 ·2· · · · · · Q.· In October to December of 2017, who was
02:51 ·3· · responsible then for signing off on your time cards?
02:51 ·4· · · · · · A.· That was Laura Syer.
02:51 ·5· · · · · · Q.· Did you and Laura Syer ever have
02:51 ·6· · conversations about your use of time in the last
02:51 ·7· · quarter of 2017?
02:51 ·8· · · · · · A.· Not conversations per se.· She approved
02:51 ·9· · all of my requests.
02:51 10· · · · · · Q.· Right.· But she did so without having any
02:51 11· · conversations with you about it?
02:51 12· · · · · · A.· In one instance she requested that if I
02:51 13· · was working from home, to not use that as a time for
02:51 14· · essentially child care or taking care of my children.
02:51 15· · · · · · · · And I responded that my children were well
02:51 16· · into the teenage years and didn't need me to take care
02:51 17· · of them, so...
02:52 18· · · · · · Q.· Was that an in-person conversation?
02:52 19· · · · · · A.· No.· That was an email.
02:52 20· · · · · · Q.· And to your recollection now, Laura Syer's
02:52 21· · observations about child care were her only
02:52 22· · communications with you about your accommodations?
02:52 23· · · · · · A.· That I recall, yes.
02:52 24· · · · · · Q.· So when was it that you learned that the
02:52 25· · analytics department was being eliminated?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:52 ·2· · · · · · A.· I believe it was December 1, 2017.
02:52 ·3· · · · · · Q.· How did you learn about it?
02:52 ·4· · · · · · A.· I was called into a meeting with Kathy
02:52 ·5· · Doxey and Laura Syer.
02:52 ·6· · · · · · Q.· Before that meeting did you have any
02:52 ·7· · inclination that the department was in any kind of
02:52 ·8· · trouble?
02:53 ·9· · · · · · A.· No inclination.
02:53 10· · · · · · Q.· Had you noticed any changes in your
02:53 11· · workload prior to that December 1 meeting?
02:53 12· · · · · · A.· My workload was very steady.· So no.
02:53 13· · · · · · Q.· Describe for me the meeting in which you
02:53 14· · were told.
02:53 15· · · · · · A.· So I met with Kathy and Laura.· I don't
02:53 16· · recall which one of them explained to me that the
02:53 17· · department was being eliminated and I was being laid
02:53 18· · off and my position was being moved to another
02:53 19· · department.
02:53 20· · · · · · Q.· As of December 1, 2017, how many other
02:53 21· · people were on your team?
02:53 22· · · · · · A.· Just myself and Tammy Lindsay.
02:54 23· · · · · · Q.· When -- as you describe it -- your
02:54 24· · position was moved to another department, did you
02:54 25· · discuss with anybody at Cornell your opportunity to




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:54 ·2· · fill that position?
02:54 ·3· · · · · · A.· I told them that I was interested in that
02:54 ·4· · position because I had been doing it already and I
02:54 ·5· · would be applying.
02:54 ·6· · · · · · Q.· Did you ultimately apply for it?
02:54 ·7· · · · · · A.· Yes.
02:54 ·8· · · · · · Q.· When you applied for it, did you read a
02:54 ·9· · position description for this new version of your job?
02:54 10· · · · · · A.· Yes.
02:55 11· · · · · · Q.· Was it identical to the job you were
02:55 12· · doing?
02:55 13· · · · · · A.· It was identical to the work I had done
02:55 14· · over the course of that year, but at that exact moment
02:55 15· · I was only working on Rankings and Surveys.
02:55 16· · · · · · Q.· And the new job that you applied for had
02:55 17· · more than Rankings and Surveys in its job description?
02:55 18· · · · · · A.· Yes.
02:55 19· · · · · · Q.· Can you recall right now how much more?
02:55 20· · · · · · A.· Likely 50 percent other projects.
02:55 21· · · · · · Q.· Regarding those other projects, were they
02:55 22· · the type of work that you had done previously?
02:55 23· · · · · · A.· Yes.
02:55 24· · · · · · Q.· So you felt you had experience in all
02:55 25· · aspects of the newly designed job description?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:55 ·2· · · · · · A.· Yes.
02:56 ·3· · · · · · Q.· You stated also in your Complaint at
02:56 ·4· · paragraph 142 that you applied for numerous new
02:56 ·5· · positions with Cornell.
02:56 ·6· · · · · · · · What other positions did you apply for?
02:56 ·7· · · · · · A.· I applied for roughly 10 to 12 other
02:56 ·8· · positions.
02:56 ·9· · · · · · · · There was a project manager role that I
02:56 10· · applied for and interviewed for within the business
02:56 11· · department as well right around the same time.             I
02:56 12· · applied for a position in the engineering school.                 I
02:56 13· · applied for an assistant director position with Alumni
02:56 14· · Affairs and Development and interviewed for that as
02:57 15· · well.
02:57 16· · · · · · · · That's -- I recall there being more, but I
02:57 17· · can't remember specifics.
02:57 18· · · · · · Q.· Do you recall any others that you had
02:57 19· · interviews for?
02:57 20· · · · · · A.· Yes.· I do not remember the department,
02:57 21· · but there were two others that I interviewed for --
02:57 22· · actually, one was an interview that I had had the
02:57 23· · exact same day that I was notified of the layoff, so
02:57 24· · that was prior to this happening.· And then another
02:57 25· · one occurred during my layoff.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:57 ·2· · · · · · Q.· So how many total interviews did you have
02:57 ·3· · post December 1, 2017?
02:57 ·4· · · · · · A.· Five.
02:57 ·5· · · · · · Q.· And you applied for ten or more jobs as
02:57 ·6· · you recall?
02:57 ·7· · · · · · A.· Mm-hmm.
02:57 ·8· · · · · · · · MS. VINCI:· Was that a yes?
02:57 ·9· · · · · · · · THE WITNESS:· Yes.
02:57 10· · · · · · Q.· You state in your Complaint paragraph 144
02:58 11· · that you were passed up for other candidates who upon
02:58 12· · information and belief did not have a disability.
02:58 13· · · · · · · · So question number one is do you believe
02:58 14· · that you were passed up for all those other jobs
02:58 15· · because you had a disability?
02:58 16· · · · · · A.· Yes.
02:58 17· · · · · · Q.· For every job that you interviewed for do
02:58 18· · you feel like you had the qualifications to do the
02:58 19· · job?
02:58 20· · · · · · A.· Yes.
02:58 21· · · · · · Q.· For any of the jobs that you applied
02:58 22· · for -- and that's not just the interviews -- any job
02:58 23· · you applied for are you aware of the qualifications of
02:58 24· · the ultimately successful candidates, if there were
02:58 25· · any?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
02:58 ·2· · · · · · A.· I don't recall.
02:59 ·3· · · · · · Q.· Let me ask you specifically about the job
02:59 ·4· · that was arguably like your Data Analyst II in the
02:59 ·5· · Johnson School.
02:59 ·6· · · · · · · · Did you do an interview for that?
02:59 ·7· · · · · · A.· I did.
02:59 ·8· · · · · · Q.· And do you know who the ultimate
02:59 ·9· · successful candidate was?
02:59 10· · · · · · A.· I believe her name is Kate.· I do not
02:59 11· · recall her last name.
02:59 12· · · · · · Q.· Are you familiar with Kate's
02:59 13· · qualifications for that job?
02:59 14· · · · · · A.· No.
02:59 15· · · · · · Q.· So sitting here now, you don't know
02:59 16· · whether she is or isn't more qualified than you?
02:59 17· · · · · · A.· Not at this time.· I don't recall.
02:59 18· · · · · · Q.· Did anyone from Cornell in response to any
03:00 19· · of your applications or interviews where you had them
03:00 20· · tell you that you were being denied a position because
03:00 21· · of your disability?
03:00 22· · · · · · A.· No.
03:00 23· · · · · · Q.· Why do you believe that is true, that you
03:00 24· · were overlooked for any of these positions because of
03:00 25· · your disability?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:00 ·2· · · · · · A.· Cornell has many policies for inclusion,
03:00 ·3· · diversity, policies that would have allowed me to
03:00 ·4· · transfer with that role; yet, they chose not to.
03:00 ·5· · · · · · · · I was qualified, I was doing the job well,
03:00 ·6· · yet, they did not choose me.
03:01 ·7· · · · · · Q.· And I don't think that I asked this of
03:01 ·8· · you, and I apologize if I did.· Of any of the other
03:01 ·9· · candidates -- I should say successful candidates for
03:01 10· · any of the jobs you applied for at Cornell, are you
03:01 11· · aware of the disability status of any of them?
03:01 12· · · · · · A.· I am not aware.
03:01 13· · · · · · Q.· You stated in your responses to our
03:01 14· · interrogatories, page 8, the paragraph indicated as C
03:02 15· · under Laura Syer, you stated that, quote, "Ms. Syer
03:02 16· · continued to subject Plaintiff to discrimination by
03:02 17· · specifically telling Plaintiff that Tammy Lindsay was
03:02 18· · not her manager," unquote.
03:02 19· · · · · · A.· Yes.
03:02 20· · · · · · Q.· How was the act of Ms. Syer to tell you
03:02 21· · that Lindsay was not your manager an act of
03:02 22· · discrimination?
03:02 23· · · · · · A.· That act was not an act of discrimination,
03:02 24· · but she was telling Tammy Lindsay that she was my
03:02 25· · manager.· Because I specifically asked Tammy Lindsay




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:02 ·2· · what her role was and what she was being told.
03:02 ·3· · · · · · Q.· So at what point did you become aware that
03:02 ·4· · Tammy Lindsay thought she was your supervisor even
03:02 ·5· · though you had been told she wasn't?
03:03 ·6· · · · · · A.· Around the time that Cindy left and Laura
03:03 ·7· · Syer assumed the role as my manager.
03:03 ·8· · · · · · Q.· So that would be about October of 2017?
03:03 ·9· · · · · · A.· Yes.
03:03 10· · · · · · Q.· So Laura Syer's discriminatory act is
03:03 11· · allowing Lindsay to supervise you without telling you;
03:03 12· · is that correct?
03:03 13· · · · · · A.· She effectively lied to me and said Tammy
03:03 14· · Lindsay was not my supervisor.· Right?· But then told
03:03 15· · Tammy that she was to supervise my day-to-day work.
03:04 16· · · · · · Q.· You stated on page 7, paragraph 2A, again
03:04 17· · about Laura Syer in your response to our
03:04 18· · interrogatories, that your pay rate fell below the
03:04 19· · stated minimum for your job band.
03:04 20· · · · · · · · Do you recall that?
03:04 21· · · · · · A.· Yes.
03:04 22· · · · · · Q.· When was that?
03:04 23· · · · · · A.· I don't recall the specific date.
03:04 24· · · · · · Q.· Do you remember where it was with respect
03:04 25· · to your position?· I assume it was sometime in 2017?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:04 ·2· · · · · · A.· Yes.
03:04 ·3· · · · · · Q.· Is there a particular time of the year
03:04 ·4· · when salaries change at Cornell?
03:04 ·5· · · · · · A.· I was not aware of that.
03:04 ·6· · · · · · Q.· In your years of working at Cornell, how
03:05 ·7· · often would you have any kind of salary increase?
03:05 ·8· · · · · · A.· As part of my annual performance review
03:05 ·9· · process.
03:05 10· · · · · · Q.· And when during the year did that occur?
03:05 11· · · · · · A.· It varied depending on the manager.· It
03:05 12· · could be anywhere from April to June, perhaps.
03:05 13· · · · · · Q.· Do you recall by how much your pay rate
03:05 14· · fell below the stated minimum for the job band?
03:05 15· · · · · · A.· 88 cents per hour.
03:05 16· · · · · · Q.· And do you recall for how long it was
03:05 17· · below the stated minimum?
03:05 18· · · · · · A.· No.
03:06 19· · · · · · Q.· You also state in your answers to the
03:06 20· · interrogatories at page 8, I'm looking at paragraph
03:06 21· · indicated D, again talking about Laura Syer, that in
03:06 22· · or around January 18, 2018, you were -- as it says
03:06 23· · here -- subjected to a four-hour interview regarding
03:06 24· · the position that was apparently the transfer of your
03:06 25· · 2017 position.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:06 ·2· · · · · · · · Did you do a four-hour interview for that
03:06 ·3· · job?
03:06 ·4· · · · · · A.· It was a long interview.· I don't remember
03:06 ·5· · the exact time.
03:06 ·6· · · · · · Q.· Who did you meet with during that
03:06 ·7· · interview?
03:06 ·8· · · · · · A.· I initially met with a team of
03:06 ·9· · individuals, some of whom I had worked with prior and
03:06 10· · all of whom had no idea that I was on layoff status.
03:07 11· · And that would be Andrew Armitage, Kim Sperry, a few
03:07 12· · other people that someone had called in as well.· So
03:07 13· · there were five or six people in that initial
03:07 14· · interview.
03:07 15· · · · · · · · And then after that hour or so, I went to
03:07 16· · another room, and I interviewed with Amanda Shaw; and
03:07 17· · Julie Weaver was there.
03:07 18· · · · · · Q.· Did that take up your full four hours,
03:07 19· · give or take --
03:07 20· · · · · · A.· Yes.
03:07 21· · · · · · Q.· -- or were there other meetings?
03:07 22· · · · · · A.· That was all.
03:07 23· · · · · · Q.· You say here right after mentioning your
03:07 24· · interview on or about January 18th that Defendant,
03:07 25· · Cornell, had no intention of hiring you.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:07 ·2· · · · · · · · Why do you believe that?
03:07 ·3· · · · · · A.· If they intended to hire me, they would
03:07 ·4· · have moved me with the position under their policies
03:07 ·5· · for diversity and inclusion.
03:07 ·6· · · · · · Q.· What aspect of the diversity and inclusion
03:08 ·7· · policy would be triggered by transferring you to the
03:08 ·8· · new position?
03:08 ·9· · · · · · A.· There was an administrative policy where
03:08 10· · you can move individuals into certain roles based on
03:08 11· · their diversity profile.
03:08 12· · · · · · Q.· What about your diversity profile would
03:08 13· · trigger that policy?
03:08 14· · · · · · A.· My disability.
03:08 15· · · · · · Q.· And you state further down in that
03:08 16· · paragraph D on page 8 of your responses to the
03:08 17· · interrogatories that you were denied the data analyst
03:08 18· · position for retaliation for your complaints to the
03:08 19· · EEOC.
03:08 20· · · · · · · · Why do you believe that?· Why do you
03:08 21· · believe it was retaliation?
03:09 22· · · · · · A.· I don't have any other frame of reference
03:09 23· · for why they removed me from the position and didn't
03:09 24· · hire me back.· I was performing the job well, I was
03:09 25· · qualified and enjoyed the work as well.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:09 ·2· · · · · · · · MR. WOLAN:· We can break right there.
03:09 ·3· · · · · · · · THE VIDEOGRAPHER:· The time is 3:09.
03:09 ·4· · We're off the record.
    ·5· · · · · · (The proceeding recessed at 3:09 p.m.)
    ·6· · · · · · (The proceeding reconvened at 3:10 p.m.;
    ·7· · · · · · appearances as before noted.)
    ·8· · · · · · · · THE VIDEOGRAPHER:· The time is 3:10.
    ·9· · We're back on the record.
    10· · DENISE PAYNE, resumes;
03:10 11· · · · · · CONTINUING EXAMINATION BY MR. WOLAN:
03:10 12· · · · · · Q.· You mention -- and we only talked around
03:11 13· · this so far today, but you mention in your
03:11 14· · interrogatory answers, it's the paragraph indicated as
03:11 15· · F on page 7, Tammy Lindsay failed to adjust and/or
03:11 16· · reassign your workload and corresponding deadlines to
03:11 17· · accommodate your time off related to your illness.
03:11 18· · · · · · · · Can you explain to me when that occurred?
03:11 19· · · · · · A.· I don't have specific dates.· However, in
03:11 20· · general, if I required, say, five or six hours off a
03:11 21· · given week, any of my projects or deadlines were not
03:11 22· · extended to accommodate that time away.
03:11 23· · · · · · Q.· If your deadlines were not extended, were
03:11 24· · you still able to get the work done?
03:11 25· · · · · · A.· At times, yes.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:11 ·2· · · · · · Q.· If you were able to get it done, how did
03:11 ·3· · you get it done, then?
03:11 ·4· · · · · · A.· I would have to put in extra hours,
03:12 ·5· · request to work a weekend, etcetera.
03:12 ·6· · · · · · Q.· And were there times when you couldn't
03:12 ·7· · finish a project timely because of the lack of
03:12 ·8· · adjustment?
03:12 ·9· · · · · · A.· There was a few times, yes.
03:12 10· · · · · · Q.· Describe those for me.
03:12 11· · · · · · A.· Again, I don't have specifics, but there
03:12 12· · may have been reports or projects where I had to
03:12 13· · extend the deadline.
03:12 14· · · · · · Q.· Well, do you remember ever being
03:12 15· · criticized for not meeting a particular deadline?
03:12 16· · · · · · A.· Yes.
03:12 17· · · · · · Q.· By whom?
03:12 18· · · · · · A.· Tammy Lindsay.
03:12 19· · · · · · Q.· Since I phrased it that way, does that
03:12 20· · allow you to remember any particular incident that you
03:12 21· · could describe for me?
03:12 22· · · · · · A.· I don't have a particular incident in
03:12 23· · mind, but I do recall as part of the performance
03:13 24· · review now she stated that I was missing deadlines.
03:13 25· · · · · · · · And I had asked for specific examples for




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     ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:13 ·2· · that as well, and she did not give them to me.
03:13 ·3· · · · · · Q.· And as you sit here now, you don't recall
03:13 ·4· · any particular deadlines you missed?
03:13 ·5· · · · · · A.· No.
03:13 ·6· · · · · · Q.· The paragraph H on page 7 of your
03:13 ·7· · interrogatory answers, again talking about Tammy
03:13 ·8· · Lindsay, you state that she would not approve your
03:13 ·9· · promotion until you got your time card under control.
03:13 10· · · · · · · · What promotion was that?· When you say the
03:13 11· · word "promotion," what were you being promoted from
03:13 12· · to?
03:13 13· · · · · · A.· It would have taken me from the level I
03:13 14· · was at to the level I should have been at,
03:14 15· · essentially.· It was a reclassification instead of a
03:14 16· · promotion.
03:14 17· · · · · · Q.· At what point in time?
03:14 18· · · · · · A.· I'm sorry.· Restate.
03:14 19· · · · · · Q.· When in time are we talking about?· She
03:14 20· · said she wouldn't approve your promotion.· When did
03:14 21· · she tell you she wouldn't approve your promotion?
03:14 22· · · · · · A.· Specifically she told me during my
03:14 23· · performance review in June that she would not approve
03:14 24· · the reclassification.
03:14 25· · · · · · Q.· And the reclassification of your Data




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:14 ·2· · Analyst II position as a different band, it was?· Is
03:14 ·3· · that what you're telling me?
03:14 ·4· · · · · · A.· Yes.· And a different classification from
03:14 ·5· · nonexempt to exempt and then a higher pay rate above
03:14 ·6· · the minimum.
03:14 ·7· · · · · · Q.· Sitting here now, do you remember your
03:14 ·8· · salary -- well, I'm sorry -- your rate of pay for the
03:15 ·9· · Data Analyst II position as you were ending 2017?
03:15 10· · · · · · A.· 25.88 per hour.
03:15 11· · · · · · Q.· Do you remember your annual salary at that
03:15 12· · point in time?
03:15 13· · · · · · A.· Around 52,000.
03:15 14· · · · · · Q.· You state on page 9 of your interrogatory
03:16 15· · answers, paragraph 4A -- this is about Lucinda
03:16 16· · Allen -- that she provided false information to a
03:16 17· · hiring manager about your performance when you
03:16 18· · interviewed for a position in the College of
03:16 19· · Engineering around April 2018.
03:16 20· · · · · · · · Can you tell me about that?
03:16 21· · · · · · A.· I believe I state that it's possible she
03:16 22· · did that.· I interviewed for the position in her
03:16 23· · department and was repeatedly asked about Cindy Allen.
03:16 24· · During the interview the one over hiring manager
03:16 25· · asked, "What would Cindy Allen say about you?"




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:16 ·2· · · · · · Q.· But as you sit here, you don't know of any
03:16 ·3· · specific communications from Allen to the College of
03:17 ·4· · Engineering about you in April of 2018?
03:17 ·5· · · · · · A.· Correct.
03:17 ·6· · · · · · Q.· You state on page 10 of your interrogatory
03:17 ·7· · answers -- this is paragraph 5B about Julie Tubbs in
03:17 ·8· · medical leaves -- you say that she told you that there
03:17 ·9· · was, quote, "likely a misunderstanding," end quote,
03:17 10· · when it came to your request for formal accommodation.
03:17 11· · · · · · · · Do you remember Julie Tubbs saying that to
03:17 12· · you?
03:17 13· · · · · · A.· It was Jill Tubbs.
03:17 14· · · · · · Q.· Oh, sorry.· Jill.· It says Julie on the
03:17 15· · page, though.
03:17 16· · · · · · A.· And I recall her saying that in one of my
03:18 17· · very first meetings with her in February of 2017.· She
03:18 18· · was in disbelief that it could be happening to me,
03:18 19· · that sort of treatment.
03:18 20· · · · · · Q.· You stated on page 10 of your
03:18 21· · interrogatory answers, paragraph 6B regarding Julie
03:18 22· · Weaver, that she refused to follow policy and
03:18 23· · procedures related to your complaint of hostile
03:18 24· · environment, failure to accommodate and retaliation.
03:18 25· · · · · · · · What do you mean by that?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:18 ·2· · · · · · A.· She did not report it to the office of
03:18 ·3· · workforce labor and policy.
03:19 ·4· · · · · · Q.· And you believe she should have why?
03:19 ·5· · · · · · A.· According to the policy, she was required
03:19 ·6· · to.· And I assumed it was happening.
03:19 ·7· · · · · · Q.· You have stated in your Complaint in
03:19 ·8· · addition to your potential economic damages, back pay
03:19 ·9· · and whatnot, also that you've experienced emotional
03:19 10· · distress.· So with that in mind -- and actually, I
03:19 11· · believe in other places in your Complaint you mention
03:19 12· · mental anguish and emotional distress.
03:20 13· · · · · · · · So let me ask what effects on your mental
03:20 14· · or physical health have you experienced that you think
03:20 15· · just arose out of your diagnosis and treatment for
03:20 16· · cancer?
03:20 17· · · · · · A.· Could you restate that question?
03:20 18· · · · · · Q.· Yes.· After having your diagnosis of
03:20 19· · cancer and getting treatment, I'm asking you what
03:20 20· · effects on your mental or physical health you've
03:20 21· · experienced that it's your understanding arose out of
03:20 22· · the cancer and its treatment.
03:20 23· · · · · · A.· Only physical effects.
03:20 24· · · · · · Q.· Physical and mental.
03:20 25· · · · · · A.· There were no mental effects at that




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:20 ·2· · point.· I was done with treatment, I was moving on
03:20 ·3· · with my life.· I was happy to be done with treatment
03:20 ·4· · and regaining strength.
03:20 ·5· · · · · · · · We had bought a new house, and I was
03:21 ·6· · remodeling it from top to bottom.· And at that point I
03:21 ·7· · was happy to move on and emotionally heal from cancer.
03:21 ·8· · · · · · Q.· I was speaking more broadly going back to
03:21 ·9· · your diagnosis time.
03:21 10· · · · · · A.· Okay.
03:21 11· · · · · · Q.· So if we go back to June of 2016, what
03:21 12· · effects did you have on your mental and physical
03:21 13· · health just from the cancer diagnosis and treatment,
03:21 14· · ignoring other factors at the moment?
03:21 15· · · · · · A.· I would say anxiety, depression, fear,
03:21 16· · worry, trauma.
03:21 17· · · · · · Q.· How did that progress during your
03:21 18· · treatment?
03:21 19· · · · · · A.· I believe it got better during my
03:21 20· · treatment.
03:21 21· · · · · · · · I think at times people are more concerned
03:21 22· · about the diagnosis and what it means, and you come to
03:22 23· · terms with it over time.
03:22 24· · · · · · Q.· Were you having any physical effects on a
03:22 25· · daily basis?· Sleeplessness, inability to concentrate,




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:22 ·2· · things like that?· Again, focused during your
03:22 ·3· · treatment period.
03:22 ·4· · · · · · A.· Yes.
03:22 ·5· · · · · · Q.· What were you experiencing?
03:22 ·6· · · · · · A.· Insomnia, fatigue, joint pain, other
03:22 ·7· · gastrointestinal side effects, hair loss, that sort of
03:22 ·8· · thing.
03:22 ·9· · · · · · Q.· By the time you were done with your
03:22 10· · primary course of treatment for your cancer, did any
03:22 11· · of those effects ease up?
03:22 12· · · · · · A.· Yes, some of them.
03:22 13· · · · · · Q.· Which ones haven't?
03:23 14· · · · · · A.· Joint pain, fatigue.
03:23 15· · · · · · Q.· What kind of fatigue and joint pain do you
03:23 16· · experience on a daily basis?
03:23 17· · · · · · A.· I have constant joint pain.· I have
03:23 18· · peripheral neuropathy in my feet.· I have never
03:23 19· · regained the energy level that I had prior to cancer.
03:23 20· · · · · · Q.· So different question, then.
03:23 21· · · · · · · · What effects on your mental or physical
03:23 22· · health have you experienced that you think arise out
03:23 23· · of your experience with Cornell from your employment
03:23 24· · or your separation from employment?
03:23 25· · · · · · A.· Trauma, anxiety, depression.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:23 ·2· · · · · · Q.· How do those manifest themselves on a
03:24 ·3· · daily basis?
03:24 ·4· · · · · · A.· I had a hard time functioning on a daily
03:24 ·5· · basis.· I would pull myself together for my children,
03:24 ·6· · but that's about it.
03:24 ·7· · · · · · Q.· When you say you had a hard time
03:24 ·8· · functioning, what do you mean by that, though?
03:24 ·9· · · · · · A.· Spent a lot of time in bed.· I stopped
03:24 10· · taking my cancer pills, because I just didn't care.
03:24 11· · · · · · Q.· Did you seek treatment --
03:24 12· · · · · · A.· Yes.
03:24 13· · · · · · Q.· -- for how you felt?
03:24 14· · · · · · A.· I did.
03:24 15· · · · · · Q.· With whom?
03:24 16· · · · · · A.· With a therapist in Ithaca.
03:24 17· · · · · · Q.· Who was that?
03:24 18· · · · · · A.· I don't recall her name, but she did a
03:24 19· · specific type of therapy called EMDR.
03:24 20· · · · · · Q.· Was it Mary Lauppe?
03:24 21· · · · · · A.· Yes.
03:25 22· · · · · · Q.· When did you first go to visit her?
03:25 23· · · · · · A.· Spring of 2018.· A few months after my
03:25 24· · layoff.
03:25 25· · · · · · Q.· And when you first went to see her, what




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:25 ·2· · did you tell her was the reason for seeking her out?
03:25 ·3· · · · · · A.· My layoff, the loss of my job.
03:25 ·4· · · · · · Q.· Did you discuss with her the physical
03:25 ·5· · symptoms you were experiencing?
03:25 ·6· · · · · · A.· Yes.
03:25 ·7· · · · · · Q.· Did you undergo treatment with her?
03:25 ·8· · · · · · A.· Yes.
03:25 ·9· · · · · · Q.· Did she make any kind of diagnosis?
03:25 10· · · · · · A.· I don't recall a specific diagnosis.
03:25 11· · · · · · Q.· Do you remember saying that you had
03:25 12· · depression or anxiety of any particular type?
03:26 13· · · · · · A.· Yes.
03:26 14· · · · · · Q.· Can you recall what that was?
03:26 15· · · · · · A.· Depression and anxiety.· I'm not familiar
03:26 16· · with different types.
03:26 17· · · · · · Q.· And I believe you said that you saw her
03:26 18· · for treatment for a while.· How did she treat you?
03:26 19· · · · · · A.· She uses a method that involves electrical
03:26 20· · stimulation while you undergo talk therapy.
03:26 21· · · · · · Q.· Can you describe how that works for us?
03:26 22· · · · · · A.· You basically hold two electrical devices,
03:26 23· · one in each hand, and the devices continually
03:26 24· · alternate while you're talking.· And it's apparently a
03:26 25· · way to reset the brain and reduce trauma, that sort of




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:26 ·2· · thing.
03:26 ·3· · · · · · Q.· How many times did you see Ms. Lauppe for
03:27 ·4· · treatment?
03:27 ·5· · · · · · A.· I don't know exactly how many times; but I
03:27 ·6· · saw her until July of 2018, when I accepted my new
03:27 ·7· · position and I could no longer attend treatment with
03:27 ·8· · her.
03:27 ·9· · · · · · Q.· The treatment you were receiving, was it
03:27 10· · called EMDR?
03:27 11· · · · · · A.· Yes.
03:27 12· · · · · · Q.· Do you happen to remember what that stands
03:27 13· · for?
03:27 14· · · · · · A.· No.
03:27 15· · · · · · Q.· Did her treatment have any effect?
03:27 16· · · · · · A.· Yes.
03:27 17· · · · · · Q.· How so?
03:27 18· · · · · · A.· It helped.
03:28 19· · · · · · Q.· To what degree?
03:28 20· · · · · · A.· It reduced my symptoms and depression and
03:28 21· · anxiety by approximately 40, 50 percent.
03:28 22· · · · · · Q.· Have you also taken medication for
03:28 23· · depression and anxiety?
03:28 24· · · · · · A.· I have, but not at that time.
03:28 25· · · · · · Q.· When have you?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:28 ·2· · · · · · A.· Upon diagnosis of cancer I was prescribed
03:28 ·3· · an antidepressant.
03:28 ·4· · · · · · Q.· Do you remember what?
03:28 ·5· · · · · · A.· Effexor.
03:28 ·6· · · · · · Q.· How long were you on it?
03:28 ·7· · · · · · A.· Six to eight months.
03:28 ·8· · · · · · Q.· Anything since then?
03:28 ·9· · · · · · A.· No.
03:28 10· · · · · · Q.· Anything prior to that?
03:28 11· · · · · · A.· Yes.
03:28 12· · · · · · Q.· For depression and anxiety?
03:28 13· · · · · · A.· Yes, several years ago.· Postpartum
03:28 14· · depression.
03:28 15· · · · · · Q.· How long were you treated for that?
03:28 16· · · · · · A.· Roughly a year.
03:28 17· · · · · · Q.· How many children do you have?
03:28 18· · · · · · A.· Two.
03:29 19· · · · · · Q.· And they're teenagers now?
03:29 20· · · · · · A.· Yes.
03:29 21· · · · · · Q.· Let me be specific to the year.· In 2017
03:29 22· · did you experience any events in your life other than
03:29 23· · your ongoing cancer treatment and your employment
03:29 24· · situation that you believe had any effect on your
03:29 25· · mental or physical health?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:29 ·2· · · · · · A.· Yes.
03:29 ·3· · · · · · Q.· What?
03:29 ·4· · · · · · A.· My family was experiencing trauma from the
03:29 ·5· · cancer.· I wanted to move out of the house that I was
03:29 ·6· · in, because I equated it with the cancer; and I wanted
03:29 ·7· · a fresh new beginning, and my husband did not.
03:29 ·8· · · · · · · · And he had taken care of me for 15 months
03:29 ·9· · and was emotionally spent.· So we did experience some
03:30 10· · trauma as a family.
03:30 11· · · · · · Q.· Did you seek any treatment regarding that
03:30 12· · situation?
03:30 13· · · · · · A.· Yes.
03:30 14· · · · · · Q.· How so?
03:30 15· · · · · · A.· I believe we sought out counseling,
03:30 16· · marriage counseling for that.
03:30 17· · · · · · Q.· Did you talk to any physicians about the
03:30 18· · family situation impacting your cancer situation?
03:30 19· · · · · · A.· No.· It was a very short-lived situation.
03:30 20· · We recovered quickly.
03:30 21· · · · · · Q.· Do you have a recollection, then, of how
03:30 22· · much counseling you sought out, marriage counseling?
03:31 23· · · · · · A.· My husband and I attended three or four
03:31 24· · sessions.
03:31 25· · · · · · Q.· And do you happen to remember what time of




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:31 ·2· · year, the month?
03:31 ·3· · · · · · A.· I don't recall.
03:31 ·4· · · · · · Q.· Now, let me ask you the same question now
03:31 ·5· · in 2018.· Did you experience any events in your life
03:31 ·6· · other than your cancer treatment or your employment
03:31 ·7· · with Cornell that you believe had an effect on your
03:31 ·8· · mental or physical health?
03:31 ·9· · · · · · A.· No.
03:31 10· · · · · · Q.· How would you describe your physical
03:31 11· · health before you had your cancer diagnosis?
03:31 12· · · · · · A.· My physical health was good before cancer.
03:31 13· · I was very active, very healthy.
03:31 14· · · · · · Q.· Were you being treated for anything?
03:31 15· · · · · · A.· Hypothyroidism.· That's about it.
03:31 16· · · · · · Q.· And prior to the cancer -- let me rephrase
03:32 17· · that.
03:32 18· · · · · · · · Other than the postpartum depression,
03:32 19· · prior to the cancer did you have any other treatment
03:32 20· · for depression, anxiety or similar illnesses?
03:32 21· · · · · · A.· No.
03:32 22· · · · · · Q.· You officially stated in your answer to
03:32 23· · our interrogatories, page 11 -- it's the answer to
03:32 24· · question 6 regarding mental health professionals --
03:32 25· · you identified five dates of counseling with Mary




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:32 ·2· · Lauppe, and that corresponds with the medical record
03:32 ·3· · that was disclosed through your counsel.· And then you
03:32 ·4· · have one reference to visiting the FSAP counselor.
03:32 ·5· · · · · · · · Do you have any reason to believe that you
03:33 ·6· · should be indicating more dates than the six total
03:33 ·7· · that we have here in your interrogatory answer?
03:33 ·8· · Between Lauppe and FSAP.· Any other counselors you've
03:33 ·9· · sought out?
03:33 10· · · · · · A.· No.
03:33 11· · · · · · Q.· What was your understanding of the merger
03:33 12· · that led to the Johnson School -- or Johnson College
03:33 13· · being formed?· What was your understanding what was
03:33 14· · going on regarding that merger?
03:33 15· · · · · · A.· There were three schools that they were
03:33 16· · merging in order to, in their view, make the school
03:34 17· · more competitive, bring different diverse education
03:34 18· · levels to the program.· That was my understanding.
03:34 19· · · · · · Q.· And do you understand the cessation of the
03:34 20· · data analytics program to be part of that merger?
03:34 21· · · · · · A.· No.
03:34 22· · · · · · Q.· What do you think the motive for the
03:34 23· · cessation of the data analytics program was?
03:34 24· · · · · · A.· You mean the ending of the program;
03:34 25· · correct?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:34 ·2· · · · · · Q.· Yes.· You had stated earlier that in
03:34 ·3· · December of 2017 you and Tammy Lindsay were the last
03:34 ·4· · employed on that team.· And clearly they told you in
03:34 ·5· · December that they were ending that program.
03:34 ·6· · · · · · · · Is it your understanding that that was or
03:34 ·7· · wasn't part of the larger merger activity?
03:35 ·8· · · · · · A.· It was well after the merger.
03:35 ·9· · · · · · Q.· Do you believe that the cessation of the
03:35 10· · program had anything to do with you being an employee
03:35 11· · in it?
03:35 12· · · · · · A.· Yes.
03:35 13· · · · · · Q.· What role do you think you being an
03:35 14· · employee had in the decision to cease the program?
03:35 15· · · · · · A.· I repeatedly asked for help from the
03:35 16· · individuals.· I filed an EEOC complaint and told them.
03:35 17· · I repeatedly reached out to Laura Syer for help with
03:35 18· · how I was being treated.· That was my understanding
03:35 19· · and experience.
03:35 20· · · · · · Q.· Do you believe that the data analytics
03:36 21· · team such as it was in December of 2017 was ended
03:36 22· · specifically to get rid of you as an employee?
03:36 23· · · · · · A.· I believe it was an interesting
03:36 24· · coincidence that may have been to target me and get
03:36 25· · rid of me.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:36 ·2· · · · · · Q.· Do you have any reason to believe that
03:36 ·3· · other than the coincidence of time?
03:36 ·4· · · · · · A.· I believe in one of the EEOC responses it
03:36 ·5· · was related to Cindy Allen's departure; however, it
03:36 ·6· · was well known for months, I believe, that Cindy Allen
03:36 ·7· · was leaving that team or seeking other employment.
03:36 ·8· · She had told me personally.
03:36 ·9· · · · · · Q.· Do you know where she went after October
03:37 10· · 2018 when she left your team?
03:37 11· · · · · · A.· She went to the College of Engineering.
03:37 12· · · · · · Q.· I have got a --
03:37 13· · · · · · (There was a discussion off the record.)
03:37 14· · · · · · Q.· I now have the distinct pleasure of
03:37 15· · running you through a few documents that we just need
03:37 16· · to authenticate, but we don't need to spend much time
03:37 17· · talking about them.· So bear with us in the process.
03:37 18· · · · · · (The following exhibit was marked for
03:38 19· · · · · · identification:· EXH Number 8.)
03:38 20· · · · · · Q.· I'm showing you what's been marked for
03:38 21· · identification as Exhibit 8.· When you're done taking
03:38 22· · a look at it, let me know.
03:38 23· · · · · · A.· Okay.
03:38 24· · · · · · Q.· Do you recognize that document?
03:38 25· · · · · · A.· Yes.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:38 ·2· · · · · · Q.· What is it?
03:38 ·3· · · · · · A.· It's an email correspondence with my
03:38 ·4· · management and HR.
03:38 ·5· · · · · · Q.· Do you remember receiving this on or about
03:38 ·6· · September 26, 2016?
03:38 ·7· · · · · · · · MS. VINCI:· Do you mean September 22,
03:39 ·8· · 2016?
03:39 ·9· · · · · · · · MR. WOLAN:· No, I don't.· Am I looking at
03:39 10· · the wrong --
03:39 11· · · · · · · · MS. VINCI:· Neither of these are dated
03:39 12· · September 26th.· What you just handed us -- or handed
03:39 13· · me, at least.
03:39 14· · · · · · · · MR. WOLAN:· I know why.· Because I'm
03:39 15· · looking at the wrong email on my page.
03:39 16· · · · · · (The following exhibit was marked for
03:39 17· · · · · · identification:· EXH Number 9.)
03:39 18· · · · · · Q.· So I'll mark the correct one in front of
03:39 19· · me as Exhibit 8 and now ask you the question again.
03:40 20· · · · · · · · You had testified earlier that you
03:40 21· · remember seeing the solicitation going to the college
03:40 22· · to provide catastrophic leave.· And I believe you had
03:40 23· · said that you knew that was for you, but I believe it
03:40 24· · was confidential.· Do you recall?
03:40 25· · · · · · A.· Yes.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:40 ·2· · · · · · Q.· Was it confidential to the college?
03:40 ·3· · · · · · A.· No.· It was -- it was a call for
03:40 ·4· · catastrophic leave donation that was sent to the
03:40 ·5· · entire department, including me.
03:40 ·6· · · · · · Q.· Right.· But it didn't identify you as the
03:40 ·7· · recipient?
03:40 ·8· · · · · · A.· Correct.· It would not identify me.
03:40 ·9· · · · · · Q.· And so do you remember receiving this
03:40 10· · email now that I've marked as Exhibit 8, Julie Weaver
03:40 11· · to you, September 22, 2016?
03:40 12· · · · · · A.· Yes.
03:40 13· · · · · · Q.· She says in that more information will be
03:40 14· · forthcoming.· Julie does in the top email.
03:41 15· · · · · · · · Do you remember after September 22, 2016,
03:41 16· · the next time you had discussions with her about the
03:41 17· · leave?
03:41 18· · · · · · A.· I remember having one other discussion
03:41 19· · with her, and that was that they had collected enough
03:41 20· · leave to essentially pay my full salary during my
03:41 21· · entire three-month -- 12 weeks -- disability.
03:41 22· · · · · · Q.· Okay.· I'll take that one back from you.
03:41 23· · Thanks.
03:41 24· · · · · · (The following exhibit was marked for
03:42 25· · · · · · identification:· EXH Number 10.)




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:42 ·2· · · · · · Q.· I'm showing you what's been marked for
03:42 ·3· · identification as Exhibit 9.· Take a look at it, and
03:42 ·4· · let me know when you're done.
03:42 ·5· · · · · · · · MS. VINCI:· Do you have an extra copy,
03:42 ·6· · Counsel?
03:42 ·7· · · · · · A.· Okay.
03:42 ·8· · · · · · Q.· Do you recognize that document?
03:42 ·9· · · · · · A.· Yes.
03:42 10· · · · · · Q.· What is it?
03:42 11· · · · · · A.· This is essentially an offer letter from
03:42 12· · Cornell University for the position of data analyst.
03:42 13· · · · · · Q.· And so is this for your position of data
03:42 14· · analyst?
03:42 15· · · · · · A.· Yes.
03:43 16· · · · · · Q.· The copy I have today doesn't have your
03:43 17· · signature.· But do you remember signing this document?
03:43 18· · · · · · A.· I recall signing it sometime after it was
03:43 19· · emailed to me when I returned from disability.
03:43 20· · · · · · Q.· Right.· And you would have been on leave
03:43 21· · at the time this got to you?
03:43 22· · · · · · A.· Yes.
03:43 23· · · · · · Q.· And I'm showing you what's been marked as
03:43 24· · Exhibit 10.· And keep 9 with you for the moment.· Take
03:43 25· · a look at 10 for a moment, and then tell me when




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:43 ·2· · you're ready.
03:43 ·3· · · · · · A.· Yes.
03:43 ·4· · · · · · Q.· Do you recognize that document?
03:43 ·5· · · · · · A.· Yes.
03:43 ·6· · · · · · Q.· What is it?
03:43 ·7· · · · · · A.· It's the email that accompanied my offer
03:44 ·8· · letter from Julie Weaver.
03:44 ·9· · · · · · Q.· Do you remember receiving it on or about
03:44 10· · September 26, 2016?
03:44 11· · · · · · A.· Yes.
03:44 12· · · · · · Q.· That's it.· Thank you.
03:44 13· · · · · · · · MR. WOLAN:· Why don't we take five, and
03:44 14· · I'll get these marked, so we can do them in quick
03:44 15· · succession.
03:44 16· · · · · · · · MS. VINCI:· Sure.
03:44 17· · · · · · · · THE VIDEOGRAPHER:· The time is 3:44.
03:44 18· · We're off the record.
03:44 19· · · · · · (The proceeding recessed at 3:44 p.m.)
03:49 20· · · · · · (The proceeding reconvened at 3:49 p.m.;
    21· · · · · · appearances as before noted.)
    22· · · · · · (The following exhibits were marked for
    23· · · · · · identification:· EXH Numbers 11 through 16.)
    24· · · · · · · · THE VIDEOGRAPHER:· The time is 3:49.
    25· · We're back on the record.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
    ·2· · DENISE PAYNE, resumes;
03:49 ·3· · · · · · CONTINUING EXAMINATION BY MR. WOLAN:
03:49 ·4· · · · · · Q.· Ms. Payne, I wanted to circle back to
03:49 ·5· · something momentarily before we continue with the
03:49 ·6· · document identification.
03:50 ·7· · · · · · · · After Cindy left in October of 2017, who
03:50 ·8· · else was left in your department?
03:50 ·9· · · · · · A.· I believe just myself and Tammy Lindsay.
03:50 10· · · · · · Q.· Prior to Cindy's departure, did you have
03:50 11· · any involvement with -- and I should say immediately
03:50 12· · before -- any involvement with Tammy in terms of your
03:50 13· · work projects, or were the two of you able to work
03:50 14· · independently of each other?
03:50 15· · · · · · A.· We were working independently at that
03:50 16· · time.
03:50 17· · · · · · Q.· When did it start to become apparent to
03:50 18· · you that Tammy was doing some sort of supervising
03:51 19· · after Cindy's departure?
03:51 20· · · · · · A.· Immediately after Laura Syer was named as
03:51 21· · our manager.
03:51 22· · · · · · Q.· Did you immediately detect a difference in
03:51 23· · how Tammy Lindsay was working with you?
03:51 24· · · · · · A.· Yes.
03:51 25· · · · · · Q.· Did you reach out to Laura Syer to




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:51 ·2· · expressly ask her what Tammy's role was?
03:51 ·3· · · · · · A.· Several times.
03:51 ·4· · · · · · Q.· Did you get any responses from Laura Syer?
03:51 ·5· · · · · · A.· We discussed it at a one-on-one meeting,
03:51 ·6· · and I believe I got an email response as well.
03:51 ·7· · · · · · Q.· Okay.· And what was the substance of
03:51 ·8· · Laura's responses?
03:51 ·9· · · · · · A.· That Tammy Lindsay was not my manager;
03:52 10· · however, she needed someone in the position of data
03:52 11· · validation and verification, and that was the role
03:52 12· · Tammy was assuming.
03:52 13· · · · · · Q.· I'm not going to go through identification
03:52 14· · of this email with you.· I don't think we need to do
03:52 15· · that.· But this is -- actually, it's page 103 of the
03:52 16· · disclosure that you gave to us through your attorney.
03:52 17· · · · · · · · You had reached out to Laura Syer at least
03:52 18· · once on October 31 by email, according to the...
03:52 19· · · · · · · · And you say (as read):· I have a lot on my
03:52 20· · plate at the moment, and trying to respond to
03:52 21· · her --Tammy Lindsay's -- micromanagement of my job is
03:52 22· · going to be very time consuming.
03:52 23· · · · · · · · And you say later in the same
03:52 24· · two-paragraph email (as read):· Just a note, Cindy
03:52 25· · trusted that I had the process under control, did not




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:52 ·2· · micromanage me.
03:53 ·3· · · · · · · · So that context, what's the distinction?
03:53 ·4· · What does Cindy's lack of micromanagement mean
03:53 ·5· · compared to Tammy's micromanagement?· What do you mean
03:53 ·6· · when you describe their two roles that way?
03:53 ·7· · · · · · A.· Cindy had oversight of my role; but she
03:53 ·8· · allowed me to do my job, and she trusted that I was
03:53 ·9· · doing it well.· We checked in occasionally.
03:53 10· · · · · · · · However, with Tammy it was completely
03:53 11· · different.· She was micromanaging every aspect of my
03:53 12· · role, asking me why I wasn't doing it her way or
03:53 13· · another specific way.· And it was constant, day after
03:53 14· · day barrage of questions from her.
03:53 15· · · · · · · · I was also training her on this process
03:53 16· · while she was attempting to micromanage me.
03:53 17· · · · · · Q.· And by micromanage, was she annoying you
03:53 18· · with questions, or was she directing you on what had
03:53 19· · previously been within your discretion or both?
03:54 20· · · · · · A.· Both.
03:54 21· · · · · · Q.· Can you give me examples?
03:54 22· · · · · · A.· She would interrupt me several times
03:54 23· · throughout the day to ask questions about a specific
03:54 24· · aspect of a ranking or survey submission.
03:54 25· · · · · · · · At one point I said, "Tammy, why don't you




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:54 ·2· · save up all your questions, and we'll have a meeting."
03:54 ·3· · · · · · · · In addition, she was saying that I was
03:54 ·4· · doing it improperly, I should be requesting data
03:54 ·5· · sooner.· And I defended myself and explained to her
03:54 ·6· · why we waited to a certain point to collect data, so
03:54 ·7· · we make sure we had the most recent data.
03:54 ·8· · · · · · · · And I was consistently asked questions of
03:54 ·9· · that type.
03:54 10· · · · · · Q.· And what kind of directives would she give
03:54 11· · you?
03:54 12· · · · · · A.· She might give me a directive to -- she
03:54 13· · would send me an email and say, "I need you to do this
03:55 14· · today."
03:55 15· · · · · · · · And I'd say, "I had already planned to do
03:55 16· · that.· It's part of my job, and it's on my schedule."
03:55 17· · So she would give me directives like that.
03:55 18· · · · · · · · At times I would say to her, "Tammy,
03:55 19· · you're not my supervisor.· I understand this process.
03:55 20· · I'm actually redesigning the process."
03:55 21· · · · · · · · To which she would claim, "Well, I was
03:55 22· · told to do this."· "I was told to oversee you."
03:55 23· · · · · · (The following exhibit was identified for the
03:55 24· · · · · · record:· EXH Number 11.)
03:55 25· · · · · · Q.· All right.· I'm showing you what's been




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:55 ·2· · marked as Exhibit 11.· Go ahead and take a look at it,
03:55 ·3· · and let me know when you're done.
03:56 ·4· · · · · · A.· Okay.
03:56 ·5· · · · · · Q.· First of all, do you recognize this
03:56 ·6· · document?
03:56 ·7· · · · · · A.· Yes.
03:56 ·8· · · · · · Q.· Can you tell me what it is?
03:56 ·9· · · · · · A.· It's an email from my medical leave's
03:56 10· · disability caseworker introducing herself and asking
03:56 11· · me a few questions.
03:56 12· · · · · · Q.· And I see that her first email to you and
03:56 13· · the To in the train is October 3, 2016.
03:56 14· · · · · · · · To your recollection, is that the first
03:56 15· · time that Jill Tubbs reached out to you?
03:56 16· · · · · · A.· Yes.
03:56 17· · · · · · Q.· Okay.· That's it for that one.
03:56 18· · · · · · (The following exhibit was identified for the
03:56 19· · · · · · record:· EXH Number 12.)
03:57 20· · · · · · Q.· Showing you number 12.· Take a look at it.
03:57 21· · Let me know when you're done.
03:57 22· · · · · · A.· Okay.
03:57 23· · · · · · Q.· Do you recognize this document?
03:57 24· · · · · · A.· Yes.
03:57 25· · · · · · Q.· What is it?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:57 ·2· · · · · · A.· It's an email exchange that I had with
03:57 ·3· · Jill Tubbs in medical leaves administration.
03:57 ·4· · · · · · Q.· I note that the chain on -- well, what's
03:57 ·5· · been marked in your disclosure as P248, it begins with
03:58 ·6· · what appears to be your note to Tammy saying you were
03:58 ·7· · getting blood work in Cortland.· I believe earlier
03:58 ·8· · today you described the incident that now is reflected
03:58 ·9· · in this document.
03:58 10· · · · · · · · Do you agree with me that this was the
03:58 11· · discussion you had with Tammy about being able to work
03:58 12· · from home after the blood work in Cortland?
03:58 13· · · · · · A.· Yes, this was the discussion.
03:58 14· · · · · · Q.· And to clarify, then, that discussion did
03:58 15· · take place on July 5, 2017?· You don't have any reason
03:58 16· · to disbelieve that date?
03:58 17· · · · · · A.· Right.· Correct.
03:58 18· · · · · · Q.· And then I see that in the second email
03:58 19· · down on the first page, page P245, that appears to be
03:59 20· · your request for information about formal
03:59 21· · compensation?
03:59 22· · · · · · A.· Yes.
03:59 23· · · · · · Q.· So to your recollection, is this the
03:59 24· · impetus for the accommodation discussion in summer
03:59 25· · 2017 that ultimately led to your accommodation letter




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
03:59 ·2· · of August 2?
03:59 ·3· · · · · · A.· Yes.
03:59 ·4· · · · · · Q.· I'll take that one back.· Thank you.
03:59 ·5· · · · · · (The following exhibit was identified for the
03:59 ·6· · · · · · record:· EXH Number 13.)
03:59 ·7· · · · · · Q.· Showing you what's been marked as 13.· Go
03:59 ·8· · ahead and take a look at it, and let me know when
03:59 ·9· · you're done.
04:00 10· · · · · · · · And while I usually wouldn't do this, I
04:00 11· · will volunteer at this point that it should look
04:00 12· · extremely familiar other than the most recent email in
04:00 13· · the chain.
04:00 14· · · · · · A.· Okay.
04:00 15· · · · · · Q.· Do you recognize the document?
04:00 16· · · · · · A.· I do.
04:00 17· · · · · · Q.· What is it?
04:00 18· · · · · · A.· It's a correspondence from Julie Weaver
04:00 19· · regarding my request for formal accommodation.
04:00 20· · · · · · Q.· In July of 2017?
04:00 21· · · · · · A.· Yes.
04:00 22· · · · · · Q.· Would you agree with me that the -- other
04:00 23· · than Julie's top email, the rest of it is the same as
04:00 24· · the chain in Exhibit 12 that we were just discussing?
04:00 25· · · · · · A.· Yes.




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
04:00 ·2· · · · · · Q.· I believe it starts with your request
04:00 ·3· · for -- not your request -- your notice about blood
04:00 ·4· · work in the morning at Cortland.
04:00 ·5· · · · · · A.· That is correct.
04:00 ·6· · · · · · Q.· And I will note that when you sent your
04:01 ·7· · email of July 5, 2017, it went to Julie and Jill; and
04:01 ·8· · this, it's my understanding, is Julie's response.
04:01 ·9· · · · · · A.· Correct.
04:01 10· · · · · · Q.· And the other one was Jill's.
04:01 11· · · · · · · · Do you have any reason to believe that 12
04:01 12· · and 13 aren't the initial responses from Julie and
04:01 13· · Jill to your request?
04:01 14· · · · · · A.· No reason to believe that.
04:01 15· · · · · · Q.· Thank you.· I'll take that back.
04:01 16· · · · · · (The following exhibit was identified for the
04:01 17· · · · · · record:· EXH Number 14.)
04:01 18· · · · · · Q.· Showing you what's been marked 14 for
04:01 19· · identification.· Go ahead and take a look at it.· Let
04:01 20· · me know when you're done.
04:02 21· · · · · · A.· Okay.
04:02 22· · · · · · Q.· Do you recognize this document?
04:02 23· · · · · · A.· Yes.
04:02 24· · · · · · Q.· What is it?
04:02 25· · · · · · A.· It's an email from Jill Tubbs to Julie




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
04:02 ·2· · Weaver describing my accommodations.
04:02 ·3· · · · · · Q.· And would you agree that you appear to be
04:02 ·4· · cc'd on this email?
04:02 ·5· · · · · · A.· Yes, I was copied.
04:02 ·6· · · · · · Q.· And do you remember receiving the email on
04:02 ·7· · or about July 18, 2017?
04:02 ·8· · · · · · A.· Yes.
04:02 ·9· · · · · · Q.· And to your recollection sitting here
04:02 10· · right now looking at this, does this reflect what you
04:02 11· · were discussing at that time with Jill and Julie?
04:02 12· · · · · · A.· Yes.
04:02 13· · · · · · Q.· Okay.· Thank you.
04:02 14· · · · · · (The following exhibit was identified for the
04:02 15· · · · · · record:· EXH Number 15.)
04:02 16· · · · · · Q.· Showing you what's been marked for
04:02 17· · identification as Exhibit 15.· Please take a look at
04:02 18· · it, and let me know when you're done.
04:03 19· · · · · · A.· Okay.
04:03 20· · · · · · Q.· Do you recognize it?
04:03 21· · · · · · A.· Yes.
04:03 22· · · · · · Q.· Can you tell me what it is?
04:03 23· · · · · · A.· It's an email exchange between myself and
04:03 24· · Jill Tubbs.
04:03 25· · · · · · Q.· And do you recall this email exchange




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
04:03 ·2· · happening around late January into February 2018?
04:03 ·3· · · · · · A.· Yes.
04:03 ·4· · · · · · Q.· Would you read for me the second and third
04:03 ·5· · sentences of the second paragraph of the top email?
04:04 ·6· · It starts with I just...
04:04 ·7· · · · · · A.· (As read):· I just want you to know that
04:04 ·8· · your department and you personally did an excellent
04:04 ·9· · job of supporting me in my time of need.· Thank you so
04:04 10· · much for being a bright spot in a dark situation.
04:04 11· · · · · · Q.· So would you still agree today with that
04:04 12· · sentiment regarding Jill Tubbs and how she assisted
04:04 13· · with your accommodations issues?
04:04 14· · · · · · A.· To my knowledge, yes.
04:04 15· · · · · · Q.· Okay.· Thank you.
04:04 16· · · · · · (The following exhibit was identified for the
04:04 17· · · · · · record:· EXH Number 16.)
04:04 18· · · · · · Q.· And what I believe is lastly, I'm showing
04:04 19· · you what has been marked Exhibit 16 for
04:04 20· · identification.· Please take a look at it.· Let me
04:04 21· · know when you're done.
04:04 22· · · · · · A.· Okay.
04:04 23· · · · · · Q.· Do you recognize this document?
04:04 24· · · · · · A.· Yes.
04:04 25· · · · · · Q.· What is it?




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
04:04 ·2· · · · · · A.· It's a correspondence letter from Kathy
04:05 ·3· · Doxey explaining that my pay had been increased back
04:05 ·4· · to the minimum.
04:05 ·5· · · · · · Q.· So I see here that it states (as read):
04:05 ·6· · Effective July 1, 2017, your hourly wage will increase
04:05 ·7· · to 25.88.
04:05 ·8· · · · · · · · So is that the 88 cents that you mentioned
04:05 ·9· · earlier today?
04:05 10· · · · · · A.· Yes.
04:05 11· · · · · · Q.· Since you didn't have a recollection, I
04:05 12· · thought we could clarify that it was July 1, 2017 that
04:05 13· · that kicked in.
04:05 14· · · · · · · · Do you have any reason to disagree with
04:05 15· · that?
04:05 16· · · · · · A.· No.
04:05 17· · · · · · Q.· Okay.· Thank you.· That's it.· All right.
04:05 18· · So let me just ask a few final questions here.
04:05 19· · · · · · · · Other than what we discussed so far today,
04:05 20· · are there any other acts or omissions by any Cornell
04:06 21· · employees that you think were discriminatory on
04:06 22· · account of your disability in 2016 or 2017?
04:06 23· · · · · · A.· Not that I recall.
04:06 24· · · · · · Q.· And just to touch base on something we
04:06 25· · discussed just a little bit ago.· Any other mental or




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
04:06 ·2· · physical health effects you've experienced that you
04:06 ·3· · believe arise out of your employment with or your
04:06 ·4· · separation from employment with Cornell other than
04:06 ·5· · what we've already discussed today?
04:06 ·6· · · · · · A.· Nothing other than what we discussed.
04:06 ·7· · · · · · · · MR. WOLAN:· And, Counsel, I will assume
04:06 ·8· · that you and I can agree that if there are any damages
04:06 ·9· · calculations to be done, that we can exchange those
04:07 10· · later on paper regarding current payroll and such.
04:07 11· · · · · · · · MS. VINCI:· Yes.
04:07 12· · · · · · · · MR. WOLAN:· I don't need to ask your
04:07 13· · client today for details that I assume she probably
04:07 14· · doesn't have quite committed to memory.
04:07 15· · · · · · · · MS. VINCI:· We can agree to that.
04:07 16· · · · · · · · MR. WOLAN:· All right.· Thank you.
04:07 17· · · · · · Q.· Oh, and a long time ago I asked you, but I
04:07 18· · will ask you again -- I told you I would ask you
04:07 19· · again -- are there any other examples of time card
04:07 20· · changes that you can think of as we've been sitting
04:07 21· · here today talking other than those we've already
04:07 22· · discussed?· I'm just looking for every example of a
04:07 23· · time card change that you can think of that Tammy
04:07 24· · Lindsay may have done or authorized.
04:07 25· · · · · · A.· I don't recall specific time card




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    ·1· · · · · · · · · DENISE PAYNE - BY MR. WOLAN
04:07 ·2· · alterations, but there were several emails from Tammy
04:07 ·3· · where she explained that she was altering my time
04:07 ·4· · card.
04:07 ·5· · · · · · Q.· And to your knowledge, those are the only
04:07 ·6· · alterations to your time card that were done?
04:07 ·7· · · · · · A.· To my knowledge.
04:08 ·8· · · · · · · · MR. WOLAN:· Okay.· Nothing further.· We're
04:08 ·9· · done.
04:08 10· · · · · · · · MS. VINCI:· I don't have any questions.
04:08 11· · I'll just reserve the witness' right to review and
04:08 12· · correct the transcript.
04:08 13· · · · · · · · MR. WOLAN:· Thank you.
04:08 14· · · · · · · · THE VIDEOGRAPHER:· The time is 4:08.
04:08 15· · We're off the record.· The deposition is complete.
    16· · · · · · · · · · · (TIME: 4:08 p.m.)
    17· · · · · · · · · · · · ·*· · ·*· · ·*
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·2· · · · · · · · · · · · W I T N E S S

·3· · Name· · · · · ·Examination by· · · · · · · ·Page

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·5· · ·Denise Payne· · · · ·Mr. Wolan· · · · · · · ·5-191

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·2· · · · · · · · · · · · E X H I B I T S

·3· · Exhibit· · · · Description· · · · · · · · Marked ID'ed

·4· · ----------------------------------------------------

·5· · EXH 1· ·Flexible Work Arrangement --
· · · · · · · Agreement Form, three pages,
·6· · · · · · dated 2/2/17· · · · · · · · · · · 28· · 28

·7·   · EXH 2· ·Flexibility in the Workplace
· ·   · · · · · Policy 6.6.13· · · · · · · · · · ·56· · 56
·8
· ·   · EXH 3· ·Disability Accommodation
·9·   · · · · · Process for Faculty and Staff
· ·   · · · · · Policy 6.13· · · · · · · · · · · ·65· · 65
10
· ·   · EXH 4· ·Flexible Work Arrangement --
11·   · · · · · Agreement Form dated 5/16/17,
· ·   · · · · · three pages· · · · · · · · · · · ·68· · 68
12
· ·   · EXH 5· ·Flexible Work Arrangement --
13·   · · · · · Agreement Form dated 8/28/17· · · 104· ·104

14· · EXH 6· ·Letter from Jill Tubbs to
· · · · · · · Denise Payne dated August 2,
15· · · · · · 2017· · · · · · · · · · · · · · · 113· ·113

16· · EXH 7· ·One page of emails· · · · · · · · 117· ·117

17· · EXH 8· ·One page of emails· · · · · · · · 174· ·174

18· · EXH 9· ·Letter from Kathy Doxey to
· · · · · · · Denise Payne dated 9/23/16, two
19· · · · · · pages· · · · · · · · · · · · · · ·175· ·175

20·   · EXH 10· Email from Julie Weaver to
· ·   · · · · · Denise Payne dated 9/26/16· · · · 176· ·176
21
· ·   · EXH 11· One page of emails· · · · · · · · 178· ·182
22
· ·   · EXH 12· Four pages of emails· · · · · · · 178· ·183
23
· ·   · EXH 13· Four pages of emails· · · · · · · 178· ·185
24

25· · · · · · (Index to Exhibits continuing on next page)




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·2·   · · · · · · · · · · · E X H I B I T S
· ·   · · · · · · · · · · · ·(Continuing)
·3
· ·   · Exhibit· · · · Description· · · · · · · · Marked ID'ed
·4
· ·   · ----------------------------------------------------
·5
· ·   · EXH 14· Email from Jill Tubbs to Julie
·6·   · · · · · Weaver dated 7/18/17· · · · · · · 178· ·186

·7· · EXH 15· One page of emails· · · · · · · · 178· ·187

·8· · EXH 16· Letter from Kathy Doxey to
· · · · · · · Denise Payne dated July 31 2017· ·178· ·188
·9

10· · · · · · · · · · · · ·*· · ·*· · ·*

11

12

13

14· · · · · · · · · EXHIBITS PREVIOUSLY MARKED

15· · Exhibit· · · · Description· · · · · · · · · · · Page

16· · ----------------------------------------------------

17· · EXH

18· · · · · ·(No Previously Marked Exhibits Presented)
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·2· · · · · · · ·D O C U M E N T· ·R E Q U E S T S

·3· · Request· · · · · · · · · · · · · · · · · · · · ·Page

·4· · ----------------------------------------------------

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·6· · · · · · · · · ·(No Documents Requested)
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14· · · · · · ·C E R T I F I E D· ·Q U E S T I O N S

15· · Question· · · · · · · · · · · · · · · · · · · · Page

16· · ----------------------------------------------------

17

18· · · · · · · · · ·(No Certified Questions)
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·1
·2· · · · · · · · · A C K N O W L E D G M E N T
·3· · · · · · · · I, Denise Payne, declare, swear and aver
·4· · that I have read my testimony contained herein and
·5· · that my answers are true and correct, with any
·6· · exceptions noted on the errata sheet, under penalty of
·7· · perjury.
·8· · · · · · · · · ·___________________________
·9· · · · · · · · · ·Denise Payne
10
11
12· · · · · · · · I certify that this transcript was signed
13· · in my presence by Denise Payne on the _____ day of
14· · _______________, 2019.
15
16· · · · · · · · IN WITNESS WHEREOF, I have hereunto set my
17· · hand and affixed my seal of office of Rochester, New
18· · York on this _____ day of _______________, 2019.
19
20· · · · · · · · · ·___________________________
21· · · · · · · · · ·Notary Public
22
23· · · · · · · · · ·___________________________
24· · · · · · · · · ·My Commission Expires:
25




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·2· · · · · · · · · · E R R A T A· ·S H E E T

·3·   ·   · · · · · · · · ·Witness: Denise Payne
· ·   ·   · · · · · Deposition Date:· September 4, 2019
·4·   ·   ·Pg #· Line #· ·Change· · · · · · Clarification
· ·   ·   ·_____ _______ _________________ __________________
·5·   ·   |· · ·|· · · ·|· · · · · · · · ·|· · · · · · · · · |
· ·   ·   |_____|_______|_________________|__________________|
·6·   ·   |· · ·|· · · ·|· · · · · · · · ·|· · · · · · · · · |
· ·   ·   |_____|_______|_________________|__________________|
·7·   ·   |· · ·|· · · ·|· · · · · · · · ·|· · · · · · · · · |
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·2· · · · · · · · · ·C E R T I F I C A T I O N

·3
· · · STATE OF NEW YORK:
·4· · COUNTY OF MONROE:

·5· · · · · · · · I, MICHELLE M. ROCHA, do hereby certify

·6· · that the foregoing testimony was duly sworn to; that I

·7· · reported in machine shorthand the foregoing pages of

·8· · the above-styled cause, and that they were produced by

·9· · computer-aided transcription (CAT) under my personal

10· · supervision and constitute a true and accurate record

11· · of the testimony in this proceeding;

12· · · · · · · · I further certify that the witness

13· · requests to review the transcript;

14· · · · · · · · I further certify that I am not an

15· · attorney or counsel of any parties, nor a relative or

16· · employee of any attorney or counsel connected with the

17· · action, nor financially interested in the action;

18· · · · · · · · WITNESS my hand in the City of Rochester,

19· · County of Monroe, State of New York.

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· · · MICHELLE M. ROCHA

24· · Freelance Court Reporter and

· · · Notary Public No. 01R05038965

25· · in and for Monroe County, New York




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